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                    7 ASRC INDUSTRIAL SERVICES, LLC, D2
                      (SQUARED) INDUSTRIAL SERVICES, LLC
                    8 (sued as D2 Industrial Services), and F.D.
                      THOMAS, INC.
                    9                       UNITED STATES DISTRICT COURT
              10                       CENTRAL DISTRICT OF CALIFORNIA
              11 RAFAEL MELENA, JR., individually,         )   Case No. 2:21-cv-06769-PA(Ex)
                 and on behalf of other aggrieved          )
              12 employees pursuant to the California      )   (Removed from:
                 Private General Attorneys Act,            )   Los Angeles County Superior Court,
              13                                           )   Case No. 21CMCV00146)
                             Plaintiff,                    )
              14       v.                                  )   DECLARATION OF TERRA
                                                           )   WELLS IN SUPPORT OF
              15      ASRC INDUSTRIAL SERVICES,            )   DEFENDANTS’ MOTION FOR
                      LLC, an unknown business entity; D2  )   SUMMARY JUDGMENT OR, IN
              16      INDUSTRIAL SERVICES, an unknown )        THE ALTERNATIVE, SUMMARY
                      business entity; F.D. THOMAS, INC.,  )   ADJUDICATION
              17      an unknown business entity; and DOES )
                      1 through 100, inclusive,            )   [Filed Concurrently Herewith Notice of
              18                                           )   Motion and Motion; Memorandum of
                                   Defendants.             )   Points and Authorities; Request for
              19                                           )   Judicial Notice; Statement of
                                                           )   Uncontroverted Facts and Conclusions
              20                                           )   of Law; Declaration of Kent J. Sprinkle;
                                                           )   Declaration of Anthony Graziano;
              21                                           )   Declaration of Stephen Araiza; and
                                                           )   [Proposed] Judgment]
              22                                           )
                                                           )   District Judge: Hon. Percy Anderson
              23                                           )   Magistrate: Charles F. Eick
                                                           )
              24                                           )   Date December 20, 2021
                                                           )   Time: 1:30 p.m.
              25                                           )   Ctrm: 9A
                                                           )
              26                                           )   Action Filed:    June 10, 2021
                                                           )   Motion Cutoff:   May 9, 2022
              27                                           )   Disc. Cutoff:    May 2, 2022
                                                           )   Trial Date:      July 12, 2022
              28
                                                                     DECLARATION OF TERRA WELLS ISO MSJ
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                    1                              DECLARATION OF TERRA WELLS
                    2               I, Terra Wells, declare as follows:
                    3               1.    I am currently employed as Director of Human Resources for F.D.
                    4 Thomas, Inc. (“FDT”). I have personal knowledge of the facts set forth herein,
                    5 which are known by me to be true and correct, and, if called as a witness, I could and
                    6 would competently testify thereto. I submit this Declaration in support of
                    7 Defendants’ Motion for Summary Judgment or, in the Alternative, Summary
                    8 Adjudication.
                    9               2.    On January 1, 2020, FDT began providing administrative functions to
              10 D2 (Squared) Industrial Services, LLC (“D2”), such as Finance, Payroll, and
              11 Accounts Payable/Accounts Receivable. FDT and D2 are wholly owned subsidiaries
              12 of ASRC Industrial Services, LLC (“AIS”).
              13                    3.    As FDT’s Director of Human Resources, I have access to, and
              14 knowledge of records and other information retained by FDT pertaining to its current
              15 and former employees. I also have access to, and knowledge of records and other
              16 information retained by D2 pertaining to its current and former employees. My role
              17 requires that I be familiar with FDT’s and D2’s policies and personnel records.
              18                    4.    Plaintiff Rafael Melena, Jr. (“Plaintiff”) was employed by D2 as a
              19 Scaffolder from August 2020 through October 2020. Plaintiff was never employed
              20 by AIS or FDT.
              21                    5.    On or about July 1, 2016, United General Contractors, Inc. and the
              22 Southwest Regional Council of Carpenters and Local Unions in the Twelve Southern
              23 California Counties and Nevada Affiliated with the United Brotherhood of
              24 Carpenters and Joiners of America (“Union”) entered into a collective bargaining
              25 agreement (“CBA”). Attached as Exhibit A is a true and correct copy of that CBA.
              26                    6.    The CBA is effective from July 1, 2016 to June 30, 2022.
              27                    7.    At the time I executed my Declaration in support of Defendants’ Notice
              28 of Removal of Civil Action to Federal Court Pursuant to 28 U.S.C. §§ 1331, 1441,
                                                         2        DECLARATION OF TERRA WELLS ISO MSJ
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                    1 and 1446 on August 20, 2021, I was informed and believed that D2 is, and has been,
                    2 a member of United General Contractors, Inc. since the CBA became effective on
                    3 July 1, 2016. I based that belief on my understanding that collective bargaining
                    4 agreements can be negotiated directly by employers or by employer associations
                    5 negotiating on behalf of their members. Since I signed that Declaration, I became
                    6 aware that D2 is bound by the CBA because D2 entered into the International
                    7 Agreement attached as Exhibit B, discussed below.
                    8               8.    For the duration of Plaintiff’s employment with D2, the terms and
                    9 conditions of Plaintiff’s employment were governed by the CBA attached as Exhibit
              10 A.
              11                    9.    Every job Plaintiff was assigned during his employment with D2 was
              12 located within the territory covered by the CBA, the twelve Southern California
              13 counties and Nevada.
              14                    10.   As further evidence that the CBA governed Plaintiff’s employment with
              15 D2, D2 and the Union entered into an agreement, effective October 19, 2017,
              16 wherein D2 agreed to comply with the contractual terms concerning wages, fringe
              17 benefits, hours and other working conditions established between the Union affiliates
              18 and the employers and employer agencies in the localities in which D2 does any
              19 work within the jurisdiction of the Union (“International Agreement”). Attached as
              20 Exhibit B is a true and correct copy of that International Agreement.
              21                    11.   D2 provides industrial insulation, scaffolding, and other specialized
              22 services in the construction industry.
              23                    12.   At the time D2 employed Plaintiff, he was a member of the Union. As
              24 additional evidence that Plaintiff was a member of the Union, attached as Exhibit C
              25 is a true and correct copy of the Application for Craft Employment from D2’s
              26 personnel file for Plaintiff (“Application”). I am informed and believe that Plaintiff
              27 completed that Application, except for the section on the bottom of page 2 which is
              28 marked for the Supervisor to complete, and that the Application bears his signature
                                                          3        DECLARATION OF TERRA WELLS ISO MSJ
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           Case 2:21-cv-06769-PA-E Document 21-5 Filed 11/05/21 Page 4 of 193 Page ID #:438



                    1 on page 2. On that Application, Plaintiff represented that he was a member of the
                    2 “Carpenters” Union with Local “562.” In the section on the bottom of page 2, the
                    3 hiring supervisor noted that Plaintiff was referred by Local 562 and that his starting
                    4 hourly wage rate would be $24.33.
                    5               13.   As further evidence of Plaintiff’s membership with the Union, attached
                    6 as Exhibit D is a true and correct copy of a work referral also referred to as a
                    7 dispatch form D2 received from the Union. The Union periodically provides
                    8 dispatch forms to D2 when Union members are assigned to a project covered by the
                    9 CBA. The dispatch form attached as Exhibit D identifies the Union (“Southwest
              10 Regional Council of Carpenters”), the Local “562,” and the “Carpenters International
              11 Agreement.” That dispatch form also identified Plaintiff’s hourly wage rate as
              12 $24.33 as an SC-7, or Scaffold Apprentice (Level 7).
              13                    14.   Attached as Exhibit E is a true and correct copy of a letter D2 received
              14 from the Union, dated June 8, 2020, addressed to “All Contractors Signed to the
              15 Southern California Scaffold Agreement,” attaching wage sheets reflecting the
              16 increase in wages, health and welfare, and other benefits in accordance with the
              17 CBA, effective July 1, 2020. Plaintiff was initially assigned the hourly wage rate of
              18 $24.33 in accordance with the 7th period of the Scaffold Industrial Maintenance
              19 Wage Journey & Apprentice Rates. At all times that D2 employed Plaintiff, Plaintiff
              20 was paid wages in accordance with the wage rates set in the wage sheets provided by
              21 the Union. At all times that D2 employed Plaintiff, Plaintiff was paid an hourly
              22 wage rate of at least $24.33.
              23                    15.   I am aware that, when Plaintiff was onboarded for employment with D2,
              24 Plaintiff was erroneously provided new hire paperwork from FDT. Because Plaintiff
              25 was employed by D2, and never employed by FDT, that error was corrected at the
              26 time Plaintiff was onboarded for employment with D2, and Plaintiff was provided
              27 the new hire paperwork from D2.
              28                    I declare under penalty of perjury under the laws of the United States and the
                                                                        4        DECLARATION OF TERRA WELLS ISO MSJ
CDF LABOR LAW LLP


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      Case 2:21-cv-06769-PA-E Document 21-5 Filed 11/05/21 Page 5 of 193 Page ID #:439



            1 State of California that the foregoing is true and correct.
            2               Executed on this .   day of November, 2021, at Central Point, Oregon.
            3
            4
            5
                                                                              Terra Wells
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                                                              5       DECLARATION OF TERRA WELLS ISO MSJ
CDF   LLP


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                 EXHIBIT A




                   EXHIBIT A
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            SOUTHERN CALIFORNIA

          MASTER LABOR AGREEMENT

                   between

     UNITED GENERAL CONTRACTORS, INC.




      2016                      2022

                    and the

        SOUTHWEST REGIONAL COUNCIL

                OF CARPENTERS

              AND LOCAL UNIONS

                IN THE TWELVE

       SOUTHERN CALIFORNIA COUNTIES

                 AND NEVADA

             AFFILIATED WITH THE

            UNITED BROTHERHOOD

                      of

     CARPENTERS and JOINERS of AMERICA




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                            2016-2022

              MASTER LABOR AGREEMENT
                             between
                 UNITED GENERAL
            CONTRACTORS, INCORPORATED
                                AND
           SOUTHWEST REGIONAL COUNCIL OF
                   CARPENTERS,
              UNITED BROTHERHOOD OF
         CARPENTERS AND JOINERS OF AMERICA

             This Agreement is entered into this first day of July,
    2016, by and between the United General Contractors, Inc.
    negotiating on behalf of its respective eligible members,
    hereinafter referred to as the CONTRACTORS, and the
    Southwest Regional Council of Carpenters and its affiliated
    Local Unions in the 12 Southern California Counties and the
    State of Nevada, affiliated with the United Brotherhood of
    Carpenters and Joiners of America, hereinafter referred to as
    the UNION.

                            PURPOSE

              The Contractors are engaged in construction work
    		
    in Southern California and, in the performance of their pres-
    ent and future operations, are employing and will employ
    workmen under the terms of this Agreement. The Contractors
    want to be assured of their ability to procure workmen in the
    geographic area hereinafter defined in Article I, in sufficient
    number and with sufficient skill to assure continuity of work
    in the completion of their construction work. The Union and
    the Contractors, by this Agreement, intend to establish uni-
    form rates of pay, hours of employment and working con-
    ditions for the employees covered by this Agreement. The
    Union and the Contractors further intend by this Agreement
    to provide, establish and put into practice an effective method
    for the settlement of misunderstandings, disputes or grievanc-
    es, with the thought in mind that the Contractors are assured
    continuity of operation and the employees of the Contractors
    are assured continuity of employment and industrial peace is
    maintained.

              The parties to this Agreement recognize the neces-
    		
    sity of assuring the competitive position of the parties within
    the industry during the term of this Agreement. Consistent
    with that recognition, the parties will continually monitor the

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   effectiveness of this Agreement during its term as may be
   necessary to assure the work opportunities of the employ-
   ees and the competitive position of the individual employers.
   To implement the intent of this paragraph, the parties to this
   Agreement hereby establish a Committee composed of three
   (3) representatives appointed by the Union and three (3) rep-
   resentatives appointed by the United General Contractors,
   Inc. This Committee will review requests for changes in the
   terms and conditions of the Agreement that may be necessary
   to preserve work opportunities for employees and individual
   employers covered by the Agreement. The Committee is au-
   thorized to approve and implement such changes as it deems
   to be in the best interest of the parties to the Agreement.


                           ARTICLE I

                     General Provisions

       101.      Definitions:
            		
        101.1 The term Contractor or Employer, as used here-
   in, shall refer to an Employer party to or bound by this Agree-
   ment.

        101.2 The term Association, as used herein, shall re-
   fer to the United General Contractors, Inc. previously named
   and signatory to this Agreement negotiating on behalf of its
   eligible members.

        101.3 The term Union, as used herein, shall refer to
   the Southwest Regional Council of Carpenters and Local
   Unions in the twelve Southern California Counties affiliat-
   ed with the United Brotherhood of Carpenters and Joiners of
   America and more particularly described as the Counties of
   Los Angeles, Inyo, Mono, Orange, Riverside, San Bernardi-
   no, Imperial, Ventura, Santa Barbara, San Luis Obispo, Kern
   and San Diego, as well as the State of Nevada, which have
   jurisdiction over the work in the territory covered by this
   Agreement.

        101.4 The term Workman or Workmen, as used here-
   in, shall refer to a person, or persons, in the labor market who
   are not employed.

        101.5 The term Employee(s), as used herein, shall re-
   fer to the employed person, or persons, working in the craft
   jurisdiction covered by this Agreement.

       101.6 All personal nouns and pronouns refer to the
   male and female gender.

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         101.7 The “Method of Delivery of Notices,” required
    by this Agreement, except for the notice required under Sec-
    tion 1401, will be satisfied by one of the following means of
    delivery: fax, e mail (provided the specific entity or individ-
    ual recipient has agreed to receive in this form) certified mail
    or regular mail.

         102.      Coverage:
             		
         102.1 This Agreement shall apply to and cover all
    hours of employment of each employee of the Contractors,
    including Developers, Builders or Construction Managers
    and to Owner-Builders to the extent permitted by law within
    the territory as described in this Paragraph, employed to
    perform or performing any construction work within the
    jurisdiction of the Union, as such employees and construction
    work are respectively defined hereinafter in this Agreement in
    the area known as Southern California and more particularly
    described as the Counties of Los Angeles, Inyo, Mono,
    Orange, Riverside, San Bernardino, Imperial, Ventura, Santa
    Barbara, San Luis Obispo, Kern, San Diego, and, in addition:
    Richardson Rock, Santa Cruz Island, Arch Rock, San
    Nicholas Island, Santa Catalina Island, San Clemente Island,
    San Miguel Island, Santa Barbara Island, Santa Rosa Island,
    Anacapa Island, including the Channel Islands Monument.

              In the event the Contractor performs any work with-
    		
    in the jurisdiction of the Union in the State of Nevada, such
    work will be performed under the appropriate Master Agree-
    ment for that area.

         102.2 This Agreement is made for and on behalf of
    and shall be binding upon all eligible persons, firms or corpo-
    rations who at the time of execution of this Agreement are, or
    during the term hereof become eligible members of the Asso-
    ciation and who have individually signed this Agreement.

         102.3 In order to protect and preserve, for the em-
    ployees covered by this Agreement, all work heretofore per-
    formed by them, and in order to prevent any device or subter-
    fuge to avoid the protection and preservation of such work, it
    is hereby agreed as follows: If and when the Employer shall
    perform any on-site construction work of the type covered
    by this Agreement, under its own name or under the name
    of another, as a corporation, company, partnership, or any
    other business entity, including a joint venture, wherein the
    Employer (including its officers, directors, owners, partners
    or stockholders) exercises either directly or indirectly (such
    as through family members) any legally sufficient degree of
    ownership, management or control, the terms and conditions

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   of this Agreement shall be applicable to all such work on that
   job or project.

        102.3.1 All charges of violations of Paragraph 102.3
   of this Article, shall be considered as a dispute under this
   Agreement and shall be processed in accordance with the
   procedures for the handling of grievances and the final bind-
   ing resolution of disputes, as provided in Article VI of this
   Agreement. As a remedy for violations of this paragraph
   the arbitrator (or arbitration body) provided for in Article
   VI is empowered at the request of the Union, to require an
   Employer to (1) pay to affected employees covered by this
   Agreement, including registered applicants for employment,
   the equivalent of wages lost by such employees as a result of
   the violations, and (2) pay into the affected joint trust funds
   established under this Agreement any delinquent contribu-
   tions to such funds which have resulted from the violations.
   Provisions for this remedy herein does not make such remedy
   the exclusive remedy available to the Union for violations of
   this paragraph; nor does it make the same or other remedies
   unavailable to the Union for violation of this paragraph; nor
   does it make the same or other remedies unavailable to the
   Union for violations of other paragraphs of this Agreement.

        102.3.2 If, as a result of violations of Paragraph 102.3 it
   is necessary for the Union and/or the trustees of the joint trust
   funds to institute court action to enforce an award rendered
   in accordance with subsection 102.3.1 above, or to defend an
   action which seeks to vacate such award, the Employer shall
   pay any accountants and attorneys fees incurred by the Union
   and/or fund trustees, plus cost of the litigation, which have
   resulted from the bringing of such court action.

        102.3.3 If this paragraph 102.3 etc., is declared to be un-
   lawful by the National Labor Relations Board or the courts,
   the parties will negotiate similar language that will give the
   Unions equivalent protection.

        102.4 This Agreement is separate and distinct from
   and independent of all other Agreements entered into be-
   tween the Union and other Contractor organizations irrespec-
   tive of any similarity between this Agreement and any such
   other Agreements, and no acts or things done by the parties
   to such Agreements or notices given pursuant to the provi-
   sions thereof, shall change or modify this Agreement or in
   any manner affect the contractual relationships of the parties
   herein, except as otherwise provided in the Article covering
   existing and other Agreements.



                 Page 14            4
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        102.5 This Agreement shall cover and apply to all
    work falling within the recognized jurisdiction of the Union
    signatory to this Agreement.
         102.5.1 This Agreement shall cover work on building,
    heavy highway, and engineering construction, including the
    construction of, in whole or in part, or improvement or mod-
    ification thereof, including any structure or operations which
    are incidental thereto, the assembly, operation, maintenance
    and repair of all equipment, vehicles, and other facilities, in-
    cluding helicopters used in connection with the performance
    of the aforementioned work and services and including with-
    out limitation the following types or classes of work.
         102.5.2 Street and highway work, grading and paving,
    excavation of earth and rock, grade separations, elevated
    highways, viaducts, bridges, abutments, retaining walls, sub-
    ways, airport grading, surfacing and drainage, electric trans-
    mission line and conduit projects, water supply, water devel-
    opment, reclamation, irrigation, draining and flood control
    projects, water mains, pipelines, sanitation and sewer proj-
    ects, dams, aqueducts, canals, reservoirs, intakes, channels,
    levees, dikes, revetments, quarrying of breakwater or riprap
    stone, foundations, pile driving, piers, locks, dikes, river and
    harbor projects, breakwaters, jetties, dredging, tunnels, soil
    testing and building inspection. The handling, cleaning, erec-
    tion, installation and dismantling of machinery, equipment
    and all work on robotics, included but not limited to the rig-
    ging, handling, installation, maintenance, programming and
    the use of all stationary and/or portable robots. This shall in-
    clude the use of all robots used in any industry, including the
    nuclear field.
         102.5.3 The construction, erection, alteration, repair,
    modification, demolition, addition or improvement, in whole
    or in part, of any building structure, including oil or gas re-
    fineries and incidental structures, solar energy installations,
    solar fields, and appurtenances thereto, also including any
    grading, excavation, or similar operations which are inciden-
    tal thereto, or the installation, operation, maintenance and
    repair of equipment, and other facilities used in connection
    with the performance of such building construction except
    where such structures are an incidental or supplemental part
    of highway and engineering construction, as defined in this
    Article.
        102.6 The Contractor shall construct all concrete
    forms, including without limitation all stem, gang, deck, wall,
    column, and any other forms or panels regardless of material
    composition, and framed walls to be used on the jobsite for

               Page 15            5
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   a specific project and such work shall be performed only by
   carpenters under the terms of this Agreement. With the prior
   approval of the Union, curvilinear forms created by comput-
   er numeric control (CNC) machines will be acceptable when
   practical means of carpentry cannot produce the same level
   of accuracy or efficiency. Walls to be used on the jobsite for
   a specific project and such work shall be performed only by
   carpenters under the terms of this Agreement.

        102.6.1 The Contractor may subcontract such work on
   concrete forms or framed walls in accordance with the terms
   of this Agreement; provided that such work by a subcontrac-
   tor shall be performed by Carpenters under the terms of this
   Agreement. A Contractor, party to this Agreement may con-
   struct such concrete forms or framed walls away from the
   jobsite, and in that event, such work shall be performed under
   the terms of this Agreement only by Carpenters that are em-
   ployees of the Contractor.

       102.6.2 Any concrete forms that are constructed by the
   Carpenters under the provisions of Article I of this Agree-
   ment may be reused on any jobsite by any Contractor.

       102.6.3 Any modifications of concrete forms shall
   be performed only under the provisions of Article I of this
   Agreement.

        102.6.4 The provisions of Article I of this Agreement
   shall not apply to the manufacturing of patented, identifiable
   standard, manufactured commercial brand name forms such
   as Universal, Symons, Peri, Doka, Aluma, RMD Kwikform,
   Hi Lite, Atlas, Dayton Superior, Efco, Meva, Harsco or
   similar type forms. Any additional assembly or installation
   work of such patented, identifiable, standard manufactured
   commercial brand name forms performed on the jobsite
   shall be covered under the terms of the Agreement. Carpen-
   ters shall assemble and install such forms on the jobsite.

        102.7.1 This Agreement shall cover all work in con-
   nection with Hico and similar type beams including, but not
   limited to the unloading, carrying, spotting and stacking the
   initial delivery, the installation, and stripping and removing
   of Hico shores.

        102.7.2 This Agreement shall cover all work in connec-
   tion with Plywood Decking including, but not limited to, the
   carrying, stacking, installation and removal.

        102.7.3 This Agreement shall cover all work in connec-
   tion with Beam Sides and Beam Soffits, including, but not
   limited to the cutting, setting, removal, relocation and stack-
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    ing of Beam Sides and Soffits, bracing and pads.

         102.7.4 This Agreement shall cover all concrete form
    work, including, but not limited to, the fabrication, construct-
    ing, placing, erection, rigging and hoisting, stripping and re-
    moving of all forms and the operation of the fork lift, Leod,
    Pettibone, or mobile equipment, or any other ground trans-
    portation used to move Carpenter materials to perform all of
    the above work.

         102.7.5 This Agreement shall cover all work in con-
    nection with precast, prestressed concrete stone or fabricat-
    ed units, including, but not limited to, lightweight precast,
    GFRC, Stone Panels (excluding solid Marble and Granite),
    Dryvit or any other system of panels that is attached to the
    interior or exterior of any building or structure. Any pre-fab-
    ricated concrete stone or imitation stone included as part of
    the exterior wall system. Any prestressed or precast structur-
    al framing members, columns, lintels, and beams and metal
    studs in reference to all the above work.

         102.7.6 This Agreement shall cover all work in connec-
    tion with tilt-up slabs, including, but not limited to, bench-
    marks, lay out, setting of all forms, block outs, metal door and
    window jambs, templates for bolts, lift points, knee braces,
    all stripping of forms (whether or not to be reused) rigging,
    setting, plumbing, and lining, welding, drilling, cleaning,
    ledger bolts, setting ledgers, setting of expansion joints and
    caulking. Also to include forms for stairs and loading docks
    (setting and stripping), installation of all doors including roll-
    up, installation of laminated beams or precast structures, and
    operation of the fork lift to perform all of the above work.

         102.7.7 This Agreement shall cover all work in connec-
    tion with the hoisting of materials which are to be used by the
    Carpenters including but not limited to the rigging, guiding
    and handling.

         102.7.8 This Agreement shall cover all work in connec-
    tion with self supporting scaffolds or scaffold built for special
    purposes including, but not limited to, handling, building,
    erecting and disassembling, and the operation of all equip-
    ment, including lifts and other mobile equipment used in con-
    nection with this work. Scaffolds erected and dismantled by
    the scaffold contractors, shall be the work of the Carpenters.

         102.7.9 This Agreement shall cover all work in connec-
    tion with office modular furniture systems including, but not
    limited to the unloading by any means, stockpiling, distribu-
    tion to point of erection, carrying, handling, transportation,
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   uncrating, installation, cleaning, and/or staging of all office,
   commercial industrial, institutional, and hotel furniture, fur-
   niture systems, furnishings, etc., including (but not limit-
   ed to) all component parts (regardless of their materials or
   method or manner of installation, attachment or connection).
   Also included will be layout work including the use of level,
   transit and any other instrument or tool (or adaptable tool)
   required for the work herein described.

        102.8 This Agreement shall cover asbestos abatement
   and other work involving the removal of hazardous materi-
   als. Such work shall be performed pursuant to the Southern
   California Carpenters Asbestos Abatement Agreement. In the
   event this work is subcontracted by the Contractor, Article V
   shall not apply but the Contractor agrees to utilize his best
   efforts to insure that the work is done by a contractor signa-
   tory to an agreement with the Union, provided suitable and
   competitive signatory contractors are available.

        102.9 This Agreement shall cover tile, terrazzo and
   marble work, including all handling, setting, placing, finish-
   ing and clean up associated with such work as more fully
   described in the Tile, Terrazzo and Marble Agreements. Such
   work shall be performed pursuant to the Tile, Terrazzo and
   Marble Agreements. In the event this work is subcontracted
   Article V shall not apply but the Contractor agrees to utilize
   his best efforts to insure that the work is done by a contractor
   signatory to an agreement with the Union, provided suitable
   and competitive signatory contractors are available.

        103.    Repairs necessitated by defects of material or
            		
   workmanship or adjustments of newly purchased and/or in-
   stalled equipment or machinery will not be subject to this
   Agreement when such repairs and/or adjustments are made
   by the manufacturer thereof or his agents or employees
   pursuant to the terms of a manufacturers guarantee and the
   Union will not hamper such manufacturer or his agents or
   employees on such exempted work.

        104.     The Carpenters claim installation of metal
            		
   studs, metal frames, shingles, roofing, and plastics used in
   the performance of carpentry work, operation of the Petti-
   bone and forklift incidental to carpentry work and the use of
   survey instruments, either optical or electronic. Carpenters
   assigned to using survey instruments shall receive not less
   than the rate of pay for his regular classification.

        104.1 The Carpenters claim the layout, rigging, tag-
   ging, signaling, cutting, burning, welding, chain sawing,
   driving, setting and pulling of all soldier piles and soldier

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    beams together with all necessary waling, shoring, under-
    pinning, struts, bracing, capping and lagging necessary for
    construction of subterranean structures of all types to include,
    but not limited to subways, subway stations, buildings, storm
    drains, sewers, pipe lines and all open cut and cover construc-
    tion projects. The Carpenters further claim construction of all
    covers and access mats to include all necessary rigging for
    setting and removing, whether intermittently or regularly and
    installation and removal of timber decking.

         105.     Drywall work, as defined in the Drywall/Lathing
    Master Agreement, and which is covered in this Agreement
    and is considered as bargaining unit work, shall be performed
    under all the terms and conditions of the Drywall/Lathing
    Master Agreement between the Southwest Regional Council
    of Carpenters and the Western Wall and Ceiling Contractors
    Association or any other Association. Provided, however, that
    a Contractor may perform minor and incidental drywall work
    under the terms and conditions of this Agreement. As of July
    1, 2006 , the Contractor or his Drywall subcontractor will
    pay fringe benefits to the Carpenters Trust Funds detailed in
    this Agreement and, additionally, to any other Drywall Trust
    Funds that may be negotiated. Notwithstanding any other
    terms of this Agreement, this paragraph will be subject to the
    Grievance Procedure detailed in Article VI. All metal stud
    panels shall be constructed on the jobsite by carpenters work-
    ing under the provisions of this Agreement.

         105.1 The Contractor may subcontract work on metal
    stud panels or framed walls in accordance with the terms of
    this Agreement; provided that such work by a subcontrac-
    tor shall be performed by Carpenters under the terms of this
    Agreement. A Contractor, party to this Agreement may con-
    struct such panels or framed walls away from the jobsite, and
    in that event, such work shall be performed under the terms
    of this Agreement only by Carpenters that are employees of
    the Contractor.

         105.1.1 All work in connection with the installation,
    erection and/or application, carrying, transportation, han-
    dling, stocking and scrapping of all materials and component
    parts of wall and partitions regardless of their material com-
    position or method or manner of their installation, attach-
    ment or connection, including but not limited to all floor and
    ceiling runners, studs, stiffeners, cross bracing, fire blocking
    resilient channels, furring channels, doors and windows, in-
    cluding frames, casing, molding, base accessory trim items,
    gypsum drywall materials, laminated gypsum systems, back-
    ing board for all systems, including but not limited to thin
    coat and other finished systems, plastic and/or paint finished
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   bases, finish board, fireproofing of beams and columns, fire
   proofing of chase, sound and thermal insulation materials,
   fixture attachments including all layout work, preparation of
   all openings for lighting, air vents or other purposes, and all
   other necessary or related work in connection therewith.

       105.1.2 No limitation shall be placed on the work cov-
   ered by this Section by reason of the surface or texture or
   purpose for which the materials described herein are used,
   designed or intended.

        105.1.3 It is further specifically understood that the in-
   stallation, tying and connection of all types of light iron and
   metal studs and all types of light iron furring erected to re-
   ceive the materials specified in this article, including but not
   limited to gypsum wallboard, walls, partitions, ceiling heat
   panels, backing boards, plastic or acoustical materials or any
   material attached to the above described light iron construc-
   tion is specifically included in the work covered by this Sec-
   tion.

        105.1.4 The installation, erection and construction to
   include the work of fabrication of all materials to receive a
   plaster finish, to also include the completing of all light iron
   construction, furring, making and erecting of brackets, clips
   and hangers; metal lath, corner beads and arches erected for
   the purpose of holding gypsum plaster, cement plaster and all
   other plaster bases.

        105.1.5 All carrying bars, purlins and furring, regard-
   less of size, light iron and metal furring of all descriptions
   such as rods, channel flat iron and other ceiling systems for
   the receipt of metal lath, or rock lath, and all other plaster
   bases which are to receive plaster on one or both sides, to
   include any and all plastering accessories.

         105.1.6 The nailing, tying, cutting, welding and fasten-
   ing, regardless of method, of the above and all wire and me-
   tallic lath of all descriptions connected therewith.

        105.1.7 The placing, handling, moving and erection of
   all materials which fall within the description of work set
   forth in this Section. The erecting and moving of all scaffolds
   and the moving and handling of all materials to be used in the
   erection of scaffolds other than patented scaffolding.

        106.     All work performed in the Contractors ware-
            		
   houses, shops or yards which have been particularly provided
   or set up to handle work in connection with a job or project
   covered by the terms of this Agreement and all of the produc-
   tion or fabrication of materials by the Contractor for use on
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    the project shall be subject to the terms and conditions of this
    Agreement.

         107.       Fence building work, which is covered in this
    Article, shall be performed under all of the terms and condi-
    tions of the Fence Building Agreement between the Contrac-
    tors and the Southwest Regional Council of Carpenters.

         108.      Insulation installation work, which is covered
    in this Article, shall be performed under all of the terms and
    conditions of the Insulation Agreement between the Contrac-
    tors and the Southwest Regional Council of Carpenters. Also
    covered is the installation of firestop materials and all related
    work. Article V, Section 503 shall not apply to firestop work.
            
    (See Appendix C to this Agreement)

         109.     Lathers work, which is covered in this Article,
                		
    shall be performed under all of the terms and conditions of
    the Drywall/Lathing Master Agreement between the Western
    Wall and Ceiling Contractors Association or any other Asso-
    ciation and the Southwest Regional Council of Carpenters.

         110.     All layout work traditionally performed by Car-
               		
    penters, including layout for work to be performed by the car-
    penter trades, shall be performed by Carpenters covered by
    this Agreement. This shall include all layout and shooting of
    grades from the initial control point and use of all equipment
    incidental thereto, including use of transit and “total station”
    equipment.

        111.      The work covered by this Agreement shall in-
               		
    clude the installation of premanufactured expansion joints
    and seismic joints, which work shall be covered by this
    Agreement and performed by Carpenters. Article V, Section
    503 shall not apply to such work.

          112.     The work covered by this Agreement shall in-
               		
    clude all types of wood flooring of any size, shape or pattern,
    in all its branches and phases, such as nailing, filling, laying
    striping, tongue and groove, underlayment, blocks-mastic
    work, sanding, edging, staining, finishing, basing, application
    of shellac, varnishes, sealers, waxing and all maintenance and
    related work. Computer floors, and/or raised access floors in
    all its branches and phases, such as material handling, lay-
    out, fabrication, maintenance, installation, cutting, fitting,
    and fastening of all materials and components, such as ped-
    estal stanchions, stringer systems, seismic bracing, Unistrut
    systems, x-ray supports, light supports, cable vault supports,
    racks, shelving, ceiling grids, clean room wall framing, ceil-
    ing supports, utility screen supports, unistrut metal framing

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   systems of all lightweight standardized components which
   can be bolted together to form roofs, decks and special struc-
   tural elements of varying modular configurations and all other
   necessary structural support assemblies. Installation of ramps,
   steps, fascia assemblies, plenum dividers, air grills, cable cut-
   outs, ledge extrusion, hand rail assemblies, cove base at pe-
   rimeter walls, lamination of coverings onto floor panels, and
   any other operation relative to computer floor installations.

        113.     The Trustees of the Trust Fund shall furnish
            		
   the Contractor Association and the Union and all contribut-
   ing Employers, upon subscription, with a list of delinquent
   Contractors each month. The Contractor agrees he will not
   subcontract any portion of his job to any subcontractor whose
   name appears on the delinquent list until such subcontractor
   has paid all delinquent monies to the various Trust Funds. In
   the event the Contractor subcontracts to any such delinquent
   subcontractor, in violation of the foregoing, the Contractor
   shall remove such subcontractor from the job immediately,
   unless such delinquent subcontractor immediately makes full
   payment for all delinquencies to the Trusts.

        114.      The Contractor shall be financially responsible
   for all fringe benefits owed to any funds established by this
   Agreement by him or by his subcontractor or the subcontrac-
   tor of his subcontractor for work performed on the Contrac-
   tors job or project in accordance with the requirements set
   forth below.

        115.     The Trust Office shall notify the Contractor of
   any delinquency of any subcontractor within ninety (90) days
   of the date the delinquency first occurred and in no case shall
   the Contractor be liable for fringe benefit contributions of a
   subcontractor for more than ninety (90) days prior to the date
   the Trust Office notice is sent to the Contractor.

        115.1 Where a Contractor contracts with a listed de-
   linquent subcontractor or subcontractors, the Contractor may
   terminate the subcontract of such delinquent subcontractor,
   or subcontractors. The Contractor shall become financially
   responsible for the liability on that job from the commence-
   ment of the work under the subcontract to the date of termi-
   nation of that subcontract.

        115.2 Where the General Contractor fails or refuses to
   make any payments required under the above provisions, and
   the Trust has established the delinquent amount, the Union
   shall have the right to withhold service from any or all jobs
   of such General Contractor.


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         115.2.1 Where there is no General Contractor on the
    jobsite, the right to withhold service by the Union shall apply
    to the project as a whole.

         117.    The Trust Office shall send delinquency notices
    to Contractors whose contributions are not paid as required.
    The Trust Office shall notify the Union of those Contractors
    who fail to pay within five (5) days of such notice and the
    Union shall within forty-eight (48) hours after receipt of such
    notice withhold service from the Contractor involved until
    contributions are paid or satisfactory arrangements made
    with the Trustees for payment.

         117.1 The Trust Office shall issue delinquency notic-
    es and clearances to Contractors confirmed in writing.

         118.     All carpenter employees shall be covered by
    this Agreement and the provisions applicable to Trust Funds.
    The Trustees shall have authority to audit Contractor records
    to determine the appropriate contributions and shall have
    specific authority to examine and copy the Contractors time
    cards, Federal W-2 Forms, 1099 and 1096 Forms, Quarterly
    State Tax Returns and cash disbursement ledger or all can-
    celed checks. In addition, the Trustees shall have authority to
    examine specific canceled checks and/or invoices in connec-
    tion with individual items. If a Contractor refuses to furnish
    the foregoing the Union may take economic action.

         118.1 Each individual Contractor found to be delin-
    quent may be required to pay all legal fees, court costs, and
    auditing costs in connection with such delinquency. Liqui-
    dated damages in the amount of twenty-five dollars ($25.00)
    or ten percent (10%) of the amount due, whichever is greater,
    may also be assessed.

         118.2 For the purposes of this Agreement, delinquen-
    cy in failure to make the required reports and contributions to
    the Trust Fund as determined by the Trustees, shall consist of
    the following.

        118.2.1 Failure to submit trust report forms.

        118.2.2 Failure to report on all employees.

        118.2.3 Failure to make the payments as required on time.

        118.2.4 Failure to pay audit amounts and audit fees and
    other costs and damages as determined by the Trust.
        118.2.5 Failure of bank to honor checks submitted.


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                           ARTICLE II

                     Union Recognition

        201.      The Contractor hereby recognizes the Union as
            		
   the sole and exclusive collective bargaining representative of
   all employees and persons employed to perform work covered
   by this Agreement. It is understood that the Union does not at
   this time, nor will it during the term of this Agreement, claim
   jurisdiction over the following class of employees: Execu-
   tives, superintendents, assistant superintendents, master me-
   chanics, time keepers, messenger boys, office workers or any
   employees of the Contractors above the rank of craft foreman.
   Employees and persons employed to perform work covered
   by this Agreement specifically include Craft Foreman.

        202.      The Union recognizes the United General Con-
            		
   tractors, Inc. as the sole and exclusive bargaining representa-
   tives for its respective eligible members, present and future,
   who are or who become bound by this Agreement and agree
   that during the term of this Agreement they will not negotiate
   or enter into any agreement with such individual members
   of the Association relative to part or all of the subject matter
   covered by this Agreement. Employer members of the afore-
   mentioned Association bound to this Agreement and individ-
   ual Employers bound to this Agreement shall thereby become
   a member of the multi-employer collective bargaining unit
   established by this Agreement.

        203.     This Agreement shall be binding upon each
            		
   and every eligible member of the United General Contrac-
   tors, Inc. who individually affixes his signature hereto. All
   such eligible members shall remain liable under this Agree-
   ment for the term of the Agreement irrespective of whether
   they shall resign or be suspended from the Association prior
   to the expiration date of this Agreement and such liability
   shall survive the termination or suspension of membership
   and remain in force during the term of this Agreement. Such
   former or suspended member shall be bound by any renew-
   als, modifications or extensions of this Agreement, unless he
   gives the Association and the Union at least sixty (60) days
   written notice prior to June 15, 2020 or sixty (60) days pri-
   or to the termination date of any renewed, modified or ex-
   tended Agreement, of his intention not to be bound by any
   new, extended or renewed Agreement. The Association will
   advise the Union of any new or resigned or suspended mem-
   bers within thirty (30) days after admission to membership or
   change in membership status.



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         204.     In the employment of workmen for all work

             		
    covered by this Agreement, except for Piledrivers, when per-
    forming Piledriver classification work on piledriving rigs,
    docks or wharves, offshore oil rigs or diving and tending
    work, and Millwrights performing Millwright classification
    work, in the territory above described, the following provi-
    sions subject to the conditions of Article II, Paragraph 201
    of this Agreement will govern. The hiring of Piledrivers for
    the aforementioned work will be governed by the hiring pro-
    visions of Appendix A to this Agreement. The hiring of Mill-
    wrights for all millwright work will be governed by the hiring
    provisions of Appendix B to this Agreement.

         204.1 The Regional Council will establish and main-
    tain open and nondiscriminatory employment lists for the use
    of workmen desiring employment on work covered by this
    Agreement.

         204.2 The Contractors will call upon the Regional
    Council or its designated agent having work and area juris-
    diction for such men as they may from time to time need
    and the Council will furnish to the Contractors the required
    number of qualified and competent workmen and skilled me-
    chanics of the classifications as requested by the Contractors.
    The Contractor may not put an employee to work without a
    referral from the appropriate Hiring Hall.

         204.3 It will be the responsibility of the Contractors,
    when ordering men, to give the Regional Council all of the
    pertinent information regarding the workman’s employment,
    including any special requests or qualifications.

         204.4 All referrals from the Regional Council must be
    in writing, on a standard form to be provided by the Union.
    The written referral will contain the name of the Contractor,
    address of the jobsite, and the appropriate wage scale and
    the required fringe benefit rates. The Council will dispatch
                                            
    in accordance with the request of the Contractor each such
    qualified and competent workman from among those entered
    on said lists in the following order of preference.

       204.4.1 Workmen specifically requested by name and
    whose names are entered on the out of work list.

         204.4.2 Workmen who, within the five (5) years imme-
    diately before the Contractors order for men, have performed
    work covered by this Agreement in the geographic area of
    the Agreement, as defined in Article I, Paragraph 102 of this
    Agreement, in response to any special request of the Contrac-
    tor, provided such workmen are available for employment.

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       204.4.3 Workmen whose names are entered on said list
   and who are available for employment, in numerical order.

        204.5 With respect to the operation of the Hiring Hall
   described in this Article 204, any Workman registered on any
   Carpenters Hiring Hall employment list maintained pursuant
   to this Article will have his name stricken therefrom in the
   event he performs work within the recognized craft jurisdic-
   tion of the Union for any Employer or as an Employer (in
   either case without regard to whether the Employer is bound
   to this Agreement) in the area covered by the Master Labor
   Agreement other than pursuant to a proper Work Referral as
   described above.

        204.6 All workmen must obtain a referral from the
   Carpenters Hiring Hall prior to going to work. Failure to ob-
   tain a work referral will be grounds for removing an employ-
   ee from the project and denying such employee a subsequent
   work referral to that project. Responsibility for obtaining a
   work referral lies with both the Contractor and the Workmen.

        204.7 Workmen who reside within the geographical
   jurisdiction of the Southwest Regional Council of Carpenters
   and whose names appear on the Hiring Hall lists will be free
   to solicit work from any signatory Contractor.

        204.8 Contractors will be required to provide to the
   Union on a monthly basis a list of all employees on their
   payroll, along with social security numbers and the jobsite
   where the individual is employed. Failure to provide such a
   list will be grounds for declining to refer workmen by name
   to that Contractor in addition to any other remedies available
   to the Union. If the Union elects to refuse to refer workmen
   by name to a Contractor, the Contractor will be required to
   obtain workmen pursuant to Sections 204.4.3 exclusively.
   Violation of this provision will be grounds for a grievance
   for which an arbitrator may assess appropriate damages. The
   parties agree that if a grievance is filed alleging a violation of
   this Section 204.8, that it will be heard and decided under the
   terms of the Grievance and Arbitration procedures within five
   (5) working days of being filed and that the arbitrator will
   issue a bench decision in all such cases.

        205.      When ordering workmen of the skills required,
            		
   the Contractor will give notice to the Regional Council not
   later than 2:30 p.m. of the day prior (Monday through Fri-
   day) or, in any event, not less than seventeen and one-half
   (17 ½) hours before the required reporting time, and in the
   event that forty-eight (48) hours after such notice the Council
   shall not furnish such employees, the Contractor may procure

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    employees from any other source. If men are so employed,
    the Contractor shall immediately report each such employee
    by name to the Regional Council.

        205.1 No employee or applicant for employment will
    be required as a condition of employment or continued em-
    ployment to take any test or sign a waiver of lien. No em-
    ployee will be required to take a medical exam as a condition
    of employment unless required by job or owner requirements,
    or upon mutual assent between the Union and the Contractor.

         205.2 Any dispute involving these Hiring Hall provi-
    sions, or involving the operation or practice of these Hiring
    Hall provisions, including any claim by an individual that
    they were in any manner harmed by the operation of the Hir-
    ing Hall, or by the negligent or intentional conduct of any
    individual in connection with the operation of the Hiring
    Hall, shall be resolved exclusively through the grievance and
    arbitration procedures established by the Independent Con-
    tractors Grievance and Arbitration Trust under Article VI of
    this Agreement.

         206.      Employees employed by one (1) or more of the
             		
    Contractors for a period of eight (8) days, continuously or ac-
    cumulatively, shall be or become after the eight (8) day peri-
    od, or eight (8) days after the effective date of this Agreement,
    whichever is later, members of the Union and shall remain
    members of the Union as a condition of continued employ-
    ment. Membership in the Union shall be available upon terms
    and qualifications not more burdensome than those applicable
    at such times to other applicants for membership to the Union.

         206.1 The Contractor shall discharge any employee
    pursuant to the foregoing section upon written notice from
    the Union of such employees nonpayment of initiation fees or
    dues. Such written notice shall indicate the amount of initia-
    tion fees or dues which are in a state of delinquency and shall
    give the employee forty-eight (48) hours within which to cure
    the delinquency. The Contractor agrees to furnish a copy of
    such notice to the employee forthwith.

         207.      Subject to the foregoing, Contractors shall have
             		
    complete freedom of selectivity in hiring and Contractors re-
    tain the right to reject any job applicant referred by the Union
    for any reason. The individual Contractor is the judge as to
    the competence of all his employees and applicants for em-
    ployment. All employees must perform their work to the sat-
    isfaction of the Contractor. No employee shall be discharged
    or discriminated against for activities in behalf of, or in rep-
    resentation of the Union not interfering with the proper per-

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   formance of his duties. Any discharge may be subject to the
   provisions of Article VI of this Agreement, if applicable. The
   first five (5) days of employment of any employee shall be a
   probationary period during which time any terminations will
   not be challenged, excluding union activities.

        207.1 The individual Contractor may discharge any
   employee, and upon request of the Business Representative
   the Contractor shall specify in writing to the carpenter the rea-
   son for discharge. Disputes shall be subject to the provisions
   of Article VI of this Agreement, if applicable. The arbitrator
   (or arbitration board) shall be free to sustain the discharge or
   to find discipline other than discharge to be appropriate and
   may order reinstatement with full or partial back pay as he (or
   it) deems appropriate.

        208.     The Contractor may transfer employees who
   are on the contractor’s payroll at the time transfer is made
   within the area of the Southwest Regional Council of Car-
   penters, provided the Contractor is signatory in the area to
   which the employee is being transferred, without limitation.
   The Contractor shall give notice to the Regional Council
   where work is to be performed on a transfer as to the name
   of the Contractor, the employees transferred and the address
   of the jobsite. All employees being transferred shall procure
   a work referral from the Council. Additional employees shall
   be employed in accordance with the provisions of Article II,
   Paragraph 204.4.

        208.1 Employees employed by any Contractor pursuant
   to the terms of this Agreement, and remaining in good standing
   in the Union, shall not be removed or transferred by the Union
   unless the prior approval of the Contractor has been obtained.

        208.2 An apprentice may work no more than six
   months in an area outside the geographical area of the program
   where he is indentured unless he transfers to the apprentice-
   ship program for the geographical area where he is working.

                           ARTICLE III

                     Supplemental Dues

        301.      Subject to the following conditions, the Con-
            		
   tractor agrees that he shall, if he is furnished with his em-
   ployees written authorization to do so, deduct the sum of one
   dollar fifty-three cents ($1.53) per hour or the amount of Sup-
   plemental Dues that are lawfully required by the Union from
   the amounts required to be paid by the fifth paragraph of At-
   tachment No. 1 to this Agreement for each employee covered

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    hereby for each hour worked or paid for in each payroll peri-
    od commencing July 1, 2016 as Special Supplemental Dues.
    In implementing the foregoing the Carpenters Southwest
    Administrative Corporation has been designated as Agent for
    the purpose of receiving and holding written authorization
    cards and for receiving, holding and allocating and distribut-
    ing the dues monies.

          302.      Said Supplemental Dues shall be transmitted to
    said Agent concurrently with, but not as a part of, the Employ-
    ers monthly vacation contributions with respect to his employ-
    ees covered by this Agreement to the Southwest Carpenters
    Vacation Trust (Vacation Trust). All sums deducted by the Em-
    ployers pursuant to the provision of this Article shall, from
    the instant of their deduction, be considered dues if proper
    authorization shall have been furnished. All other sums trans-
    mitted by the Employers pursuant to the provisions of this Ar-
    ticle shall, from the instance of their transmittal, be considered
    vacation-holiday contributions if no such proper authorization
    shall have been furnished, and shall be held by the Vacation
    Trust for the account of the employee. Prior to the deposit
    in the separate bank accounts of the Agent, on the one hand,
    and the Vacation Trust on the other, the bank shall separate
    the funds transmitted into dues and vacation-holiday contri-
    butions, respectively, based on whether or not a proper dues
    deduction authorization shall have been filed. The bank shall
    then deposit such sums in the account of either the Agent or
    the Vacation Trust. The Union shall bear the entire responsibil-
    ity for furnishing the written authorization referred to above.
    All costs incident to receipt, administration and remittance to
    the Union of the Supplemental Dues payment shall be borne
    solely and entirely by the Union. This provision shall not re-
    duce the obligations of the Contractor to pay the full amount
    of vacation contributions specified in this Agreement. All writ-
    ten authorizations referred to above shall be irrevocable for a
    period of one (1) year from the date of the execution and shall
    renew automatically from year to year thereafter, unless the
    employee, by written notice served upon the Local Union and/
    or the Agent not more than twenty (20) days and not less than
    ten (10) days prior to the expiration of the first year or any year
    thereafter, shall have revoked such authorization.

                            ARTICLE IV

                      Strikes - Lockouts-
                    Jurisdictional Disputes

         401.     It is the purpose and intent of those Employers
             		
    participating in the Independent Contractors Grievance and
    Arbitration Trust and the Union that all grievances or dis-

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   putes arising between them over the interpretation or appli-
   cation of the terms of this Agreement shall be settled by the
   procedures set forth in Article VI and that during the term of
   this Agreement the Union shall not call or engage in, sanction
   or assist in a strike against, or any slowdown, or stoppage of
   work of the Contractor. During the term of this Agreement, a
   Contractor shall not cause or permit any lockout of the em-
   ployees covered under this Agreement.

       402.     Except as otherwise provided in this Agree-
            		
   ment, there shall be no strike, lockout or work stoppage by
   any party hereto or any individual Employer.

        403.     No employee covered hereby may be dis-
            		
   charged by an individual Employer for refusing to cross a
   primary picket line sanctioned by the Building and Construc-
   tion Trades Council, or the Carpenters Regional Council, or
   for engaging in any conduct protected by Sections 7 or 502 of
   the Labor-Management Relations Act of 1947, as amended.

        403.1. If work on a project is declared to be unfair as
   the result of a primary dispute by a Building and Construction
   Trades Council or the Carpenters Regional Council, and the
   work thereon is stopped for that reason, the Union shall not be
   deemed to have violated this Agreement if, during the period
   of said work stoppage, the members of the Union fail to per-
   form their work for the Contractor or their subcontractors.

         404.     During the term hereof, there shall be no strikes,
            		
   slowdowns or stoppages of work occasioned by jurisdictional
   disputes between the Union signatory hereto and any other
   Union and that all employees covered by this Agreement
   shall perform the work customarily performed by them and
   will cooperate and work with members of other organizations
   affiliated with the Building and Construction Trades Depart-
   ment, AFL-CIO, or the International Brotherhood of Team-
   sters of America, without regard to past, present or future
   disputes on jurisdictional claims.

        405.     When making work assignments, the Con-
            		
   tractor shall assign the work in accordance with existing
   inter-craft Agreements. In the absence of such inter-craft
   Agreements, then past practice or the prevailing practice in
   the locality shall apply. The Union will furnish the Associ-
   ation with approved inter-craft Agreements. The locality for
   the purpose of determining the prevailing practice shall be
   defined as the geographical area covered by this Agreement.
   If a dispute arises prior to the assignment of work, or where
   there is no predominant practice in the locality or inter-craft
   Agreements, the Contractor shall consult the representatives

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    of the contesting trades regarding any arguments or facts the
    trades may wish to present to support their claim to the work.

        406. 		
                  The parties hereto agree that where a problem
    develops involving Unions not signatory to this Agreement,
    the representatives of the Unions involved will meet with
    representatives of the Contractors to resolve the particular
    problem. Any resolution by the Unions shall be put into effect
    immediately.

         407.     Jurisdictional disputes which cannot be re-
             		
    solved at the local level shall then be referred to the Interna-
    tional Unions involved for determination and the work shall
    proceed as assigned by the Contractor until such determina-
    tion by the International Unions has been confirmed to the
    disputing Unions and the Contractors.

                            ARTICLE V

          Subcontracting, Employee Rights
       Union Standards and Work Preservation

         501.     The purposes of this Article are to preserve and
             		
    protect the work opportunities normally available to employ-
    ees and workmen covered by this Agreement, maintenance
    and protection of standards and benefits of employees and
    workmen negotiated over many years, and preservation of
    the right of Union employees, employed hereunder, from be-
    ing compelled to work with nonunion workmen.

         502.     Definition of Subcontractor - A subcontractor
    for the purposes of this Agreement, with the exception of
    the general provision immediately above, is defined as any
    person, firm or corporation holding a valid State Contractors
    License and who agrees under contract in writing with Con-
    tractor or in writing with his subcontractors to perform any
    work covered by this Agreement, and employs workmen as
    employees to perform services covered by this Agreement, in-
    cluding the performance of labor and/or furnishing or installa-
    tion of material, or the operation of equipment. All employees
    of subcontractors will perform work at the appropriate hourly
    rate and will be reported to such Trust Funds as required by
    the Agreement except as provided in the appendices.

         503.    The Contractor agrees that he or his subcontrac-
    tor shall employ one (1) or more employees who are rep-
    resented by the Union, on each jobsite on which he or any
    subcontractor on the jobsite is performing work of the type
    covered by this Agreement, as defined in Article I, and that
    neither the Contractor nor any of his subcontractors shall

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   subcontract any work to be done at the site of construction,
   alteration, painting or repair of a building, structure or other
   work coming within the jurisdiction of the Carpenters except
   to a person, firm or corporation party to an appropriate cur-
   rent labor agreement with the Southwest Regional Council of
   Carpenters.

        503.1 A Contractor acting in the capacity of construc-
   tion manager or any other equivalent on any construction
   jobsite agrees that any Contractors on the projects will not
   contract or subcontract carpentry work to be done at the site
   of construction, alteration, or repair of the building, or struc-
   ture, except to a person, firm or corporation party to a current
   labor agreement with the Union. Although this paragraph is
   enforceable on all projects, the parties agree that if requested
   to do so they will meet to discuss the application of this sec-
   tion on a job-by-job basis.

        504.      The individual Contractor has the primary ob-
            		
   ligation in performance of all conditions of work covered by
   this Agreement. This obligation cannot be relieved, evaded
   or diminished by subcontracting. Should the individual Con-
   tractor elect to subcontract covered work, the individual Con-
   tractor shall continue to have such primary obligations. Such
   primary obligations shall be deemed conclusive evidence of
   the Unions majority status for the purpose of establishing the
   obligation of the individual Contractors to bargain collective-
   ly, pursuant to Section 8(a)(5) of the National Labor Rela-
   tions Act, as amended, with the Union upon expiration of this
   Agreement but for no other statute, rule, regulation or law.

        505.      Any dispute involving this Article will be re-
            		
   solved in accordance with the provisions of Article VI if ap-
   plicable or, by Court suit. Notwithstanding any other provi-
   sion of this Agreement, the Union shall not have the right to
   strike or use any economic action to enforce any provisions
   of this Article on subcontracting.

        506.      The Contractor shall provide in his contract
            		
   with the subcontractor the following provisions: The subcon-
   tractor accepts and agrees to be bound by the procedures for
   settling jurisdictional disputes as set forth in Article IV of this
   Agreement. The subcontractor agrees that he will bind his
   subcontractor to said procedures in the same manner and to
   the same effect as provided with respect to him.

       507.     The Contractor and his subcontractors shall
   have freedom of choice in the purchase of materials, supplies
   and equipment, except that every reasonable effort shall be
   made by the Contractor and his subcontractors to refrain from

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    the use of materials, supplies or equipment, which use will
    tend to cause any discord or disturbance on the project.

         508.     Notwithstanding the rights and obligations of
    the Contractor relating to subcontracting set forth in this Ar-
    ticle, the Contractor and the Union recognize the potential
    for more harmonious labor relations on any project on which
    all subcontractors are signatory to appropriate labor agree-
    ments. Pursuant to that recognition the Contractor and the
    Union agree, upon the request of either party, to participate in
    discussions regarding the potential development of a project
    agreement for any specific project, the provisions of which
    would be applicable to the Contractor and all subcontrac-
    tors on the project. While it shall be mandatory that a project
    agreement meeting be held if requested by either party, no
    project agreement shall be implemented unless agreed upon
    by the Contractor, the Union, and all other Unions to be cov-
    ered by such project agreement.

                            ARTICLE VI

                  Grievance and Arbitration

         601.     There has previously been established an Inde-
             		
    pendent Contractors Grievance and Arbitration Trust which
    is available to those contractors who are signed or who be-
    come signatory to this Agreement on the following basis:

         601.1 The purposes of the Trust are to establish and
    administer procedures to process grievances and to provide
    third party independent arbitration on disputes concerning
    the interpretation or application of this Agreement that may
    occur between the Contractor and the Union.

         601.2 The Trustee is authorized to retain professional
    assistance, such as an administrator, legal counsel, accoun-
    tants and such other personnel in order to accomplish such
    objectives of the Trust. Specifically, there shall be established
    through the Trust, a panel of independent and neutral arbi-
    trators to hear and determine such grievances and disputes,
    with authority to issue a final and binding award, including
    appropriate remedies.

         601.3 The Union shall appoint an Advisory Commit-
    tee regarding the appointment of the Trustee and the opera-
    tion of the Trust; however, the Unions rights and authority
    shall be limited to consultation and advice only.

         601.4 The Contractor and the Union agree to submit
    all disputes concerning the interpretation or application of

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   the Agreement to arbitration under this Article VI. The Con-
   tractor and the Union agree that during the pendency of the
   grievance and arbitration procedure, the Union will not strike
   or withdraw services or picket or engage in other economic
   action and the Contractor will not engage in a lockout; pro-
   vided, however, the Union shall have the right to engage in a
   strike, withdrawal of services or picketing and the Contractor
   may engage in a lockout on a claimed violation of the Agree-
   ment on payment of wages, fringe benefits or contributions to
   any Trust referred to in this Agreement or failure to comply
   with a final and binding arbitration award, except as to any
   provision or arbitration award on subcontracting, including
   all subcontracting provisions of the Agreement.

        601.5 The Contractor agrees to contribute the sum of
   three cents ($0.03) per hour for each hour worked or paid for
   by employees performing work covered by this Agreement
   to the Independent Contractors Grievance and Arbitration
   Trust for the purposes of defraying costs and administering
   the Trust. The Contractor agrees to be bound to the Agree-
   ment and Declaration of Trust, dated September 1, 1980 and
   amendments and modifications.

        601.6 For Contractors not currently making contri-
   butions to this Fund, the Contractor shall have the right not
   to make such three cents ($0.03) per hour contributions and
   thereby not be covered by this Article VI by giving written
   notice by registered or certified mail to the Trust and the
   Union within thirty (30) days after signing this Agreement.
   Upon such written notice, the Contractor and the Union shall
   not be subject to this Article VI, but shall be subject to Para-
   graph 601.8 below.

        601.7 Nothing contained in this Agreement, or any
   part thereof, shall affect or apply to the Union in any action
   it may take against any Contractor or subcontractor who has
   failed, neglected or refused to comply with or execute any
   settlement or decision reached at any step of the grievance
   procedure or through arbitration under the terms of Article VI
   hereof, or a decision reached through the procedure for settle-
   ment of jurisdictional disputes as outlined in this Agreement.
   Nothing in this Article shall, however, affect the Unions right
   of economic action for wages, fringe benefits and/or the right
   to an audit of the Contractors books or records. The provisions
   of this Section and the Unions right of economic action will
   not apply to any claim or dispute involving the enforcement
   of the subcontracting clause as set forth in the Agreement.

       601.8 This provision is applicable to a Contractor
   and the Union who are not covered by Article VI, above. It is
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    agreed that in all cases of a claimed violation, misunderstand-
    ing, dispute or difference regarding the application or inter-
    pretation of this Agreement or the Trust Agreements, or any
    amendments, modifications, extensions, supplementations
    and renewals thereto, except as to any provisions on subcon-
    tracting including all subcontracting terms of the Agreement,
    the Union shall have the right to call or engage in a strike,
    picketing, shutdown, work stoppage or withdrawal of services
    and the Contractor shall have the right to engage in a lockout.

                           ARTICLE VII

     Craft Steward and Business Representative

         701.     The Union business agent or special representa-
             		
    tive shall have access to the project during working hours and
    shall make every reasonable effort to advise the Contractor or
    his representative of his presence on the project.

         702.      The Union shall have the right to appoint a job
    steward from among the Employer’s employees on the proj-
    ect. The craft job steward, if any, shall be a working em-
    ployee appointed by the Regional Council or its designee,
    who shall, in addition to his regularly assigned work, be per-
    mitted to perform during working hours, such of his steward
    duties, as outlined in Paragraph 704, below, as cannot be per-
    formed otherwise. The Union agrees that such duties shall
    be performed as expeditiously as possible and the Contractor
    agrees to allow the performance of such duties as herein set
    forth. The Union shall notify the Contractor or his represen-
    tative, in writing, of the appointment of a craft job steward,
    and send a copy to the Contractors home office address.

    702.1 If the Union has evidence that the Contractor has
    recently engaged or is engaging in serious and repeated vi-
    olations of the Agreement, the Union shall have the right to
    select a steward from sources other than the Contractor’s em-
    ployees on the project, provided that the Union notifies the
    Contractor and its Association, if any, in writing, in person or
    at his place of business, of its intent to place a steward, the
    identity of the steward, the location of the project and the al-
    leged serious violations of the Agreement at least twenty-four
    (24) hours in advance of the placement of the steward. Such
    steward must have the requisite skills and experience neces-
    sary to perform the work of the Contractor at the same level
    as other current employees.

         If the Contractor objects to the placement of the steward,
    it shall have the right to convene a special Joint Commit-
    tee as provided below, to determine whether the Union has
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   evidence of serious violations of the Agreement as set forth
   in paragraph (I). In order to convene such Committee, the
   Contractor shall notify the Union and the Association with-
   in seventy-two (72) hours of receipt of the Union’s notice
   of steward placement of the Contractor’s objection to such
   placement. This notification shall be confirmed in writing to
   the Union and the Association.

        The Committee shall be composed of disinterested per-
   sons with two labor representatives selected by the Southwest
   Regional Council of Carpenters, two management represen-
   tatives selected by the Association, and a neutral arbitrator.
   The parties shall maintain lists of ten representatives of labor,
   ten representatives of management, and five neutral arbitra-
   tors to serve as a panel, from which Committee members
   shall be selected.

        The Committee shall be convened within five (5) work-
   ing days after receipt by the Union and the Association of
   the Contractor’s objection to the steward placement and ren-
   der a bench decision. The neutral arbitrator, who shall have
   no business connection with either party to this Agreement,
   shall be authorized to participate in the proceedings and if the
   committee is unable to reach a majority vote, the arbitrator
   shall render the deciding vote. A quorum shall consist of one
   representative selected by the Association and one represen-
   tative selected by the Union. If a quorum is not present, a
   bench decision will be rendered by the neutral arbitrator.

        The Committee shall determine whether the Union has
   evidence that the Contractor has engaged or is engaging in
   serious violations as set forth in paragraph (2). The Union
   shall have the burden of proving that it has evidence of said
   serious violations. The determination of the Committee shall
   be by majority vote as provided above. The Committee’s de-
   cision shall be final and binding. The decision of the Com-
   mittee shall be confirmed in writing to the Contractor and the
   Union. Should a Contractor fail to abide by the Committee’s
   decision, the Union shall have the right to exercise its legal
   and economic remedies.

       The losing party shall bear all costs of the proceedings.

        703.     It is recognized by the Contractor that the craft
   job steward shall remain on the job as long as there is work
   being performed in his craft in which he is qualified to per-
   form. The Contractor or his representative, before laying off,
   or discharging the craft job steward for any cause other than
   stated in Paragraph 704, below, shall notify the Union in
   writing of his intent to do so two (2) full working days prior

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    to such intended layoff or discharge. The Contractor or his
    representative will meet with the representative of the Union
    during this two (2) day period and attempt to resolve the
    matter. The craft job steward shall not be discharged or laid
    off for the performance of his agreed upon duties when per-
    formed in accordance with this Article, or without just cause.

         704.     To promote harmony between the Union and
    the individual Contractor, the craft job steward shall be limit-
    ed to and shall not exceed the following duties and activities.

        704.1 Check the job referral of each employee dis-
    patched under the terms of this Agreement to the Contractor.

         704.2 Work with the Contractors designated represen-
    tative in charge of the job in an attempt to resolve disputes
    prior to the application of the grievance procedure, if appli-
    cable.

         704.3 Report to the Contractors designated represen-
    tative any employee covered by this Agreement who works
    for less than the negotiated wage scale, for less than the over-
    time rate or who goes to work without a referral.

         704.4 Report to the Contractors designated represen-
    tative any work belonging to his craft being done by non-dis-
    patched men or by workmen of another craft.

         704.5 Report to his Business Representative infrac-
    tions of the Agreement which have not been resolved be-
    tween himself and the Contractors designated representative.

        704.6 Make a complete job check during working
    hours no more often than once a week.

         704.7 Report to his Business Representative any em-
    ployee covered by this Agreement who leaves the jobsite
    without giving the Contractor and the craft job steward prior
    notice.

        704.8 Report any reckless or unsafe employees cov-
    ered by this Agreement on the jobsite to the Contractors des-
    ignated representative or his Business Representative.

        704.9     The craft job steward shall not:

        704.9.1 Stop the Contractors work for any reason.

         704.9.2 Tell any workmen or any employee covered by
    this Agreement that he cannot work on the job.

        704.9.3 Initiate any physical altercation with any per-

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   son on the jobsite.

        705.		
                Infraction of any of the rules in Subparagraphs
   704.9 shall be cause for immediate dismissal of the craft job
   steward without any prior notice and this shall be the exclu-
   sive remedy for a violation of this section.

        706.      Any dispute in connection with this Article VII
            		
   shall be referred to the grievance procedure outlined in Arti-
   cle VI of this Agreement, if applicable.

                         ARTICLE VIII

                         Classifications

        801.      Should the Contractor or subcontractors, as de-
   fined in Article I, and Article V of this Agreement, employ em-
   ployees in the prosecution of work covered by this Agreement
   in occupations or upon equipment which is not covered by one
   of the classifications herein specified, such employment shall,
   within three (3) working days after a work assignment is made
   or the equipment is operated, be temporarily classified by the
   Contractor Association and the Union under the classifications
   contained herein which will more nearly fit the particular char-
   acter of the employment. Either party shall thereafter have the
   right to submit a dispute under this Section in the manner set
   forth in Article VI of this Agreement, if applicable.

        802.      The number of employees and the number of
   classifications of employees required to perform any oper-
   ation covered by this Agreement shall be determined by the
   Contractor; provided that if a Contractor, in determining the
   number of employees, or the number of classifications of em-
   ployees, shall lessen the number of employees or the number
   of classifications customarily used to perform any such oper-
   ation, the Union may have the issue of such reduction in em-
   ployees or in classifications determined by the grievance and
   arbitration procedure provided in Article VI of this Agree-
   ment, if applicable. In determining such disputes, consider-
   ation shall be given to the necessity for additional employees
   or classifications as well as to other pertinent factors.

        803.      Because the Contractor and the Union recog-
   nize the necessity of eliminating restrictions on production
   and promoting efficiency, nothing shall be permitted that
   restricts production or increases the time required to do the
   work, and no limitation shall be placed upon the amount of
   work which an employee shall perform, nor shall there be any
   restrictions against the use of any kind of machinery, tools, or
   labor saving devices, provided, however, that such machin-

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    ery or power equipment shall be furnished by the Contractor,
    and provided further that no employee shall be required to
    work under any conditions that are injurious to his health or
    safety in conflict with a present well-established custom reg-
    ulating such use where the work is being performed.

         804.      The Contractor agrees to recognize and observe
    craft jurisdiction insofar as possible and practicable and that
    wage scales apply to classifications rather than to men, and the
    Union agrees to permit the occasional or temporary transfer of
    employees of one (1) classification to any other classification or
    between crafts; provided that, when such transfers are made the
    employee shall be paid for the entire day on the basis of the rate
    of the highest paid classification in which he worked during
    the day . Abuse by any Contractor of the privilege granted
    in this Paragraph 804 shall then subject him to withdrawal of
    the privilege for an appropriate period through the procedures
    established in Article VI of this Agreement, if applicable.

         805.     Each employee employed in accordance with
    the terms of this Agreement shall receive the minimum hour-
    ly wage rates specified in Article XVIII of this Agreement.
    Unless otherwise provided in the appendices to this Agree-
    ment, any other method of paying employees, such as the use
    of piece work, bonus systems, quota setting, or lumping of
    work, shall be deemed a violation of this Agreement. Griev-
    ances shall be settled in accordance with Article VI of this
    Agreement, if applicable.

         806.     The Contractor recognizes those sections of the
    Constitution and Laws of the United Brotherhood of Carpen-
    ters and Joiners of America which prohibit its members from
    contracting for labor only.

         807.    The Contractor agrees that all work covered by
    this Agreement shall be performed by Carpenters who the
    Contractor and the Union agree are employees of the Con-
    tractor or subcontractor employed under the terms of this
    Agreement.

         808.     Unless otherwise provided in the appendices to
    this Agreement, work performed under this Agreement shall
    be done by the employees of the Contractor or prime build-
    er direct with the Carpenters on an hourly basis, subject to
    the subcontractor provisions of this Agreement. The arbiter,
    court, or fact finder may assess penalties for violations of
    Paragraphs 805, 806, 807, and 808.




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                           ARTICLE IX

        Holidays, Payment of Wages, Meal Periods

          901.     Holidays
              		
            The following holidays shall be observed on the
   		
   date designated by Federal Law:

          1. New Years Day        5. Veterans Day
          2. Memorial Day         6. Thanksgiving Day
          3. Independence Day     7. Day after Thanksgiving Day
          4. Labor Day            8. Christmas Day

             If any of the above holidays should fall on Sunday,
   		
   the Monday following shall be considered a legal holiday. If
   Christmas or New Years should fall on Saturday, the Friday pre-
   ceding shall be considered a legal holiday. Work on such days
   shall be paid for at the holiday overtime rate provided herein.
   No work shall be performed on Labor Day except in case of
   extreme urgency when life or property is in imminent danger.

          902.     Payment of Wages

        902.1 All wages shall be paid on a designated weekly
   payday and in no event shall the Contractor withhold more
   than five (5) working days. If the regular payday falls on a hol-
   iday, the employees shall be paid on the next regular workday.
   Employees shall be paid prior to the ending of their regular
   shift. In the event an employee is not paid prior to the ending
   of his regular scheduled shift, he shall be compensated in in-
   crements of one-half (½) hour at the applicable overtime rate
   until such time as he does receive his pay. Contractors may
   pay employees utilizing direct deposit or payroll debit card as
   provided under local, state or federal law, provided, however,
   that payroll debit cards will be without fees charged to em-
   ployees or deduction of wages to employees.

        902.2 When men are laid off or discharged, they must
   be paid wages due them at the time of layoff or discharge.
   When the Contractor is located out of state or is working on
   a remote jobsite that makes compliance with the foregoing
   difficult, the Contractor may request from the Union prior
   to the start of the project a reasonable accommodation, such
   as overnight mail or direct deposit. At such times as an em-
   ployee is paid, he shall be furnished a personal record show-
   ing straight time and overtime hours paid and all deductions
   itemized for the current pay period. Such record shall show
   the employees name or social security number and the Em-
   ployers name and address. If the Contractor fails to provide

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    such information on the check stub, then upon written notice
    from the Union, the Contractor shall correct such check stub
    within ten (10) days after such notice. If after a second notice
    such correction is not made, then the Contractor shall be lia-
    ble to the employee in the amount of ten dollars ($10.00) for
    each day that the Employer fails to correct the check stub. In
    the event the Employer fails to pay employees laid off or dis-
    charged, they shall be paid waiting time at the straight time
    rate of eight (8) hours per day, five (5) days per week, until
    the time such payment has been made.

         902.3 An employee who quits shall be mailed his pay
    in full by certified mail to his last known address within sev-
    enty-two (72) hours, or be paid prior to leaving the job or
    project. In the event these stipulations are not met, he shall
    receive waiting time as noted above.

         902.4 If a Contractor pays an employee by check,
    draft or voucher, which check, draft or voucher is subse-
    quently refused payment because the Contractor has no ac-
    count with the bank, institution or person on which drawn, or
    insufficient funds to his account at the time of presentation,
    the Contractor shall be required to issue only certified checks
    for all employees working under this Agreement on that job
    for the duration of the job on which said check was issued,
    and shall reimburse the employee immediately by certified
    check for the insufficient fund check issued and for the bank
    charges assessed.

         902.5 When employees covered under the terms of
    this Agreement are employed at a higher rate of pay than the
    minimum established herein during any shift, the higher rate
    of pay shall apply on all time worked during that day.

         902.6 The Employer shall not discharge or discrim-
    inate against an employee under this Agreement because of
    any industrial injury incurred prior to employment, or the fil-
    ing of a claim for workers compensation benefits.

         902.7 When an employee is injured while at work to
    the extent of being unable to work for the balance of the day, he
    shall be paid for a full day at his regular rate. His ability to work
    or not to work shall be determined by a qualified physician.

         903.      Meal Period

             Employees shall not work more than five (5) con-
    secutive hours without a one-half (1/2) hour meal period.
    When employees work over five (5) hours without being pro-
    vided with a one-half (1/2) hour meal period, they shall be
    paid an additional amount equal to one-half (1/2) hour pay

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   at the double (2) time rate excluding fringe benefits. When
   an employee is required to work overtime for more than
   three (3) hours over the regular eight (8) hours, the Employer
   agrees to provide a meal period each five (5) hours thereafter
   and the employee shall have sufficient time to eat the meal
   without loss of pay. In the event an employee is required to
   work through an overtime meal period, then the employee
   shall receive pay for an additional one-half (1/2) hour at the
   double (2) time rate excluding fringe benefits. Meal periods
   may be staggered to meet job requirements. No employee
   will be required to work more than five (5) hours during any
   time period without a meal period.

         904.     The parties recognize the applicability of Indus-
            		
   trial Welfare Commission Wage Order 16 to work performed
   under this Agreement. Any alleged violation of Wage Order
   16 shall constitute a grievance which shall be recognized un-
   der the grievance procedure of this Agreement. The griev-
   ance procedure detailed in Article VI shall be the exclusive
   method for resolving all alleged violations of Wage Order 16
   and the time limitations of the grievance procedure shall ap-
   ply to the extent permitted by applicable local, state or federal
   law. Nothing in the Agreement shall be construed to limit the
   relief that an arbitrator deems appropriate.

                           ARTICLE X

      Safety, Parking, Drinking Water, Jobsite
       Transportation, Signing of Documents

       1001.     Safety

       1001.1 The Union shall cooperate with the individual
   Contractor and with each other in carrying out all of the indi-
   vidual Contractors safety measures and practices for accident
   prevention, and employees shall perform their duties in each
   operation in such a manner as to promote efficient operations
   of each particular duty and of any job as a whole. The indi-
   vidual Contractors must post the name and address of their
   doctor and the compensation insurance carrier on the jobsite.

        1001.2 All Federal and State safety rules, regulations,
   orders and decisions shall be binding upon the individual
   Contractor and shall be applied to all work covered by this
   Agreement. No worker shall be required to work under un-
   safe conditions.

       1001.2.1 An employee who has been found, through the
   grievance procedure, to have been unjustifiably disciplined
   or discharged for refusing to perform work which would

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    endanger his health or safety, or the health or safety of any
    other employee, shall be reinstated in his former classifica-
    tion. This is not to be construed as a waiver of the employees
    rights under Section 502 of the Labor-Management Relations
    Act of 1947, as amended.

         1001.3 The individual Contractors shall be solely re-
    sponsible for implementation and maintenance of such safety
    laws, rules, regulations, standards, orders and decisions. Nei-
    ther the Union nor any Local Unions or the Regional Council
    are responsible for such implementation or maintenance.

         1002.    Parking

              In the event free parking facilities are not available
    		
    within fourteen hundred (1400) feet of a jobsite, the individ-
    ual Employer will provide such facilities and the individual
    Employer shall have the right to designate parking areas to
    be used. Where, because of congested parking conditions, it
    is necessary to use public facilities, the Employer shall reim-
    burse the employee for the cost of such parking upon being
    presented with a receipt or voucher certifying to the cost there-
    of, such reimbursement to be made on a weekly basis or at the
    conclusion of the project, whichever occurs earlier. Designat-
    ed parking areas shall be reasonably level and graded to drain.
    If employees must be bused to a jobsite they will be paid for
    the time spent riding to the jobsite. If the return trip takes more
    than one half (½) hour the return trip will also be paid.

         1003.    Drinking Water

             The Contractor shall furnish cool and potable drink-
    		
    ing water in sufficient quantities for the needs of the employ-
    ees and make available sanitary drinking cups, salt tablets
    and adequate toilet facilities in accordance with California
    State Law.

         1004.    Jobsite Transportation

              Whenever, because of remoteness of parking areas,
    		
    hazardous road conditions or security restrictions, the Em-
    ployer is required to furnish transportation for men within the
    jobsite to the place of their work, this transportation shall be
    equipped with seats and handrails.

         1005.    Signing of Documents

             Workmen and/or employees shall not be required to
    		
    sign any documents other than those required by law. Under
    no circumstances will an employee be required to sign any
    other document and the Union shall not be held in violation

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   of this Agreement for ceasing to work on a job or project
   where such demand is made by the Employer.

        1006.    Certifications

             The Union will maintain a data base that will track
   		
   all apprentices and journeymen and their certifications along
   with the expiration of their certifications. All journeyman and




                                               
   apprentices will be trained and receive certifications in safety,
   CPR, first aid, OSHA 10 hour and Cal/OSHA requirements,
   scaffold training, fall protection and any other certification or
   requirement to meet City, State or Federal rules or laws.

        1007. A heat illness prevention cool down recovery
   period shall be made available for employees working in high
   heat conditions in order to prevent heat illness in accordance
   with CAL OSHA requirements. The grievance procedure
   detailed in Article VI shall be the exclusive method for re-
   solving all alleged violations of this Article and the time lim-
   itations of the grievance procedure shall apply to the extent
   permitted by applicable local, state or federal law. Nothing
   in the Agreement shall be construed to limit the relief that an
   arbitrator deems appropriate.

                           ARTICLE XI

                         Qualifications

        1101. Each of the parties hereto warrants and agrees
   that it is under no disability of any kind whether arising out
   of the provisions of its Articles of Incorporation, Constitu-
   tion, By-Laws, or otherwise, that will prevent it from fully
   and completely carrying out and performing each and all of
   the terms and conditions of this Agreement and, further, that
   it will not, by the adoption or amendment of any provisions
   of its Articles of Incorporation, Constitution, or By-Laws,
   or by contract or by any means whatsoever, take any action
   that will prevent or impede it in the full and complete perfor-
   mance of each and every term and condition hereof. The war-
   ranties and agreements contained in this Paragraph are made
   by each of the signatories hereto on his own behalf and on be-
   half of each organization for which it is acting hereunder. The
   individuals signing this Agreement in their official capacity
   and the signatories hereto hereby guarantee and warrant their
   authority to act for and bind the respective parties or organi-
   zations and each of their eligible members and the Union on
   whose behalf the said parties are signing the said Agreement.

       1102. Nothing contained in any other Agreement will
   change the conditions as set forth in this Agreement pertain-

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    ing to use of equipment or the working rules and classifi-
    cations of employees when said equipment is owned by the
    Contractor and operated or used on any job on which he is the
    prime or subcontractor. Nothing contained in this Agreement
    shall relieve any Contractor or subcontractor from his con-
    tractual obligations under such other agreements.

         1103. No agent or representative of either party has
    authority to make, and none of the parties shall be bound by
    nor liable for, any statement, representation, promise, induce-
    ment or agreement not set forth herein. Any provision in the
    working rules of the Union with reference to the relations
    between the Contractors and their employees, in conflict with
    the terms of this Agreement shall be deemed to be waived
    and any such rules or regulations which may hereafter be
    adopted by the Union shall have no application to the work
    covered herein.

        1104. A party to this Agreement shall not cancel this
    Agreement because of a claimed breach thereof or file any
    claim for damages because of a claimed breach of this Agree-
    ment, without giving notice in writing to the other party and
    allowing ten (10) days thereafter to such other party for re-
    dress or correction. Nothing contained in this Section shall be
    deemed to limit the right of the Union under Article IV of this
    Agreement.

                          ARTICLE XII

             Existing and Other Agreements

         1201. In the event the Southwest Regional Council of
    Carpenters establishes Area Agreements, which include spe-
    cial conditions for work covered by the Agreement in either
    a designated geographical or market area, those special con-
    ditions shall be made available to the Employer or Individual
    Employer who wishes to perform the designated work in the
    same locality as provided for in that Area Agreement. The
    provisions of this paragraph will not apply to Special Proj-
    ect Agreements which may be negotiated in any area of this
    Agreement.

         1201.1 The Southwest Regional Council of Carpenters
    will promptly notify the Contractor Association, in writing,
    of any Area Agreements which are negotiated in any area
    covered by this Agreement.

         1202. It is understood by the Contractors and the
    Union that there may be other Agreements pertaining to the
    rental and use of construction equipment and that the Con-

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   tractors signatory to this Agreement may also be signatory to
   agreements between other organizations with the Union.

       1203. This Agreement shall be deemed to be executed
   when the parties signing shall have affixed their signatures
   hereto. Before accepting as an affiliate or issuing a charter to
   a Local Union in the area herein defined, the Union shall re-
   quire as a condition of such affiliation that said Local Union
   be bound by the terms hereof.

        1204.    Project Agreements:

          The Union shall sign project agreements with
   		
   MBE’s and WBE’s when required by bid specifications or
   government regulations.

                          ARTICLE XIII

                  General Savings Clause

        1301. It is not the intent of either the Contractors or
   the Union to violate any laws, ruling, or regulations of any
   governmental authority or agency having jurisdiction of the
   subject matter of this Agreement, and the Contractor and the
   Union agree that, in the event any provision of this Agreement
   is finally held or determined to be illegal or void, as being
   in contravention of any such laws, rulings or regulations, the
   remainder of the Agreement shall remain in full force and ef-
   fect, unless the part so found to be void is wholly inseparable
   from the remaining portion of this Agreement. The Contrac-
   tors and the Union agree that if and when any provision of this
   Agreement is held or determined to be illegal or void, they
   will then promptly enter into lawful negotiations concerning
   the substance thereof. In the event the parties are unable to
   reach agreement within sixty (60) days following the begin-
   ning of such negotiations, the parties agree to submit the is-
   sue to final and binding arbitration. Selection of an arbitrator
   shall be made in the manner prescribed in Article VI of this
   Agreement. The arbitrator shall render a decision only on the
   specific issue submitted to him, and shall have no authority to
   change or abrogate other conditions of this Agreement. Any
   fees and/or expenses of the arbitrator shall be borne by and di-
   vided equally by the Union and the Contractors. The decision
   of the arbitrator shall be final and binding on the parties. The
   no-strike, no-lockout provisions of Article IV shall not apply if
   either party fails to comply with the decision of the arbitrator.




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                          ARTICLE XIV

             Term, Termination and Renewal

         1401. This Agreement shall be effective as of the first
    day of July, 2016, and remain in effect until June 30, 2022,
    and shall continue from year to year thereafter, unless either
    of the collective bargaining representatives shall give written
    notice to the other of a desire to change, amend, modify or
    terminate the Agreement at least sixty (60) days prior to the
    June 30, 2022, or June 30th of any subsequent year. In the
    event no agreement is reached by June 15, the Association or
    the Union may, on or after June 15, give a written notice of
    intention to terminate the Agreement. Regardless of giving
    of such notice to terminate, the parties shall continue to ne-
    gotiate until an agreement is reached or until either party has
    given a fifteen (15) day written notice of final termination of
    the Agreement. The written notice of final termination shall
    provide that the Agreement shall be terminated on the date
    specified in such notice provided, however, the Agreement
    shall not terminate prior to June 30, 2022 or June 30th of any
    subsequent year.

         1402. Any construction work which any Contractor
    has started or become obligated to perform by any valid writ-
    ten contract or bona fide and irrevocable commitment prior
    to June 30, 2022, or the expiration of any subsequent year,
    which contract has been registered by the Contractor with
    the Union and the Association prior to June 30, 2022, or the
    expiration date of any subsequent year, shall continue under
    the terms of this Agreement to September 1, 2022 by mutual
    agreement between the Association and the Union. The pro-
    visions of this section shall not apply after the Agreement is
    terminated under the provisions of this Article. However, the
    provisions of this paragraph may be altered by mutual agree-
    ment of the parties.

                           ARTICLE XV

             Equal Employment Opportunity

         1501. The Employer and the Union will not discrimi-
    nate against any person with regard to employment or Union
    membership because of his race, religion, color, sex, age, na-
    tional origin, or ancestry and hereby declare their acceptance
    and support of existing laws. This shall apply to hiring, place-
    ment and training during employment, rates of pay or other
    forms of compensation, layoff or termination and application
    for admission to Union membership.


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        1502. In the event the Union is unable to refer appli-
   cants for employment to an Employer in sufficient number or




                                       
   sufficient type, from the minority groups represented within
   the local area as may be necessary to enable the Employer to
   fully comply with minority hiring requirements imposed by
   his construction contract with any Federal, State or govern-
   mental body, commission or agency, or to enable the Employ-
   er to fully comply with all Federal and State Laws, Presiden-
   tial Executive Order, regulations, rules , directives or orders
   which cover minority hiring and which are applicable to the
   Employer, then in any such event the Employer shall be free
   to directly recruit from any source such number of minority
   applicants acceptable to the Employer as may be necessary to
   satisfy the Employer’s needs to effect such compliance.

        1503. It is understood, the Employer shall submit to
   the Union, in writing, any such request for minority appli-
   cants for employment, together with a copy of the order, di-
   rective, rules or regulations pursuant to any such Presidential
   Executive Order, Federal, State or local law; the construction
   project number and a copy of the compliance order.

                            ARTICLE XVI

                           Working Rules

       1601. The following working rules shall govern the
   employment of employees performing any work under the
   terms of this Agreement.

       1602.         Single Shifts

       1602.1 Eight (8) consecutive hours, exclusive of meal
   period, between 5:00 a.m. and 5:00 p.m., shall constitute a
   days work. Forty (40) hours, Monday 5:00 a.m. through Fri-
   day 5:00 p.m., shall constitute a weeks work.

        1602.2 The starting time of single shifts shall be at 5:00
   a.m., 5:30 a.m., 6:00 a.m., 6:30 a.m., 7:00 a.m., 7:30 a.m., or
   8:00 a.m., Monday through Sunday, except as provided in
   Section 1602.4. Starting time shall be changed only to meet
   a bona fide job requirement. Starting times may be staggered
                                            
                                                       
   to meet job requirements, however, no employee will be re-
   quired to report at a later time as a means to avoid paying for
   a full shift. Twenty-four (24) hours prior written notice shall
   be given to the Union in cases of deviation from the original
   starting time. In the event the Union is not notified in writing,
                  
   employees shall be paid overtime at the appropriate overtime
   rate for all time outside the regular constituted shift.


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         1602.3 All time worked before 5:00 a.m. and after 5:00
    p.m., or all time worked in excess of eight (8) consecutive
    hours, exclusive of meal period, and all work performed or
    hours paid on Saturdays (except as provided in paragraph
    1608.3), Sundays and holidays, shall be paid at the appropri-
    ate overtime rate (see Paragraph 1805), except as provided
    in Section 1602.4 hereof. If an employee resumes work on
    a new shift or a new starting time within twelve hours (12)
    of the end of the prior shift, such work shall be paid at the
    appropriate overtime rate.

         1602.4 The Contractor, at his option, may start at, 5:00,
    5:30, 6:00 or 6:30 a.m. by notifying the Union, in writing,
    twenty-four (24) hours in advance of starting such shift. In
    order to qualify for this paragraph, such shift must operate for
    five (5) days or more.

         1602.5 An individual Employer may establish a work-
    week of four (4) consecutive days of ten (10) consecutive
    hours. Prior to instituting a 4 x 10 shift the Contractor shall
    give twenty-four (24) hours notice to the Regional Council.
    Applicable overtime rate shall be paid for all work before a
    shift begins, after ten (10) hours and on Fridays, Saturdays,
    Sundays and holidays. In the event two (2) shifts are em-
    ployed, the first shift shall work (exclusive of meal period)
    ten (10) consecutive hours which ten (10) hours shall be paid;
    the second shift shall be ten (10) consecutive hours of work,
    exclusive of meal period, and shall constitute a shifts work
    for which ten (10) hours shall be paid. Provided, further, all
    shifts are worked the same four (4) consecutive days during
    a 4 x 10 workweek, except as may be changed by mutual
    agreement. In the event that work cannot be performed Mon-
    day through Thursday (4 x 10 hour workweek) because of
    inclement weather, major mechanical breakdown or lack of
    materials beyond the control of the Employer, Employees (at
    their option) may make-up such lost work day(s) on Friday
    and/or Saturday, and shall be paid at the applicable straight
    time rate.

        1603.     Multiple Shifts

         1603.1 When so elected by the Contractor, multiple
    shifts may be worked for three (3) or more consecutive days,
    provided that the Union is notified in writing twenty-four (24)
    hours in advance of the effective date of the starting of such
    multiple shift operations, provided, however, that employees
    working on multiple shifts shall not be interchangeable with
    those working on a single-shift basis. All employees on multi-
    ple or single shifts commencing work prior to the established

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   starting time, shall be paid at the appropriate overtime rate. In
   no event shall the regular hours of different shifts overlap, nor
   shall any interval between shifts exceed the reasonable time
   necessary to change shifts, and in no event shall such interval
   exceed one (1) hour, except when a special shift is established
   in accordance with Paragraph 1605, Special Shifts.

      1603.2 It is understood that a single and multiple shift
   may work concurrently on a project.

       1603.3 When two (2) or three (3) shifts are worked,
   each shift shall work eight (8) consecutive hours, exclusive
   of meal period, for which eight (8) hours straight time shall be
   paid Monday through Friday. All time worked or hours paid
   for on Saturday (except as provided in paragraph 1608.3),
   Sunday and holidays shall be paid for at the appropriate over-
   time rate. (see Paragraph 1805).

       1603.4 Any time worked from Friday midnight to Sun-
   day midnight, or on holidays or in excess of the regular shift
   hours or hours paid for shall be paid for at the appropriate
   overtime rate, except as provided in Paragraphs 1603.5 and
   1608.3 of this Agreement.

       1603.5 The Friday graveyard shift ending on Satur-
   day morning will be considered Friday work. The Saturday
   graveyard shift ending Sunday morning will be considered
   Saturday work. The Sunday graveyard shift ending on Mon-
   day morning will be considered Sunday work.

        1604. It is agreed that the Contractor and the Union
   may mutually agree, in writing upon different starting or
   quitting times for any of the above shift arrangements.

       1605.     Special Shifts

        1605.1 When the Contractor produces evidence in
   writing to the Union twenty-four (24) hours in advance of a
   bona fide job requirement that work can only be performed
   outside, or in addition to, the regular day shift due to safe-
   ty conditions or other requirements an employee shall work
   eight (8) consecutive hours, exclusive of meal period, for
   which he shall receive eight (8) hours pay at the straight-time
   rate of pay, Monday through Friday. All time worked or hours
   paid for Saturday (except as provided in paragraph 1608.3),
   Sunday and holidays shall be paid for at the appropriate over-
   time rate. In addition, when the above conditions exist and it
   is necessary to begin or end a shift during the hours specified
   in Paragraph 1603.5 of this Article, but no later than 10:00
   p.m. for Sunday work in order for an employee to complete a

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    forty (40) hour work week, the overtime rate will not apply;
    otherwise, all time worked or hours paid for Saturdays (ex-
    cept as provided in paragraph 1608.3), Sundays and holidays
    and hours worked in excess of eight (8) hours shall be paid
    for at the appropriate overtime rate. It is agreed, however,
    in the operation of this shift, no employee will lose a shifts
    work. Employees working this special Sunday shift shall re-
    ceive fifty cents ($0.50) per hour in addition to their regular
    rate of pay.

         1605.2 If the maintenance or remodeling work cannot
    be performed on the regular shift because of the fact that es-
    tablishments cannot suspend operations during the day, a spe-
    cial single shift may be employed starting at a time designat-
    ed by the operations of the establishment, Monday through
    Friday, and employees on this shift will work eight (8) con-
    secutive hours exclusive of the meal period, for which they
    will receive eight (8) hours pay at the straight time rate.

         1606.    Tide Work Schedule

             The following provisions shall apply to employees
    		
    on jobs working a single shift only:

         1606.1 When employees are called out to work broken
    time or tide work, Monday through Friday, the minimum pay
    for such work shall be eight (8) hours at the applicable regu-
    lar straight time rate. Subject to the above minimum, in com-
    puting the time to be paid for under this provision, eight (8)
    hours or less work between 7:00 a.m. and 5:00 p.m. shall be
    paid for at the applicable straight time rate, and time in excess
    of eight (8) hours worked between 7:00 a.m. and 5:00 p.m.
    and any time worked before 7:00 a.m. or after 5:00 p.m. shall
    be paid for at the applicable overtime rate.

        1606.2 When employees are called out to work bro-
    ken time or tide work on Saturdays, Sundays or holidays, the
    minimum pay for such work shall be eight (8) hours at the
    applicable overtime rate.

         1607     Emergencies

             When it is mutually agreed that an emergency exists,
    		
    such as earthquakes, floods or fire, starting time for the shift
    may be made to fit the emergency and eight (8) hours in any
    twenty-four (24) hour period may be worked at straight time.
    All other terms and conditions of this Agreement shall apply.

         1608.    Show Up Pay

             Any workman or employee reporting for work at the
    		
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   regular starting time and for whom no work is provided, shall
   receive pay for two (2) hours at the stipulated rate for so re-
   porting, unless he has been notified before the end of his last
   preceding shift not to report; and any workman or employee
   who reports for work and for whom work is provided shall
   receive not less than four (4) hours pay at the straight time
   hourly rate and if more than four (4) hours are worked in any
   one (1) day, but less than six (6) hours, he shall receive not
   less than six (6) hours pay at the straight time hourly rate and
   if an employee works more than six (6) hours but less than
   eight (8) hours, he shall receive not less than eight (8) hours
   pay at the straight time hourly rate, unless prevented from
   working for reasons beyond the control of the Contractor, in-
   cluding, but not limited by, such factors as inclement weath-
   er, a breakdown causing discontinuance of a major unit of the
   project during which time workmen or employees are not re-
   quired or requested to remain on the project by the Contractor
   or his agent. Workmen, or employees referred under Article
   II, to the Employers jobs who arrived in an unfit condition for
   work without proper tools, credentials, or who are not ready
   to go to work or who are not otherwise qualified shall not be
   paid show up time or subsistence. The employee shall furnish
   the Employer with his current address and telephone number,
   if any. The Employer shall furnish the employee with the Em-
   ployers current address and telephone number at the time of
   employment. Carpenters who voluntarily quit shall receive
   pay only for hours worked.

        1608.1 All pay for work performed shall be reckoned
   by the day and one-half day.

        1608.2 When it is necessary to shut down a job or proj-
   ect because of a bomb threat, employees will be compensated
   as follows:

        1608.2.1 If such an event occurs before the regular start-
   ing time, all workmen or employees who have not been no-
   tified not to appear for work and who show up at the jobsite
   shall receive two (2) hours pay and subsistence at the appli-
   cable rate.

        1608.2.2 In order to qualify for this two (2) hours pay
   (and subsistence if applicable) the employee and/or workman
   must remain on the job available for work during the two
   (2) hour period of time for which he receives his pay unless
   released sooner by the Employer or his representative. Time
   spent in a holding area as directed by the Contractor shall be
   considered as time worked and paid accordingly.



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         1608.3 Saturday Makeup Day

             When an employee has been prevented from work-
    		
    ing for reasons beyond the control of the Employer, such
    as inclement weather, during the regularly scheduled work
    week, upon prior approval of the Regional Council, a makeup
    shift (whole day only) may be worked on Saturday for which
    the employee shall receive eight (8) hours pay at the straight
    time rate of pay. Work under this provision shall be voluntary
    on the part of the employee.

        1609. Any employee working on Saturdays (except as
    provided in section 1608.3), Sundays or holidays shall be guar-
    anteed four (4) hours pay at the appropriate overtime rate and,
    if more than four (4) hours are worked, the employee shall be
    paid for actual hours worked at the appropriate overtime rate.

         1610. Employees shall travel to and from their work
    on their own time and by means of their own transportation.

         1611.    Subsistence

         1611.1. Room and board shall be provided on projects
    on the following offshore islands: Richardson Rock, Santa
    Cruz Island, Arch Rock, San Nicholas Island, Santa Catalina
    Island, San Miguel Island, Santa Barbara Island, San Clem-
    ente Island, Santa Rosa Island, Anacapa Island (Channel Is-
    lands Monument).

         1611.2. Employees reporting at the embarkation point
    for travel to the above named islands shall be paid travel time
    from the mainland to the islands and return at the straight
    time rate and in no event shall the travel time be less than
    one (1) hour regardless of mode of travel. Travel time shall
    start and end at the point of embarkation at the time and place
    designated by the Contractor.

         1611.3. The Contractor shall provide employees with
    acceptable room when employees are required by the Em-
    ployer to remain in the area of the project, in compliance with
    California State Laws. The maximum reimbursable room
    cost will be forty-five dollars ($45.00) per night. Room re-
    ceipts are required for reimbursement.

         1612. All employees shall be notified ten (10) minutes
    in advance of termination and they shall be allowed the bal-
    ance of the shift or half shift off to gather tools and personal
    belongings and shall be paid to the end of the shift or half
    shift.

         1613.    When the Union and the Contractors consider

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   and agree that conditions in the industry in the area covered
   by this Agreement warrant a shortened workday or work-
   week, the parties shall jointly give adequate consideration
   and discussion of such changes; provided, however, that any
   such changes in the workday or workweek shall not be used
   to encourage the payment of overtime to a greater extent than
   that which is being paid at the time a change is made in the
   workday and workweek.

        1614. The Contractor shall be responsible for the up-
   keep and sharpening of saws during the course of employ-
   ment on the job by providing either saw-sharpening time or
   saw-sharpening service. It is understood that Carpenters at
   the beginning of employment shall have sharp saws.

        1615. Carpenters, apprentices and pre-apprentices
   shall furnish their own tools, but shall not furnish, rent or
   lease saw horses, ladders, miter boxes, electric drills, auto-
   motive equipment to be used for the purpose of hauling or
   delivering individual Employers material or equipment, or
   any kind of power, cordless, or battery operated machines
   or saws. Each employee shall arrive on the job with tools in
   proper conditions. To implement this Section, the individual
   Carpenter shall provide a tool box with a lock.

        1615.1 The individual Employer shall provide a secure
   place on each jobsite where his employees may keep their
   tools. If all or any part of the employees tools are lost by
   reason of failure of the individual Employer to provide such
   a secure place, or by fire, flood, or theft involving unlawful
   entry while in the secure place designated by the individu-
   al Employer, the individual Employer shall reimburse such
   employee for any such loss. The employee suffering said
   loss shall report the loss during his next working day and
   the Contractor shall acknowledge liability or reject the claim
   within two (2) working days after report of the loss or claim.
   Disputes arising from this Section shall be submitted to the
   grievance procedure as outlined in Article VI of this Agree-
   ment, if applicable.

        1615.2 To obtain the benefits of Paragraph 1615.1, an
   employee must provide the individual Employer with a list of
   his tools at the time he commences work.

        1616. A corporate officer, partner (up to two (2) part-
   ners) or corporate officers of a Contractor firm may be ex-
   empted from the provisions of this paragraph upon fulfillment
   of the Contractor of requirements and procedures established
   for that purpose by the Trustees of the Trusts named below
   in this paragraph), RME or RMO (if not otherwise exempt

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    as a partner) performing work under the terms of this Agree-
    ment shall be considered an employee. Any exempted person
    working with the tools of the trade shall be covered by the
    provisions of the Union Security Clause. Contributions on
    non-exempt employees shall be reported at a uniform rate of
    173 hours per month to the Southwest Carpenters Health &
    Welfare Trust and the Southwest Carpenters Pension Trust
    the sums designated in Attachment 1 to this Agreement. All
    non-exempted persons receiving benefits under this provi-
    sion shall be covered by the provisions of the Union Security
    Clause. The Trustees of the above mentioned Trusts will be
    instructed to accept such contributions

         1617. Efficiency - It is agreed that the Carpenters,
    through their Business Agents, shall use their efforts to encour-
    age greater efficiency on the job. The employees and the Union
    shall use their effort to encourage greater efficiency compatible
    with sound construction safety practices on the job.

         1618. The Contractor will furnish for the use of his
    employees any necessary waterproof or foul weather gear,
    safety helmets, or any other necessary protective clothing as
    required by CAL-OSHA or the Contractor. Employees may
    be held momentarily responsible for such items properly
    checked out to them with the understanding that such items
    broken, worn out in normal use, or lost in a manner beyond
    the control of the employee are excluded.

         1619. A Contractor may offer modified or alternative
    work to employees that have been injured on the job and can
    no longer perform their usual and customary work. Such
    work opportunities will comply with the terms of California
    Labor Code. The Union will review and approve the modi-
    fied or alternative work prior to it being offered to the injured
    employee.

                          ARTICLE XVII

             Carpenter Joint Apprenticeship
                 and Training Committee
              Southwest Carpenters Training Fund

        1701. The Contractors and the Union recognize the
    need for apprentice training and to this end shall indenture
    apprentices in full conformity with Section 1777.5 of the La-
    bor Code of the State of California governing employment of
    apprentices upon public work.

        1701.1 The ratio of apprentices to journeymen shall be


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   one (1) apprentice for the first two (2) journeymen after the
   foreman and an additional apprentice for every three (3) jour-
   neymen thereafter.

        1701.1.1 Pre-Apprentice: There is established a classifica-
   tion of pre-apprentice.

        1701.1.2 Hiring of pre-apprentices is the prerogative of
   the Employer. The Employer assumes responsibility for re-
   cruiting the pre-apprentice and/or may draw upon any existing
   pool maintained by the Local Unions. Hiring of pre-apprentic-
   es will be regulated by the current Hiring Hall procedures set
   forth in Article II.

        1701.1.3 The Employer may employ one pre-apprentice
   for every two (2) apprentices employed.

        1701.1.4 If an apprentice is not available when requested
   by the Employer, a pre-apprentice may be used instead.

       1701.1.5 Pre-apprentices shall, within eight (8) days of
   employment, in conformance with the provisions of Paragraph
   206, become and remain members in good standing of the
   Union as a condition of continued employment.

        1701.1.6 Pre-apprentices shall work under the supervi-
   sion of the Carpenter Foreman and the work they perform will
   be incidental to the work normally performed by journeymen
   or Carpenter apprentices.

       1701.1.7 Pre-apprentices shall, upon accumulation of 500
   hours of On the Job Training become an apprentice.

        1701.1.8 The Employer shall notify the Apprenticeship
   office no later than the tenth day of each month, the number of
   hours worked by the pre-apprentice in the previous month.

        1701.2 The parties agree that the Carpenter Joint Ap-
   prenticeship and Training Committee will establish training
   programs for the upgrading of journeymen. The Committee is
   further directed to establish any trainee program as required.

        1701.3 Daytime Training: At the discretion of the
   Local Apprenticeship Committee a daytime apprentice training
   program may be developed. Said program will be designed so
   as to take advantage of the apprentices time during unemployed
   periods and to keep disturbances of job site crews to a minimum.

       1702. Contractors agree to be bound by this Trust
   Agreement and shall contribute the sum designated in Attach-
   ment 1 into the Southwest Carpenters Training Fund. The au-

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    dit procedures of Paragraphs 2002, 2003, 2004, and 2005 are
    incorporated in this paragraph by reference.

         1703. The Contractors shall appoint members to the
    Carpenter Joint Apprenticeship Committee and participate in
    their activities.

         1704. Affirmative Training - The Employer will make
    an effort to keep apprentices and trainees reasonably employed
    regardless of period status or advancement to a higher period
    of pay.

         1705. In order to provide optimum training the
    Regional Council and/or Local Union shall encourage the
    apprentice and trainee to solicit their own work, in addition to
    the hiring hall procedures.

         1706. Pre-Hire Training. The Carpenter Joint Appren-
    ticeship Training Committee shall implement a two (2) day
    pre-hire apprentice training evaluation program that shall be
    mandatory for new apprentices to complete before commenc-
    ing work for a Employer. The program shall include safety and
    tool recognition training, as well as, drug testing performed by
    the Carpenter Joint Apprenticeship Training Committee.



                         ARTICLE XVIII

             Wage Scales for United Brotherhood
            of Carpenters and Joiners of America

         1801. Effective July 1, 2016, all foremen not herein
    separately classified shall be paid not less than $3.00 per hour
    more than the hourly rate of the highest Carpenters classifica-
    tion listed below over which they have responsibility, exclud-
    ing the classification Pneumatic Nailer or Power Stapler.

    The following Hourly Wage Rates shall apply:
                                              All Other   Kern/Inyo
    					
                                                     		
                                              Counties Mono Counties
                                                 7/1/16      7/1/16
    					
                                                     		
    					
                                                     		
    Carpenters, Cabinet Installer,
    Insulation Installer, Floor Worker
    and Acoustical Installer                   $40.40       $39.83
    Bridge Carpenter                            40.53        40.53
    Shingler (commercial work)                  40.53        39.97
    Saw Filer                                   40.49        39.83
    Table Power Saw Operator                    40.50        40.93
    Pneumatic Nailer or Power Stapler           40.65        40.09

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  Commercial Fence Builder                        36.34       36.34
  Residential Fence Builder                       29.75       29.75
  Roof Loader of Shingles (commercial)            28.37       27.98
  Scaffold Builder                                31.60       31.60
  Millwright                                      40.90       40.90
             		
  Pile Driver/Derrick Bargemen,
    Bridge or Dock Carpenter,
    Cable Splicer and Heavy Framer               40.53        40.53
  Pile Driver Foreman                            43.53        43.53
  Pile Driver (Cert. Welder)                     41.53        41.53
  Head Rockslinger                               40.63        40.63
  Rock Bargeman or Scowman                       40.43        40.43
  Rockslinger                                    40.53        40.53
                  		
  Diver, Wet (day rate)                         712.48       712.48
  Diver, Stand-by (day rate)                    356.24       356.24
  Tender (day rate)                             348.24       348.24
  Assistant Tender, Diver’s (day rate)          324.24       324.24


  Negotiated Increases:

      July 1, 2017            $2.00 to be allocated by the Union.
      July 1, 2018            $2.20 to be allocated by the Union.
      July 1, 2019            $2.30 to be allocated by the Union.
      July 1, 2020            $2.00 to be allocated by the Union.
      July 1, 2021            $2.00 to be allocated by the Union.

       The Union shall have the right to allocate future increases
  to wages and/or benefits. In addition, the Union shall have the
  right upon thirty (30) days notice to reallocate funds between
  wages and/or benefit contributions provided no reallocation of
  benefit contributions shall be made which would endanger the
  health of any of the benefit funds.

      1802. Carpenter Pre-Apprentices and Apprentices cov-
  ered by the terms of this Agreement shall be paid the following
  percentages of the appropriate Journeyman Carpenters hourly
  wage rate:

    PERIOD             HOURS PERCENTAGE WAGE BENEFIT
                                              CODE *
   Pre-
   Apprentice           500         35%         14.14      (1)
   1st Period          1000         40%         16.16      (1)
   2nd Period          600          50%         20.20      (1)

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     3rd Period       600         60%          24.24       (2)
     4th Period       600          65%         26.26       (3)
     5th Period       600          70%         28.28       (3)
     6th Period       600          75%         30.30       (3)
     7th Period       600          80%         32.32       (3)
     8th Period       600         90%          36.36       (3)
     Journeyman                   100%         40.40       (3)
    * Contribution Schedule

         (1) Health and Welfare, Vacation/Supplemental Dues
    ($3.95), Apprenticeship, Contract Administration, Coopera-
    tion Committee, Industry Fund and Grievance Fund.

         (2) Health and Welfare, Vacation/Supplemental Dues
    ($4.95), Apprenticeship, Contract Administration, Coopera-
    tion Committee, Industry Fund and Grievance Fund.

         (3) Pension, Health and Welfare, Vacation/Supplemen-
    tal Dues ($4.95), Apprenticeship, Contract Administration,
    Cooperation Committee, Industry Fund and Grievance Fund.

        * Pre-apprentice and 1st and 2nd Period Apprentices
    receive a three dollar and ninety-five cents ($3.95) vacation/
    supplemental dues contribution.

        Pay Period Advancement for Apprentices:

        NOTE:       Each advancement will be based on hours
                    worked On-the-Job as per schedule.

    There is created a classification of Craft Assistant for private
    work only. This classification will be implemented as of
                 
    July 1, 2017. The Craft Assistant will receive a wage rate of
    **$15.00 per hour and the following fringe benefits:

    Health & Welfare                               $6.85

    Vacation/Supplemental Dues                      2.95
                                  		
    ** Craft Assistant wages are locked in for the duration of this
    Agreement with only maintenance of benefit increases.

        Craft Assistants may perform any non craft work,
    including general clean up, cleaning of forms and other
    non craft work in support of Journeyman and Apprentice
    Carpenters.

    1802.1 Millwright Apprentices covered by the terms of this
    Agreement shall be paid the following percentages of the
    appropriate Journeyman Millwrights hourly wage rate:

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     PERIOD       HOURS PERCENTAGE WAGES BENEFIT
                                          CODE
   Pre-
   Apprentice       500          40%          16.36       (1)
   1st Period       650          50%          20.45       (1)
   2nd Period       650          55%          22.50       (1)
   3rd Period       650          60%          24.54       (2)
   4th Period       650          65%          26.59       (3)
   5th Period       650          70%          28.63       (3)
   6th Period       650          75%          30.68       (3)
   7th Period       650          80%          32.72       (3)
   8th Period       650          85%          34.77       (3)
   9th Period       650          90%          36.81       (3)
   10th Period      650          95%          38.86       (3)
   Journeyman                   100%          40.90       (3)
   Foreman                                    43.90       (3)
   General
   Foreman                                    46.90       (3)
   * Contribution Schedule

        (1) Health and Welfare, Vacation/Supplemental Dues
   ($3.95), Apprenticeship, Contract Administration, Coopera-
   tion Committee, Industry Fund and Grievance Fund.

        (2) Health and Welfare, Vacation/Supplemental Dues
   ($4.95), Apprenticeship, Contract Administration, Coopera-
   tion Committee, Industry Fund and Grievance Fund.

        (3) Pension, Health and Welfare, Vacation/Supplemen-
   tal Dues ($4.95), Apprenticeship, Contract Administration,
   Cooperation Committee, Industry Fund and Grievance Fund.

       * Pre-apprentice and 1st and 2nd Period Apprentices
   receive a three dollar and ninety-five cents ($3.95) vacation/
   supplemental dues contribution.

       Pay Period Advancement: Advancement will be based
   on hours worked On-the-Job as per schedule.

        1802.2 Shingler Apprentices covered by the terms of
   this Agreement shall be paid the following percentages of the
   appropriate Journeyman Shinglers hourly wage rate:

     PERIOD      HOURS PERCENTAGE WAGE BENEFIT
                                        CODE
   1st Period     1000     40%    16.21  (1)
   2nd Period     600      50%    20.27  (2)
   3rd Period     600      60%    24.32  (2)
   4th Period     600      65%    26.34  (3)
   5th Period     600      70%    28.37  (3)
   6th Period     600      75%    30.40  (3)
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     7th Period     600          80%         32.42      (3)
     8th Period     600          90%         36.48      (3)
     Journeyman                 100%         40.53      (3)
    * Contribution Schedule

         (1) Health and Welfare, Vacation/Supplemental Dues
    ($3.95), Apprenticeship, Contract Administration, Coopera-
    tion Committee, Industry Fund and Grievance Fund.

         (2) Health and Welfare, Vacation/Supplemental Dues
    ($4.95), Apprenticeship, Contract Administration, Coopera-
    tion Committee, Industry Fund and Grievance Fund.

         (3) Pension, Health and Welfare, Vacation/Supplemen-
    tal Dues ($4.95), Apprenticeship, Contract Administration,
    Cooperation Committee, Industry Fund and Grievance Fund.

        * Pre-apprentice and 1st and 2nd Period Apprentices re-
    ceive a three dollar and ninety-five cents ($3.95) vacation/
             
    supplemental dues contribution.

        Pay Period Advancement: Advancement will be based
    on hours worked on-the-job as per schedule.

         1802.3 Floorworker Apprentices covered by the terms
    of this Agreement shall be paid the following percentages of
    the appropriate Journeyman Floorworker’s hourly wage rate:

      PERIOD      HOURS PERCENTAGE WAGE BENEFIT
                                         CODE
     Pre-
     Apprentice     500         35%          14.14       (1)
     1st Period    1000         40%          16.16       (1)
     2nd Period     600         50%          20.20       (1)
     3rd Period     600         60%          24.24       (2)
     4th Period     600         65%          26.26       (3)
     5th Period     600         70%          28.28       (3)
     6th Period     600         75%          30.30       (3)
     7th Period     600         80%          32.32       (3)
     8th Period     600         90%          36.36       (3)
     Journeyman                 100%         40.40       (3)
    * Contribution Schedule
         (1) Health and Welfare, Vacation/Supplemental Dues
    ($3.95), Apprenticeship, Contract Administration, Coopera-
    tion Committee, Industry Fund and Grievance Fund.
         (2) Health and Welfare, Vacation/Supplemental Dues
    ($4.95), Apprenticeship, Contract Administration, Coopera-
    tion Committee, Industry Fund and Grievance Fund.

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        (3) Pension, Health and Welfare, Vacation/Supplemen-
   tal Dues ($4.95), Apprenticeship, Contract Administration,
   Cooperation Committee, Industry Fund and Grievance Fund.
       * Pre-apprentice and 1st and 2nd Period Apprentices re-
   ceive a three dollar and ninety-five cents ($3.95) vacation/
   supplemental dues contribution.
       Pay Period Advancement: Advancement will be based
   on hours worked on-the-job as per schedule.
        1802.4 Piledriver Apprentices covered by the terms of
   this Agreement shall be paid the following percentages of
   the appropriate Journeyman Pile Drivers hourly wage rate:
                                                     BENEFIT
      PERIOD HOURS PERCENTAGE WAGE                     CODE
     1st Period    1000        40%          16.21       (1)
     2nd Period     600        50%          20.27       (1)
     3rd Period     600        60%          24.32       (2)
     4th Period     600        65%          26.34       (3)
     5th Period     600        70%          28.37       (3)
     6th Period     600        75%          30.40       (3)
     7th Period     600        80%          32.42       (3)
     8th Period     600        90%          36.48       (3)
    Journeyman                 100%         40.53       (3)
   * Contribution Schedule

        (1) Health and Welfare, Vacation/Supplemental Dues
   ($3.95), Apprenticeship, Contract Administration, Coopera-
   tion Committee, Industry Fund and Grievance Fund.

        (2) Health and Welfare, Vacation/Supplemental Dues
   ($4.95), Apprenticeship, Contract Administration, Coopera-
   tion Committee, Industry Fund and Grievance Fund.

        (3) Pension, Health and Welfare, Vacation/Supplemen-
   tal Dues ($4.95), Apprenticeship, Contract Administration,
   Cooperation Committee, Industry Fund and Grievance Fund.

       *Pre-apprentice and 1st and 2nd Period Apprentices re-
   ceive a three dollar and ninety-five cents ($3.95) vacation/
   supplemental dues contribution.

       1802.5 Bridge Carpenter Apprentices covered by the
   terms of this Agreement shall be paid the following percent-
   ages of the appropriate Journeyman Bridge Carpenters hour-
   ly wage rate:

     PERIOD      HOURS PERCENTAGE WAGE BENEFIT
                                        CODE
   1st Period     1000     40%    16.21  (1)


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     2nd Period     600           50%         20.27       (1)
     3rd Period     600           60%         24.32       (2)
     4th Period     600           65%         26.34       (3)
     5th Period     600           70%         28.37       (3)
     6th Period     600           75%         30.40       (3)
     7th Period     600           80%         32.42       (3)
     8th Period     600           90%         36.48       (3)
     Journeyman                  100%         40.53       (3)
    * Contribution Schedule
         (1) Health and Welfare, Vacation/Supplemental Dues
    ($3.95), Apprenticeship, Contract Administration, Coopera-
    tion Committee, Industry Fund and Grievance Fund.
         (2) Health and Welfare, Vacation/Supplemental Dues
    ($4.95), Apprenticeship, Contract Administration, Coopera-
    tion Committee, Industry Fund and Grievance Fund.
         (3) Pension, Health and Welfare, Vacation/Supplemen-
    tal Dues ($4.95), Apprenticeship, Contract Administration,
    Cooperation Committee, Industry Fund and Grievance Fund.
        *Pre-apprentice and 1st and 2nd Period Apprentices
    receive a three dollar and ninety-five cents ($3.95) vacation/
    supplemental dues contribution.
        Pay Period Advancement: Advancement will be based
    on hours worked on-the-job as per schedule.

        1802.6 Acoustical Installer apprentices covered by the
    terms of this Agreement shall be paid the following percent-
    ages of the appropriate Journeyman Acoustical Installers
    hourly wage rate:

      PERIOD      HOURS PERCENTAGE WAGE BENEFIT
                                         CODE
     Pre-
     Apprentice      500         35%          14.14        0
     1st Period     1000         40%          16.16       (1)
     2nd Period     1000         50%          20.20       (1)
     3rd Period     1000         60%          24.24       (2)
     4th Period     1000         65%          26.26       (3)
     5th Period     1000         70%          28.28       (3)
     6th Period      700         75%          30.30       (3)
     7th Period     700          80%          32.32       (3)
     8th Period      600         90%          36.36       (3)
     Journeyman                  100%         40.40       (3)
    * Contribution Schedule

       (0) Vacation/Supplemental Dues, Grievance Fund and
    Acoustical Industry Fund.

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        (1) Health and Welfare, Vacation/Supplemental Dues,
   Apprenticeship, Contract Administration, Cooperation Com-
   mittee, Industry Fund, Grievance Fund and Acoustical Indus-
   try Fund.

        (2) Health and Welfare, Vacation/Supplemental Dues
   ($4.95), Apprenticeship, Contract Administration, Coopera-
   tion Committee, Industry Fund, Grievance Fund and Acous-
   tical Industry Fund.

        (3) Pension, Health and Welfare, Vacation/Supplemen-
   tal Dues ($4.95), Apprenticeship, Contract Administration,
   Cooperation Committee, Industry Fund and Grievance Fund.

       *Pre-apprentice receives two dollar and ninety-five cents
   ($2.95) supplemental dues contribution, 1st and 2nd Peri-
   od Apprentices receive a three dollar and ninety-five cents
   ($3.95) vacation/supplemental dues contribution.

       Pay period Advancement: Advancement will be based
   on hours worked on-the-job as per schedule.

        1802.7 Effective July 1, 2018, 1st and 2nd period ap-
   prentices indentured on or after July 1, 2018 shall be desig-
   nated into the Southwest Carpenters’ bronze health and wel-
   fare plan (the current 7/1/17 contribution rate is $3.50/hour,
   and the future hourly contribution rate shall be subject to the
   allocation made by the Union). 1st and 2nd period apprentic-
   es indentured prior to July 1, 2018 shall be grandfathered and
   designated into the Southwest Carpenters’ gold health and
   welfare plan (the current 7/1/17 contribution rate is $7.10/
   hour, and the future hourly contribution rate shall be subject
   to the allocation made by the Union).

        1802.8 Effective July 1, 2018, the Union shall establish
   a graduated pension system for apprentices indentured on or
   after July 1, 2018. 1st, 2nd and 3rd period apprentices shall
                        
   receive no hourly pension contribution; 4th period apprentic-
   es shall receive the pension contribution hourly rate to earn
   a $25 annual credit (the current 7/1/17 contribution rate is
   $1.00/hour, and the future hourly contribution rate shall be
                 
   subject to the allocation made by the Union); 5th and 6th pe-
   riod apprentices shall receive the pension contribution hourly
   rate to earn a $50 annual credit (the current 7/1/17 contribu-
   tion rate is $2.00/hour, and the future hourly contribution rate
   shall be subject to the allocation made by the Union); and 7th
   and 8th period apprentices shall receive the contribution to
   earn a $75 annual credit (the current 7/1/17 contribution rate
   is $3.00/hour, and the future hourly contribution rate shall be
   subject to the allocation made by the Union). 4th, 5th, 6th,

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    7th, and 8th period apprentices indentured prior to July 1,
    2018 shall be grandfathered and designated into the current
    pension contribution schedule (the current 7/1/17 contribu-
    tion rate is $4.91/hour, and the future hourly contribution rate
    shall be subject to the allocation made by the Union.

         1803. Men Working from Bosun Chairs or Swinging
    Scaffolds, or suspended from a rope or cable, shall receive 35
    cents per hour above the applicable Journeyman, Apprentice
    or Trainee rate. All employees working from Bosun Chairs
    shall wear a safety belt provided by the Contractor.

         1804. Bridge Carpenter: All carpenter work in con-
                                                  
    nection with the construction of bridges (except for driving
    of pile) shall be done by the Bridge Carpenter classification.

         1805. Overtime Rates: All overtime Monday through
                                             
    Friday shall be at the rate of one and one-half (1½) the reg-
    ular straight time hourly rate for the first four hours of over-
    time worked and shall be paid at double the straight time
    hourly rate after twelve hours of work. Saturday, unless it is
    a makeup day, shall be at the rate of one and one-half (1½)
    times the straight time rate for the first eight (8) hours of work
    and double (2) the straight time hourly rate after eight hours
    of work. All hours worked on Sundays and Holidays shall be
    paid at double the straight time hourly rate. (See Tide Work
    Schedule for Tide Work.)

         1806. A Carpenter who performs work of forming in
    the construction of open cut sewers or storm drains shall re-
    ceive a premium of thirteen cents ($0.13) per hour in addition
    to his Carpenters scale. This premium shall apply only on an
    operation in which horizontal lagging is used in conjunction
    with Steel H-Beams driven or placed in pre-drilled holes,
    for that portion of a lagged trench against which concrete is
    poured, namely, as a substitute for back forms, which work is
    performed by pile drivers.

         1807. Riggers: The same wage scale shall apply as
                             
    the craft to which rigging is incidental.

         1808. Welders: Certified welders shall receive a one
                                  
    dollar ($1.00) per hour premium when working on welding
    work that requires a certification.

         1809. Foreman: The selection of the individual who
                                       
    will be craft foreman is at the sole discretion of the Contrac-
    tor. When a Contractor employs on his payroll, on a jobsite,
    eight (8) or more Carpenters, the Contractor shall designate
    a Carpenter as craft foreman. It is understood that a craft

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   foreman shall be an employee employed under the terms
   of this Agreement and shall receive the foreman’s differ-
   ential. Such craft foreman may work with the tools of the
   trade in accordance with the provisions of Paragraph 803.
   Only craft foremen who normally work with the tools of
   their trade during straight-time periods may work with the
   tools of their trade during overtime periods. It is understood
   that in certain cases, by reason of custom and practice es-
   tablished by the parties, a craft foreman may direct the work
   and employees of more than one craft. If a dispute arises
   with respect to the application of this understanding, such
   dispute shall be determined according to the procedure set
   forth in Article VI of this Agreement on the basis of such
   custom and practice. Whenever the Employer assigns su-
   pervisory authority to an employee covered by the terms
   of this agreement, the employee will be paid the foreman’s
   rate.

        1810. Except in case of emergency, if any of the em-
   ployees not covered by this Agreement, as set forth in Article
   II of this Agreement (such as superintendents, assistant su-
   perintendents or master mechanics), shall act in the capacity
   of a craft foreman or work with the tools of a craft or trade
   signatory to this Agreement, he shall be a member of the
   Union.

                         ARTICLE XIX

        Pre-Job Conference/Job Registration

        1901. It is agreed there will be a pre-job conference
   prior to the start of any job or project at the option of either
   party where the agreed or estimated cost is one million dol-
   lars ($1,000,000.00) or more for, among other things, deter-
   mining the proper work assignments under the terms of this
   Agreement.

        1902. If the Contractor is a member of the Contractor
   Association, the pre-job conference will be arranged through
   the Association.

        1903. The individual Contractor shall, upon request,
   advise the Union, in writing, of the names and addresses of
   all subcontractors employed or contracted with for services
   to be performed under this Agreement, including but not lim-
   ited to, suppliers of labor under the terms and conditions of
   purchase orders.

       1904. When a pre-job conference is conducted in ac-
   cordance with the provisions of Article XIX, the following

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    information will be furnished:

        1904.1 Name, address, telephone and Contractor li-
    cense number.

        1904.2 Jobsite address.

         1904.3 Starting date of job, and approximate finish
    date.

        1904.4 Type of structure.

        1904.5 Bid award in dollars, if available.

        1904.6 New construction, alteration, or repair work.

        1904.7 Project drawings, project specifications,
    shop or detail prints and or equipment list.

        1904.8 Number of anticipated carpenter employees.

         1904.9 Name and address of workers compensation
    carrier.

        1904.10 Name of qualified safety man on jobsite.

        1904.11 Description of safety program.

        1905      JOB REGISTRATION

         1905.1 Each Contractor shall notify the Union in
    writing, on a uniform job registration form approved by the
    Union and the Association which shall show at a minimum
    the location of each job on which the Contractor will be per-
    forming work covered by this Agreement, as well as known
    subcontractors. Such notice shall be given at least 48 hours
                      
    prior to the commencement of work. On jobs where the
    time factor does not permit registration of jobs prior to their
    commencement, the Contractor shall notify the Union by
    telephone or fax giving all pertinent information regard-
    ing that specific job. Such notification must be confirmed
                            
    in writing on the regular Job Registration Form within 48
    hours thereafter.

          1905.2 In the event an employer takes over the perfor-
    mance of the contract covered by the terms of this Agreement
    from another employer, the successor employer shall notify
    the Contract Administration Committee by certified mail of
    its intent to undertake performance of the contract. Such no-
    tice shall be given prior to commencing work.



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                          ARTICLE XX
                     Health and Welfare

        2001. There has been established a Joint Health and
   Welfare Trust Agreement. Each Contractor covered by this
   Agreement agrees to be bound by this Trust Agreement and
   shall contribute the sum designated in Attachment 1 to the
   Southwest Carpenters Health & Welfare Trust

        2001.1 The Contractor may make voluntary contribu-
   tions on behalf of the craft superintendents or assistant craft
   superintendents, as they are defined in the exclusion clause of
   Article II of this Agreement in the amounts and manner to be
   determined by the Trustees.

        2001.2 Within thirty (30) days of the effective date of
   any National Health Insurance Plan, the Union may, at its
   discretion, distribute monies designated in Attachment 1 to
   (1) Hourly Rates, (2) Vacation, (3) Pension, or any other ex-
   isting Trust Fund under this Agreement.

        2002. In case the auditors for the Board of Trustees
   conduct an audit and determine that a Contractor has violated
   the provisions of this Agreement for hours worked (or paid
   for), in his method of computation of contributions, or if ad-
   equate records are not made available to allow the auditor to
   make his determination in that regard, or if hours worked for
   each payroll period are not recorded on payroll records, or in
   case the gross compensation, including any remuneration or
   compensation not required by this Agreement, divided by the
   hours reported, exceed the employees base rate, plus $3.00
   per hour, the following formula shall apply automatically to
   the entire Carpenters payroll. For the first violation deter-
   mined by the auditors for the Board of Trustees, the follow-
   ing formula shall apply only to the employees involved. For
   the second and subsequent violations determined by the au-
   ditors for the Board of Trustees, the following formula shall
   apply to the entire Carpenters payroll.

   2002.1 The gross compensation of the employee paid or
   payable by reason of his work shall be divided by the base
   rate, i.e., the lowest hourly contract wage rate, including any
   differentials, for any classification in which the employee
   worked during the report periods involved in the audit, and
   the quotient from that calculation shall be multiplied by the
   applicable rate of health and welfare contributions. The re-
   sulting sum is owing to and shall be paid to the said Trust. For
   purposes of this provision, the said quotient shall be deemed
   to be the number of hours worked by the employee during the
   report periods involved in the audit.
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         2002.2 In case a Contractor, thus audited, fails to com-
    ply with the provisions of this Article within seventy-two
    (72) hours after written notice is sent, via Registered Mail or
    Certified Mail Return Receipt Requested by the Trust Office,
    the Union shall have the right of withholding service from
    such Contractor until such payments are made.

        2003. Any Contractor who is audited by the Board of
    Trustees and concerning whom the Board of Trustees con-
    cludes that contributions to said Trust have not been com-
    puted or made by him in the manner required by Paragraph
    2002, shall be liable for the expense of such audit in addition
    to any other liability set forth under this Agreement or the
    Agreement and Declaration of Trust establishing the South-
    west Carpenters Health & Welfare Trust

         2004. Any Contractor shall make available to the
    Board of Trustees, upon its request, a copy of his Quarterly
    State Tax Return.

         2005. The Board of Trustees may authorize the attor-
    neys for the said Trust to sue and attach in connection with
    delinquent accounts.

                          ARTICLE XXI
                          Pension Plan

        2101. There has been established a Joint Pension
    Trust Agreement. Each Contractor covered by this Agree-
    ment agrees to be bound by this Trust Agreement and shall
    contribute the sum designated in Attachment 1 to the South-
    west Carpenters Pension Trust

         2101.1. The Contractor may make voluntary contribu-
    tions on behalf of craft superintendents or assistant craft su-
    perintendents, as they are defined in the exclusion clause of
    Article II of this Agreement, in the amounts and manner to be
    determined by the Trustees.

    2102. The audit procedures of Paragraphs 2002, 2003,
    2004 and 2005 are incorporated in this Article by referenc

                         ARTICLE XXII
          Vacation Savings and Holiday Plan

        2201. The parties have established a Joint Vacation
    Savings and Holiday Plan and Trust. Each Contractor shall
    make payments in the amounts designated in Attachment 1 to
    the Southwest Carpenters Vacation Trust.

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        2202. The contributions so made shall be deemed to
   be, and shall be treated as, subject to withholding tax and
   Social Security and Unemployment taxes, a part of the total
   compensation payable at the end of the individual Employers
   payroll period during which such work is performed or paid
   for, but the full per-hour payments shall be transmitted to the
   Plan. Such payments shall not be a part of the hourly wage
   rates contained in this Agreement for the purpose of comput-
   ing overtime or reporting time for any other purpose of this
   Agreement or part of the regular rate or basic hourly rate for
   the purpose of the Federal Fair Labor Standards Act or the
   Walsh-Healy Act or any other law, ordinance or regulation,
   except that if, consistent with the foregoing, such payments
   can be considered and treated as part of the wage prevailing
   in the area for the purpose of the Federal Davis-Bacon Act
   and similar federal, state or local laws, ordinances or regula-
   tions, they shall be so considered and treated.

       2203. The provisions of Paragraphs 2002, 2003, 2004
   and 2005 are incorporated into this Article by reference.

                            ARTICLE

                               XXIII

          Contract Administration Trust for
          Carpenter-Management Relations

        2301. For the purpose of establishing, implement-
   ing and administering uniform labor relations policies and
   assisting in the negotiations of any modification, amendment,
   change, extension or renewal of this Agreement or any subse-
   quent agreement, on behalf of signatory members of the Asso-
   ciation and those individual Employers who, under a collective
   bargaining agreement with the Union, are so obligated to con-
   tribute, the individual Employer will, during the term of this
   Agreement, contribute the sum designated in Attachment 1 to
   the Contract Administration Trust for Carpenter-Management
   Relations. The Trust is an Employer established and adminis-
   tered trust formed and created for the above stated purposes
   and the individual Employer hereby adopts and agrees to be
   bound by the terms of that certain Trust Agreement establish-
   ing the Contract Administration Trust for Carpenter-Manage-
   ment Relations dated October 1, 1986, and further agrees to
   observe and be bound by the actions and determinations of the
   Board of Trustees of said Trust.

       2301.1 The provisions of Paragraphs 2002, 2003, 2004
   and 2005 are incorporated in this Article by reference.



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                         ARTICLE XXIV

                  Carpenters-Contractors
                  Cooperation Committee

         2401. The parties to this Agreement have established
    the Carpenters-Contractors Cooperation Committee for the
    purposes of protecting, improving and advancing the interests
    and welfare of Contractors and employees working within the
    unionized segment of the Carpenters construction industry.
    Each signatory member of the Association and those individu-
    al Employers who are obligated to contribute under a collective
    bargaining agreement with the Union shall contribute, during
    the term of this Agreement, the sum designated in Attachment
    1 to the Carpenters-Contractors Cooperation Committee. The
    Committee is a jointly established and administered Commit-
    tee formed and created for the above stated purposes and the
    individual Employer hereby adopts and agree to be bound by
    the terms of Bylaws establishing the Carpenters-Contractors
    Cooperation Committee dated October 1, 1986, and further
    agrees to observe and be bound by the actions and determina-
    tions of the Board of Directors of said Committee.

        2401.1 The provisions of Paragraphs 2002, 2003, 2004,
    and 2005 are incorporated in this Article by reference.

         2402. Effective July 1, 2018, five cents ($.05) will be
    allocated to the Carpenters Contractors Cooperation Commit-
    tee fund that will be earmarked for the Southern California
    Partnership for Jobs. The Southern California Partnership for
    Jobs has been established to protect and expand the interests
    of transportation and other infrastructure construction, ex-
    pand public awareness of the need for transportation and oth-
    er infrastructure, and address growth and development issues
    related to the construction industry in Southern California.
    The Union reserves the right upon thirty (30) days written
    notice to the Association to reallocate some or all of this five
    cents ($0.05) to wages or to any other Trust Fund to which
    contributions are made under this Agreement.

         The Union shall receive two (2) voting seats on the board
    of the Southern California Partnership for Jobs. There shall
    also be created a subcommittee comprised of three (3) man-
    agement appointees and three (3) Union appointees that shall
    meet to consider and approve any expenditures of monies in
    the Southern California Partnership for Jobs fund before such
    expenditures are made.

        Contributions made to the Southern California Partner-
    ship for Jobs fund shall be administered by the Carpenters
    Contractors Cooperation Committee.

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                        ARTICLE XXV

      Carpenter Industry Advancement Fund

         2501. For the purpose of protecting, improving and
   advancing the interests and welfare of the construction indus-
   try, its individual Employers and Employees, without regard
   to whether such Employer is a member of any association,
   the individual Employer will, during the term of this Agree-
   ment, contribute the sum designated in Attachment 1 to the
   Carpenter Industry Advancement Fund of Southern Califor-
   nia, an Employer-established and administered trust formed
   and created for this purpose, and the individual Employer
   hereby adopts and agrees to be bound by the terms of that
   certain Trust Agreement establishing the Carpenter Industry
   Advancement Fund for Southern California dated September
   19, 1972, and further agrees to observe and be bound by the
   actions and determination of the Board of Trustees of said
   Trust.

        2501.1 The parties agree that the Union has a right to
   appoint an Advisory Committee of an equal number of mem-
   bers, as outlined in the Trust Document.

       2502. The provisions of Paragraphs 2002, 2003, 2004
   and 2005 are incorporated into this Article by reference.

        2503. Independent of any provisions otherwise con-
   tained in this Agreement providing for its termination, Con-
   tractors shall have the right and power to unilaterally cancel
   the provisions, solely, of this Article XXV at any time by de-
   livering notice to the Union in writing to that effect.

                       ARTICLE XXVI
                        Annuity Fund

        2601. The parties will jointly establish an annuity pro-
   gram that may be funded by the Union out of future wage
   increases. The plan shall be initially developed by the Car-
   penters Southwest Administrative Corporation subject to fi-
   nal approval by the parties to this Agreement.

                       ARTICLE XXVII

       Public Works Project Davis-Bacon Act
               and Related Statutes

        2701. In the event an individual Employer bids a pub-
   lic job or project being awarded by a federal, state, county,
   city or public entity which is to be performed at a predeter-
   mined and/or prevailing wage rate established by the Secre-
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    tary of the U.S. Department of Labor pursuant to Public Law
    74-403 as amended by Public Law 88-349 whose regulations
    are contained in 29 CFR Parts 1, 3, 5 and 7, and which de-
    terminations are published in The Federal Register, or by the
    Director of the California Division of Industrial Relations or
    a County, City or other public entity and the established pre-
    vailing wage rate is lower than the Master Labor Agreement
    hourly wage rate, excluding fringe benefits, by no more than
    fifteen percent (15%) on residential work or is lower by no
    more than ten percent (10%) on any other type of work, then
    the published hourly wage rate, excluding fringe benefits, at
    the time of bid shall apply to the job for the duration of the
    job, but in no event to exceed an eighteen (18) month period.

         2702. In the event the job or project extends beyond
    eighteen (18) months, the wage rates, including vacation con-
    tributions, shall be increased thereafter to maintain the appro-
    priate fifteen percent (15%) or ten percent (10%) differential
    under the then current Master Labor Agreement. Should the
    predetermined or established prevailing wage rate and the
    Master Labor Agreement rate be the same rate it is agreed
    that rate shall be in effect for an eighteen (18) months period
    then the current Master Labor Agreement rate shall apply.

                        ARTICLE XXVIII
              Work Preservation Committee

         2801. A Work Preservation Committee shall be estab-
    lished consisting of 6 members appointed by the Union and 6
    members appointed by the Contractor Associations. This Com-
    mittee shall meet on the second Tuesday of each month, or on-
    call in special situations. A subcommittee will be appointed to
    deal with subcontractor issues on an expedited basis.

         The Committee shall review any requests for variance
    from the Master Labor Agreement in order to assure that sig-
    natory contractors and their union employees remain com-
    petitive in the Southern California labor market. The Com-
    mittee shall also review requests for variance from Light
    Commercial work provisions, Appendix F provisions, non-or
    sub-journeyman classification and such other items as may
    be required to enhance contractors’ competitiveness.

         The goal is to have a flexible working structure for the
    Committee to allow it to quickly respond to needed changes
    in the marketplace. The Committee will give signatory con-
    tractors the tools they need to obtain work in geographical
    areas or in particular segments of the construction industry
    where they have not been able to successfully compete. For

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   the contractor this tool will be used aggressively to increase
   work opportunities for union contractors and union members.
   The Committee shall draft its operational procedures at its
   first meeting. These procedures shall be distributed to all sig-
   natory contractors.

       The decisions of this committee as well as any agree-
   ments under Paragraph 1201, will be sent to the Contractor
   Association as issued and will be available to all signatory
   contractors.

                        ARTICLE XXIX
                        APPENDICES

       2901. The following appendices, attached to this
   Agreement are incorporated herein and shall be a part of this
   Agreement as though fully set forth herein.
       Special Working Rules for Pile Drivers
       (See Appendix A)
       Special Working Rules for Millwrights
       (See Appendix B)
       Special Working Rules for Insulation Installation and
       Weatherstripping Installation and Firestop Technicians
       (See Appendix C)
       Special Working Rules for Remote Projects
       (See Appendix D)
       Special Working Rules for Acoustical Installers
       (See Appendix E)
       Special Working Rules for Residential and Allied
       Construction
       (See Appendix F)
       Special Working Rules for Divers on Construction Work
       (See Appendix G)
       Special Working Rules for Shinglers
       (See Appendix H)
       Special Working Rules for Residential Developers
       (See Appendix I)
       Special Working Rules for Residential Cabinet
       Installation
       (See Appendix J)
       Special Working Rules for Residential Concrete
       On Grade Slab and Subterranean Garage Concrete
       Construction
       (See Appendix K)
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                 Special Working Rules for Glass & Metal Non-structural
                 Building Components
                 (See Appendix L)

                 Special Working Rules for San Diego County
                 (See Appendix SD)

                 Drug Memorandum

                                ARTICLE XXIX

         3001. Except as provided elsewhere in this Agree-
    ment, it is agreed all matters of wages, hours and conditions,
    whether or not specifically set forth in this Agreement, are
    closed for the term of this Agreement. It is agreed that the
    wages, hours and working conditions of this Agreement are
    the wages, hours and working conditions in the area covered
    by this Agreement.

    FOR THE CONTRACTORS:
    UNITED GENERAL CONTRACTORS, INC.

     /s/   Ronald Tutor
    RONALD TUTOR, PRESIDENT

    FOR THE UNION:

    SOUTHWEST REGIONAL COUNCIL OF CARPENTERS
    FOR THE LOCAL UNIONS IN THE TWELVE SOUTH-
    ERN CALIFORNIA COUNTIES AND FOR THE STATE
    OF NEVADA AFFILIATED WITH THE UNITED BROTH-
    ERHOOD OF CARPENTERS AND JOINERS OF AMER-
    ICA

       /s/  Randy Thornhill
                   		
    RANDY THORNHILL, EXECUTIVE SECRETARY
    TREASURER

                               ATTACHMENT 1

                Contributions Payable to the Trust Funds
    									
                                                        Effective Date
    							
                                                            7/1/16
    							
    Independent Contractors Grievance
    and Arbitration Trust Fund
    (Article VI)                                            $0.03

    Southwest Carpenters Training Fund
    (Article XVII)                                          $0.57

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   Southwest Carpenters Health & Welfare Trust
   (Article XX)                                                 $6.85

   Southwest Carpenters Pension Trust
   (Article XXI)                                                $4.66

   Southwest Carpenters Vacation Trust
   (Article XXII)                                               $4.95

   Contract Administration Trust for
   Carpenter-Management Relations
   Article XXIII)                                               $0.02

   Carpenters-Contractors Cooperation
   Committee
   (Article XXIV)                                               $0.26

   Industry Advancement Fund
   (Article XXV)                                                $0.08

        The above contributions shall be made by each Con-
   tractor for each hour worked (or paid for) by all employees
   employed under the terms of this Agreement.

                 APPENDICES TO
            MASTER LABOR AGREEMENT

   Appendix A                   Special Working Rules for Pile Drivers
                    		
   Appendix B                   Special Working Rules for Millwrights

   Appendix C                   Special Working Rules for Insulation
                                Installation and Weatherstripping Installa
   				
                                tion and Firestop Technicians
   				
   Appendix D                   Special Working Rules for Remote
                         		
                                Projects
   				
   Appendix E                   Special Working Rules for Acoustical
                    		
                                Installers
   				
   Appendix F                   Special Working Rules for Residential
                   		
                                and Allied Construction
   				
   Appendix G                   Special Working Rules for Divers on
                         		
                                Construction Work
   				
   Appendix H                   Special Working Rules for Shinglers
                         		
   Appendix I                   Special Working Rules for Residential
              		
                                Developers
   				
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    Appendix J                   Special Working Rules for Residential


                  		
                                 Cabinet Installation
    				
    Appendix K                   Special Working Rules for Residential
                            		
                                 Concrete On Grade Slab and Subterranean
    				
                                 Garage Concrete Construction
    				
    Appendix L                   Special Working Rules for Glass & Metal
                       		
                                 Non-structural Building Components
    				
    Appendix SD                  Special Working Rules for San Diego
                                 County
    				
                                 Drug Memorandum
    				
                                    APPENDIX A
                        SPECIAL WORKING RULES
                           FOR PILE DRIVERS

    1. The following Special Working Rules for Pile Drivers
    are in addition to those rules contained in the Carpenters
    Master Labor Agreement, except as modified by these Spe-
    cial Working Rules.

    (a) In addition to the work identified in Article I, the Pile
    Divers claim the operation of the following types of equip-
    ment when the operation of same is incidental to that work
    which falls under the jurisdiction of the United Brotherhood
    of Carpenters and Joiners of America or Pile Drivers Local
    Union No. 2375; mechanical fork lifts of all types, boom
    trucks and any other mobile equipment as assigned by the
    employer necessary to complete the work. In addition, the
    operation of the power pack and vibratory hammer controls
    when driving or pulling, sheet pile, pile, soldier beams, cassi-
    nos or casing.

    2.     HIRING:

    (a) In the employment of workmen for all Piledriver clas-
    sification work on piledriving rigs, docks or wharves, off-
    shore oil rigs or as a diver or tender, in the territory above
    described, the following provisions subject to the conditions
    of Article II, Paragraph 201 of this Agreement shall govern.

         (i)     Piledrivers Local 2375, as agent for the Region-
             		
    al Council shall establish and maintain open and non-dis-
    criminatory employment lists for the use of workmen desir-
    ing employment on work covered by this Agreement.



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        (ii)    The Contractors shall first call upon Piledriv-
   ers Local 2375 for such men performing work as defined in
   paragraph 2 (a) above as they may from time to time need,
   and Piledrivers Local 2375 shall furnish to the Contractors
   the required number of qualified and competent workmen
   and skilled mechanics of the classifications needed by the
   Contractors strictly in accordance with the provisions of this
   Article.

        (iii)    It shall be the responsibility of the Contractors,
            		
   when ordering men, to give Piledrivers Local 2375 all of the
   pertinent information regarding the workman’s employment.

        (iv)      Piledrivers Local 2375 dispatch in accordance
           		
   with the request of the Contractor each such qualified and
   competent workman from among those entered on said lists
   in numerical order to the Contractor by the use of a written
   referral in the following order of preference and the selection
   of workmen for referral to jobs shall be on a non-discrimina-
   tory basis. All referrals from Piledrivers Local 2375 must be
   in writing, on a standard form to be provided by the South-
   west Regional Council of Carpenters. The written referral
   will contain the name of the Contractor, address of the job-
   site, and the appropriate wage scale and the required fringe
   benefit rates.

           (A) Workmen specifically requested by name and
   whose names are entered on the out of work list.

             (B) Workmen who, within the five (5) years imme-
   diately before the Contractors order for men, have performed
   work covered by this Agreement in the geographic area of
   the Agreement, as defined in Article I, Paragraph 102 of this
   Agreement, in response to any special request of the Contrac-
   tor, provided such workmen are available for employment.

           (C) Workmen whose names are entered on said list
   		
   and who are available for employment, in numerical order.

            (D) Workmen who are residents of the Twelve
   		
   Southern California Counties and whose names appear on the
   Hiring Hall lists will be free to solicit work from any signato-
   ry Contractor.

            (E) With respect to the operation of the Hiring Hall
   		
   described herein and in Article 204 of the current Master La-
   bor Agreement, any Workman registered on any Carpenters
   Hiring Hall employment list shall have his name stricken
   therefrom in the event he performs work within the recog-

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    nized craft jurisdiction of the Union for any Employer or as
    an Employer (in either case without regard to whether the
    Employer is bound to this Agreement or the Master Labor
    Agreement) in the area covered by the Master Labor Agree-
    ment other than pursuant to a proper Work Referral.

    (a) When ordering workmen of the skills required, the Con-
    tractor will give notice to the Regional Council not later than
    2:30 p.m. of the day prior (Monday through Friday) or, in any
    event, not less than seventeen and one-half (17-1/2) hours
    before the required reporting time, and in the event that for-
    ty-eight (48) hours after such notice the Regional Council
    shall not furnish such employees, the Contractor may procure
    employees from any other source. If men are so employed,
    the Contractor shall immediately report each such employee
    by name to the appropriate Regional Council having work
    and area jurisdiction.

        (i)      No employee or applicant for employment will
           		
    be required as a condition of employment or continued em-
    ployment to take any test or sign a waiver of lien.

    (b) Employees employed by one (1) or more of the Con-
    tractors for a period of eight (8) days continuously or accu-
    mulatively shall be or become after the eight (8) day period,
    or eight (8) days after the effective date of this Agreement,
    whichever is later, members of the Union and shall remain
    members of the Union as a condition of continued employ-
    ment. Membership in the Union shall be available upon terms
    and qualifications not more burdensome than those applica-
    ble at such times to other applicants for membership to the
    Union.

         (i)      The Contractor shall discharge any employee
                		
    pursuant to the foregoing section upon written notice from
    the Union of such employees nonpayment of initiation fees or
    dues. Such written notice shall indicate the amount of initia-
    tion fees or dues which are in a state of delinquency and shall
    give the employee forty-eight (48) hours within which to cure
    the delinquency. The Contractor agrees to furnish a copy of
    such notice to the employee forthwith

    (c) Subject to the foregoing, Contractors shall have com-
    plete freedom of selectivity in hiring and Contractors retain
    the right to reject any job applicant referred by the Union for
    any reason. The individual Contractor is the judge as to the
    competence of all his employees and applicants for employ-
    ment. All employees must perform their work to the satis-
    faction of the Contractor. No employee shall be discharged
    or discriminated against for activities in behalf of, or in rep-

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   resentation of the Union not interfering with the proper per-
   formance of his duties. Any discharge may be subject to the
   provisions of Article VI of this Agreement, if applicable. The
   first five (5) days of employment of any employee shall be a
   probationary period during which time any terminations will
   not be challenged, excluding union activities.

        (i)       The individual Contractor may discharge any
          		
   employee, and upon request of the Business Representative
   the Contractor shall specify in writing to the carpenter the rea-
   son for discharge. Disputes shall be subject to the provisions
   of Article VI of this Agreement, if applicable. The arbitrator
   (or arbitration board) shall be free to sustain the discharge or
   to find discipline other than discharge to be appropriate and
   may order reinstatement with full or partial back pay as he (or
   it) deems appropriate.

   (d) The Contractor may transfer employees who are on the
   Contractors payroll at the time transfer is made within the
   area of the Southwest Regional Council of Carpenters with-
   out limitation. The Contractor shall give notice to the Re-
   gional Council where work is to be performed on a transfer as
   to the name of the Contractor, the employees transferred and
   the address of the jobsite. All employees being transferred
   shall procure a work referral from the Regional Council. Ad-
   ditional employees shall be employed in accordance with the
   provisions of this Article 2, paragraph iv.

   3.   SUBSISTENCE:

   (a) On jobs located within ninety (90) road miles from the
   Local Union at Wilmington, California or Call Board, to the
   center of the construction jobsite and/or sites on the project or
   ninety (90) road miles from the employees principal place of
   residence, over the most direct traveled route, a free zone is
   hereby established wherein no travel expense, transportation
   expense or subsistence shall be required. No Employee will
   receive subsistence or travel time if the employees princi-
   pal place of residence is within ninety (90) road miles of the
   project regardless of whether the employees principal place
   of residence is in or out of the free zone. Additionally, no sub-
   sistence will be paid to an employee if the project or jobsite is
   in the free zone regardless of the distance the employee must
   travel to the project or jobsite.

   4. On jobs located ninety (90) or more road miles from the
   Local Union or Call Board to the center of the construction job-
   site and/or sites on the project, over the most directly traveled
   route, Employees shall be compensated on the following basis:


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    (a) Forty-five ($45.00) per workday as a subsistence allow-
    ance, except where there are work stoppages by an Act of
    God or conditions beyond the control of the Contractor.

    (b) In the event Employees provide their own transportation,
    they shall receive twenty-five (25) cents per mile for trans-
    portation expense between the Local Union office or Call
    Board and the center of the construction jobsite and/or sites
    on the project, at the beginning and conclusion of their em-
    ployment. The return transportation expense will not be pay-
    able if the Employee quits his job before work is completed
    or before thirty (30) calendar days, whichever is sooner or if
    he is discharged for cause. Not withstanding any of the above
    conditions no employee shall receive subsistence or travel al-
    lowance for jobsites located in the free zone.

    5. In cases of dispute in measuring road miles from the Lo-
    cal Hall or Call Board of Local Union 2375, the facilities of
    the Automobile Club of Southern California shall be used as
    the determining factor.

    6. The following named islands are hereby established as
    suitable room and board zones: Richardson Rock, Santa Cruz
    Island, Santa Rosa Island, San Miguel Island, Arch Rock,
    San Clemente Island, Anacapa Island, (Channel Islands Mon-
    ument), San Nicholas Island, Santa Barbara Island, Santa
    Catalina Island.

    7. The Contractor is not obligated to pay the subsistence
    allowance provided herein if the Local Union is unable to
    furnish qualified and competent Employees from its hiring
    list of Journeymen for work in the subsistence area. The Con-
    tractor shall abide by Article II in his hiring procedure.

    8. In lieu of subsistence, the Contractor may provide and
    maintain acceptable room and board on or immediately ad-
    jacent to the project, seven (7) days per week in compliance
    with California State Laws.

    9.   PRE-JOB CONFERENCE:

        When jobs are scheduled for a completion date of more
    than 365 calendar days a pre-bid conference will be held to
    discuss proper subsistence arrangements.

    10. TRAVEL TIME:

         The Contractor agrees to pay travel time involved from
    the point of mandatory embarkation to the site of all con-
    struction projects. Time paid for travel time is to be paid at
    the straight-time rates on any day of the week and is not to be

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   counted for overtime computation. If an employee is direct-
   ed to operate a vehicle for the direct purpose of transporting
   company equipment and/or employees to or from a jobsite
   the limitations on overtime computation do not apply. If an
   employee is directed to perform work while travelling the
   employee shall be paid at the appropriate work rate.

   11. CERTIFICATION TEST:

        Any special certification test of a qualified Pile Driver
   Welder, taken for the convenience of the Contractor, shall be
   paid by the Contractor. Before a qualified Pile Driver Welder
   commences the welding test, he shall be placed on the payroll
   of the Contractor. A qualified Pile Driver Welder is one who
   has passed a qualification test, acceptable to the Contractors,
   given by a recognized testing laboratory within the area cov-
   ered by this Agreement. The individual Employer shall fur-
   nish the Pile Driver Welder with a copy of the certification
   papers if he remains on the job to its completion or for thirty
   (30) days, whichever comes first.

   12. CREW SIZE:

        When pile driving men are engaged in recognized pile
   driving work the majority of the shift time (including the
   pulling of piling), the following minimum number of men
   shall compromise the crew.

        (a) The following crew sizes are recognized under nor-
   mal operation as stated in this paragraph; however, Contrac-
   tors may, by mutual agreement with the Pile Drivers Union,
   modify the crew sizes.

   Pile Driver, Water Rig, Swinging or
   Stable Leads from Derrick Crane or
   A-Frame on Scow or Barge...................3 men and 1 foreman

   Pile Driver (Crawler or Crane)
   Swinging or Stable Leads......................3 men and 1 foreman

   Driving Wicks .....................................................1 (one) man

   Vibratory Hammer for
   Driving Pile...........................................3 men and 1 foreman

   Lagging Hammer, (pneumatic)
   Swinging from Line of Power Equipment
   of any kind.........................................................2 (two) men*

   Derrick Barges.......................................2 men and 1 foreman


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    When working with other trades............1 man and 1 foreman

    Floating Rig, placing A-rock2...............................(two) men*

    Derrick Barge used to overhaul or set oil pipeline
    moorings at the site of operations (exclusive
    of Divers and Tenders)..........................5 men and 1 foreman

    * One of whom shall be paid foreman’s rate.


    (b)       A crew member who is no longer needed to perform
       		
    work in the crew for which he was originally dispatched may
    be assigned to other work on the project in the pile driver
    jurisdiction at the discretion of the Contractor.

    13. WORK RULES:

          When men are requested to work in inclement weather,
    it is the responsibility of the Contractor to furnish each man
    with an adequate set of foul weather equipment.

    14. All approved safety orders of the State of California
    Department of Industrial Relations shall be observed by the
    Contractors and the employees. Suitable sanitary drinking
    water and adequate toilet facilities shall be furnished by the
    Contractor in accordance with California State Laws.

    15. The Contractor agrees to make available for the use of
    pile driver men a safe place to store tools and change clothing
    before or after shifts. This provision shall apply only on pile
    driving jobs of three (3) or more days duration.

    16. When pile driver men are working in the business of
    erecting, constructing, installing and dismantling offshore
    drilling platforms in all West Coast Coastal waters within the
    geographical area of Pile Driver Local Union 2375, and the
    pile driver men are performing identical duties or work with
    Ironworkers on the same jobsite the better conditions, wages,
    travel expenses and subsistence shall apply.

    17. WORK ASSIGNMENTS:

         Pile Driver Employers shall furnish the Pile Driver Lo-
    cal Union 2375 with signed letters on the letterhead of the
    individual Employer, when requested, stating they have em-
    ployed pile driver men on a specific type of work and paid the
    negotiated scale of wages on any jobs which the individual
    Employer has performed with pile driver men. The foregoing
    refers to work outside Carpenter classifications.



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   18. CREOSOTE:

        An employee shall receive a fifty-cents ($0.50) per hour
   premium above the pile drivers base or overtime rate when
   handling or working with new pressure-treated creosote pil-
   ing or timber, or driving of used pressure-treated creosote pil-
   ing. The word new means not used regardless of storage time.

   19. CERTIFIED WELDER:

        When a Contractor requests a certified welder, he
   agrees to pay one dollar ($1.00) per hour premium above
   the pile drivers base or overtime rate. The Union agrees to
   note on the employees dispatch slip such request. This pre-
   mium shall be paid on a half-day or full-day basis. When the
   Contractor no longer requires a certified welder, but has ad-
   ditional welding work available, he will afford his certified
   welder or welders the opportunity to continue employment
   at the pile driver Journeyman rate before he calls the hall for
   replacements. This paragraph is not intended to provide for
   a certified welder to replace a currently employed non-certi-
   fied welder.

   20. OVERTIME RATES:

        All overtime Monday through Friday shall be at the
   rate of one and one-half (1½) the regular straight time hour-
   ly rate for the first four hours of overtime worked and shall
   be paid at double the straight time hourly rate after twelve
   hours of work. Saturday, unless it is a makeup day, shall
   be at the rate of one and one-half (1½) times the straight
   time rate for the first eight (8) hours of work and double
   (2) the straight time hourly rate after eight hours of work.
   All hours worked on Sundays and Holidays shall be paid at
   double the straight time hourly rate. (See Tide Work Sched-
   ule for Tide Work.)

   21. CLARIFICATION OF CARPENTER
       PILE DRIVER WORK

        This Agreement incorporates by reference the letters
   dated May 19, 1955 and February 18, 1970 from M. A.
   Hutcheson, General President, United Brotherhood of Car-
   penters and Joiners of America, as well as the questions sub-
   mitted by Contractors on July 17, 1955 requesting clarifica-
   tion of the May 9, 1955 letter and the answers submitted by
   subcommittee of the General Executive Board of the United
   Brotherhood of Carpenters.




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                CLARIFICATION OF CARPENTER
                     PILE DRIVER WORK

        (Letter, dated May 9, 1955, from Mr. M. A. Hutcheson,
    General President, United Brotherhood of Carpenters and
    Joiners of America.)

         I am herewith submitting the findings of the General
    Executive Board on the controversy between Carpenters and
    Pile Drivers classifications in the West Coast area.

         The Subcommittee convened Wednesday, July 15, 1954,
    and Thursday, July 16, 1954, in the Empire Room of the Sir
    Francis Drake Hotel, San Francisco, California. Testimony
    was received from forty-seven (47) witnesses representing
    Local Unions, District Councils, and State Councils from the
    states of California, Oregon and Washington.

         As indicated in the matter supplied to the Subcommittee
    from the General Office, we found that the main points of
    difference existing between the branches of our membership
    on the West Coast were:

        (1)      An interpretation of what constitutes the girder
           		
    capping the piles.

         (2)      What classification of our membership shall ap-
    ply in the placing and erection of false work.

         Additional clarification of what work properly comes
    under the classification of Pile Driver would help in clarify-
    ing the issues involved between both branches of our Broth-
    erhood on the West Coast:

          (1)      In the construction of waterfront and marine fa-
           		
    cilities, such as docks, piers, wharves, bulkheads, jetties, and
    similar structures, the pile driver classification should contin-
    ue to apply, up to and including the decking thereof.

        (2)      On all pile driving and caisson work on both
           		
    land and water, the Pile Driver classification should apply.

         (3)      In the construction of wooden bridges whether
           		
    over land or over water, when composed of heavy timber, the
    Pile Driver classification should apply.

         (4)       In the construction of concrete or steel bridg-
           		
    es over land, the Pile Driver classification shall apply to the
    driving of piles and/or caisson work including the forms re-
    quired for the capping of the piles or caissons immediately
    top of the piles or caissons. The capping of the piles is herein
    interpreted as being that concrete, wood, or other material
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   resting on the top of the piles where driven or placed and does
   not include any further form work above the capping.

        In many instances it has been found that the capping
   is called the girder. The above shall apply on such concrete
   or steel bridges constructed over land, highways, railroads,
   overpasses and include cloverleafs, interchanges, etc.

        (5)      In the construction of concrete or steel bridges
           		
   over water, the Pile Driver classification shall apply up to
   and including all of the form work to the top of the column,
   piers, or abutments supporting the steel and/or any other su-
   perstructures.

        (6)       In the erection of false work, when necessary
           		
   for the support of work under the Pile Driver classification,
   then such false work shall fall within their classification.
   False work necessary for the support of work under the Car-
   penter classification shall be done within such Carpenter
   classification, with the exception that where pile driving or
   power equipment is used for heavy timber false work, then
   such work shall come under the Pile Driver classification.
   This would include all rigging, signaling and tagging inci-
   dental to the placing of the heavy timber.

        (7)       In the construction of open-cut sewers, the
           		
   Pile Driver classification shall apply on all piling including
   wood, steel or concrete sheet piling, all bracing timber and
   form work incidental to the construction thereof. In con-
   cluding this report, the General Executive Board believes
   that the defining of the words girder capping the piles herein
   outlined will tend to solve much of the misunderstanding
   that has existed between the two (2) classifications of our
   membership on the West Coast. All of the above shall be
   effective only in the West Coast area where the controversy
   occurred.

                           Signed M. A. Hutcheson
   			
                                 General President
   					
       (Questions submitted by Contractors on July 17, 1955,
   requesting clarification of Mr. Hutchesons letter of May 9,
   1955, and Answers submitted by subcommittee of the Gener-
   al Executive Board, United Brotherhood of Carpenters.)

   Q. 1:        What did you intend to constitute a bridge over water
                within the meaning of Paragraph (5) of your letter?

                (a) For example, two (2) parallel concrete highway
                structures were constructed under a single contract

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            over U.S. Highway 101, the railroad tracks of the
            Northwestern Pacific Railroad and Petaluma Creek.
            The overall length of the structures was approx-
            imately 900 feet. The structures were erected in
            three (3) sections. The first section, which was ap-
            proximately 360 feet long, was constructed over the
            highway and the railroad tracks and terminated at a
            coffer-dam and piers at the south bank of the creek.
            The second section, which was approximately 415
            feet long, extended from a highway fill across ag-
            ricultural land to a cofferdam and piers at the north
            bank of the creek. The third section, which was ap-
            proximately 115 feet long, consisted of 16 precast,
            75 ton concrete girders extending over Petaluma
            Creek which were put in place by a floating derrick.

            Would you have intended that the 115 feet section
            spanning the creek, which constitutes less than 1/8th
            of the entire structure, would make the entire struc-
            ture a bridge over water?

            Or would the term bridge over water be limited to
            the section which actually spanned the creek?

        A: On bridge over water the columns or abutments
           inwater and at the waters edge or the first column
           or abutment on land adjacent to waters edge, shall
           come under the Pile Driver classification.

    Q. 2:   (b) For another example, a concrete structure was
            constructed across the Salinas River. During the dry
            season, covering the entire construction period, the
            river bed was crossed by a road which carried heavy
            truck traffic. Would you intend this structure to be a
            bridge over water?

        A: Still considered a bridge over water and covered by
           classification of Paragraph (5) in answer to question
           1 (a).

    Q. 3:   (c) Did you intend the term bridge over water to
            include a structure being constructed over a dry by-
            pass which is designed to carry water only during
            flood conditions, which occur only once in several
            years?
        A: The answer is yes. Similar to clarification of ques-
           tion 1 (b) and is considered a bridge over water.
    Q. 4:   (d) Did you intend the term bridge over water to


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           include a structure over a ravine or other depression
           which carries water, if at all, only during the spring
           runoff and outside of the construction period?
       A: The answer is yes. Same as answer to question 1 (b)
          and is considered as a bridge over water as qualified
          in clarification of question 1 (a).
   Q. 5:   (e) Did you intend the bridge over water to include
           a structure over a man-made canal or aqueduct?
       A: Same answer as in 1 (a), 1 (b), 1 (c) and 1 (d). All
          clarifications of paragraph 5 of findings of the Gen-
          eral Executive Board of May 13, 1955, and referring
          to concrete or steel bridges over water is based upon
          piles being driven, caissons sunk or cofferdams
          erected by Pile Drivers under Pile Driver classifica-
          tion on such concrete or steel bridge foundations.
   Q. 6:   Under Paragraph (6) of your letter dated May 9,
           1955, did you intend the false work necessary for
           the support of the deck of a concrete or steel bridge
           over water to carry the Carpenter classification, ex-
           cept while pile driving or power equipment is used
           for heavy timber false work?
       A: The answer is yes. False work necessary for the sup-
          port of the decking of a concrete or steel bridge over
          water shall come under the Carpenter classification.
          False work for such decking is under the Carpenter
          classification excepting where pile driving or power
          equipment is used.
   Q. 7:   Did you intend the term pile driving or power equip-
           ment, as used in Paragraph (6) of your letter, to mean
           pile driver, derrick or similar power equipment?
       A: The Subcommittee feels that the words pile driving
          or power equipment are in themselves completely
          explanatory and feels that no further definition is re-
          quired for anyone acquainted with the construction
          industry.

   Q. 8:   Do forms constructed on the ground out of 2x4 and
           2 x 6 lumber and 5/8 plywood constitute heavy tim-
           ber false work, within the meaning of Paragraph (6)
           of your letter, merely for the reason that, when as-
           sembled, they must be put in place by power equip-
           ment?

       A: The Subcommittee does not interpret forms to be

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            heavy timber false work within the meaning of
            Paragraph (6). If any dimension forms are fabricated
            on the ground for work coming under the Carpenter
            classification, then such forms can be put in place by
            power equipment under the Carpenter classification.
            Forms coming under the Pile Driver classification
            as outlined in the findings of the General Executive
            Board shall be installed or placed under such Pile
            Driver classification. If heavy timber false work,
            consisting of supports for forms, installed under
            Carpenter classification and pile driving or power
            equipment is used, then such installation of heavy
            timber false work shall be done under the Pile Driv-
            er classification as plainly stated in Paragraph (6) of
            the General Executive Boards finding.

    Q. 9:   Does Paragraph (7) of your letter refer only to work
            within the recognized jurisdiction of the Pile Driv-
            ers Union?

        A: The Subcommittee of the General Executive Board
           feels that Paragraph (7) is so plainly worded without
           any limitations that anybody familiar with the con-
           struction industry can clearly understand this para-
           graph without any interpretations being required.
           (Letter, dated December 12, 1967, to Mr. M. A.
           Hutcheson, General President United Brotherhood
           of Carpenters and Joiners of America.)

            Re: Carpenter-Pile Driver matter in West Coast area.

            In complying with your request, the Subcommittee
            of the General Executive Board, appointed by you
            to review the 1955 General Executive Board Deci-
            sion on West Coast Carpenter-Pile Driver matter,
            have met several times to consider the new prob-
            lems that have arisen since the 1955 Board decision.

            Your Subcommittee held two (2) days of hearings
            at the Del Web Town House in San Francisco, Cal-
            ifornia, on March 21 and March 22, 1967, at which
            sixty-three (63) Officers and Business Represen-
            tatives of our subordinate Locals and District and
            State Councils testified on the subject matter. In
            addition, twelve (12) representatives of various
            Contractors Associations met with your subcommit-
            tee and presented their points of view on several is-
            sues relative to new methods and techniques devel-
            oped in the years since the original 1955 decision.
            The transcript of the hearings consisted of several

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                     hundred pages and the General Office is in posses-
                     sion of a copy of same. The hearings brought out
                     that the principal items of work where there were
                     different opinions and interpretations amongst our
                     membership, and also between the Employers and
                     our membership, mainly consisted of the following:

         (A)             Dry Aqueduct or Canal Structures
                		
         (B)             Building Foundations
               		
         (C)             Tank Foundations
               		
         (D)             Base Foundations for Machinery, Equipment
                		
                         and Stanchions
   			
         (E)             The Erection of False work, including Metal
           		
                         Tubular or Tinker Toy Material used as
   			
                         false work.
   			
             Your Committee, after careful review of the tran-
   		
   script of the March 21 and March 22, 1967, hearings, finds
   it necessary to further clarify the intentions of the General
   Executive Board decision of May 1955, and to modify where
   necessary consistent with the evidence presented to the Sub-
   committee at this March 1967 hearing, in order to guide our
   West Coast membership in their jurisdictional differences on
   work issues and to assist our employees in the correct and
   harmonious operations of their projects.

             The work jurisdiction of our Carpenters and Pile
   		
   Driving branches for our Brotherhood on the West Coast
   shall be as follows:

   A. (1) In the construction of water front and marine facil-
   ities, such as docks, piers, wharves, bulkheads, jetties and
   similar structures, the Pile Driver classification shall continue
   to apply, up to and including the decking thereof.

       (2) On all pile driving and caisson work, on both land
   and water, the Pile Driver classification shall apply.

        (3) In the construction of heavy timber, wooden, bridg-
   es, whether over land or over water, the Pile Driver classifi-
   cation shall apply.

        (4) In the construction of concrete or steel bridges over
   land, highways, railroads, overpasses, cloverleafs, inter-
   changes, or bridges over man-made canals, aqueducts, spill-
   ways and man-made water retaining areas, the Pile Driver
   classification shall apply to the driving of the piles, caissons

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    and drilled-in-place piling. The fabrication and erection of
    the forms for the capping of piles, caissons, or drilled-in-
    place piling shall come under the Pile Driver classification.
    This shall include the placing of wooden or steel capping or
    any substitute thereof.

             Any other form work above the cap, pertaining to
    		
    the construction operations herein noted above, shall be per-
    formed under the Carpenter classification. This shall also
    include bridges over man-made canals, aqueducts, spillways
    and man-made water retaining areas, if constructed prior to
    water being released or turned into the area.

         (5) In the construction of concrete or steel bridges over
    water, the fabrication and erection of form work for the pier
    or piers in the water area, and the pier or abutment, on land,
    nearest to the waters edge, shall be under the Pile Driver clas-
    sification. This shall include the fabrication and erection of
    the form work to the top of the pier, column and abutment
    supporting the steel and/or any other superstructure.

              The fabrication and erection of forms for the piers,
    		
    columns or abutments for the approaches to the first pier or
    abutment on waters edge, shall be under the Carpenter classi-
    fication. This shall apply also on a bridge over an area where
    the flow of water has been temporarily diverted.

    B. Building Foundations

         All form work required on building foundations shall be
    under the Carpenter classification, irrespective of the use of
    piles or caissons.

    C. Capping of Piles or Form Work on Tank Foundations

         The capping of piles and form work in connection there-
    with, when there is no other carpenter form work involved
    above the capping or floor base of tank, shall be under the
    Pile Driver classification. Where further carpenter work is
    required above the capping or tank base, then the Carpenter
    classification shall apply on entire operation, including the
    forms for pile capping and/or tank base.

    D. Base Foundations for Machinery, Equipment and Stan-
    chions

         The fabrication and erection of all forms for machinery,
    bases, equipment or stanchions shall be under the Carpenter
    classification, irrespective of the use of piles or caissons.

    E. The Erection of false work, including Metal Tubular (or

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   Tinker Toy) Material used as false work. The erection of false
   work necessary for the support of work under the Pile Driv-
   er classification comes under their classification. False work
   necessary for the support of the work under the Carpenter
   classification shall be governed by their classification, except
   on a project where pile driving power equipment is used.

       The rigging, signaling, tagging and other incidental
   work shall be under the classification for whom the work is
   designated by this paragraph.

        With the exception of these revisions of the West Coast
   Carpenters-Pile Driver decision as rendered by the General
   Executive Board in May 1955, any other portions or clarifi-
   cations of items contained in the 1955 decision of the General
   Executive Board shall remain in full force and effect.

                               Respectfully submitted,
   					
                               Charles Johnson, Jr.
   					
                               Raleigh Rajoppi
   					
                               Charles E. Nichols
   					
                               Lyle J. Hiller
   					
            (Letter dated February 18, 1970, from Mr. M. A.
   Hutcheson, General President, United Brotherhood of Car-
   penters and Joiners of America.)

             With further reference to communication distributed
   		
   December 12, 1967, in the form of Special Report of General
   Executive Board Subcommittee relative to the Carpenter-Pile
   Driver matter in the West Coast area the following interpreta-
   tion is submitted.

            Because of repeated requests for clarification of the
   above-mentioned circular letter, specifically, Item Paragraph
   E: The erection of false work, including metal tubular for
   tinker toy material used as false work. The following is for-
   warded for your information and guidance.

            As indicated above, it became necessary for the
   		
   Committee to clarify the intent of this report which was de-
   veloped from the special hearings conducted in San Fran-
   cisco on March 21-22, 1967. Therefore, the following is the
   Committees interpretation and clarification of Paragraph E
   dealing with the erection of false work.

             “The erection of false work necessary for the sup-
   		
   port of work under the Pile Driver classification comes under
   their classification. False work necessary for the support of
   the work under the Carpenter classification shall be governed

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    by their classification, except on a project where pile driving
    or power equipment is used.”

             “The rigging, signaling, tagging and other incidental
    		
    work shall be under the classification for whom the work is
    designated by this paragraph.”

             Clarification
    		
              It is intended by this interpretation to eliminate con-
    		
    troversy and to insure the continuity of operations in work of
    this nature.

              By insertion of the word or it should not be inter-
    		
    preted that the Committee has changed its original intent
    concerning this controversy. The rigging of heavy timber
    false work and metal tubular (tinker toy) materials shall be
    performed under the Pile Driver classification when such ma-
    terials are placed by power. It is intended by this clarification
    to mean that the Carpenters may perform the rigging of false
    work, including metal tubular (tinker toy) materials as false
    work under the following circumstances.

         “For the purpose of continuity of operation and to elim-
    inate the necessity of a change in crews because Pile Driv-
    ers are not presently employed on the site by the responsible
    Contractor at the time of such rigging, or provided that such
    rigging by power is intermittent with that work which is, or
    would normally be performed by the Carpenter classifica-
    tion.”

        Therefore, the communication dated December 12,
    1967, shall be herein amended and in full force and effect
    and all parties shall be governed accordingly.

                           APPENDIX B

             SPECIAL WORKING RULES FOR
                    MILLWRIGHTS

    1. The following Special Working Rules for Millwrights
    are in addition to those rules contained in the Carpenters
    Master Labor Agreement, except as modified by these Spe-
    cial Working Rules.

    (a) Effective July 1, 2016, Millwrights shall receive subsis-
    tence payments of forty-five dollars ($45.00) per day except
    as provided below.

    (b) On jobs located within ninety (90) road miles from the
    City Halls of San Bernardino and Los Angeles or San Diego,

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   to the center of the construction jobsite and/or sites on the
   project or ninety (90) road miles from the employees prin-
   cipal place of residence, over the most direct traveled route,
   a free zone is hereby established wherein no travel expense,
   transportation expense or subsistence shall be required. No
   Employee will receive subsistence or travel time if the em-
   ployees principal place of residence is within ninety (90)
   road miles of the project regardless of whether the employees
   principal place of residence is in or out of the free zone. Ad-
   ditionally, no subsistence will be paid to an employee if the
   project or jobsite is in the free zone regardless of the distance
   the employee must travel to the project or jobsite.

   2.   Millwright Scope of Work
        Millwright Jurisdiction:

        The machinery, equipment and associated components
   listed below which are identified for the purpose of descrip-
   tion only, falls within the jurisdiction of the United Broth-
   erhood of Carpenters and Joiners of America (Millwrights).
   Although some components of machinery and/or equipment
   may be described in one application or location and not in
   another, it shall not be excluded from our craft jurisdiction
   when, to avoid repetition, it is not described in other appli-
   cations.

        Millwright craft jurisdiction shall include the unloading,
   hoisting, rigging by any means, transferring, moving, clean-
   ing, disassembling, assembling, welding, burning, erecting,
   calibrating, precision grouting, aligning, starting-up and
   testing, adjusting, repairing, and the maintaining of all ma-
   chinery and equipment, be it powered by, or receiving power
   from, steam, gas, gasoline, diesel, jet, electric, pneumatic,
   water, solar, thermal, mineral, atomic, rocket, nuclear, chem-
   ical, wind or any other source, regardless of whether or not
   such machinery or equipment is temporarily or permanently
   installed or located.

        Some of the locations in which machinery, equipment
   and their components within the craft jurisdiction of Mill-
   wrights are: woodworking, canning, food, and computer
   industries, steel, metal, plastic, and glass manufacturing or
   recycling plants, foundries, ore reduction plants, stamping
   facilities, coffee roasting plants, paper, cellophane and film
   industries, feed and saw mills, rock, gravel, sand washing,
   stone crushing, cement and asphalt plants, water, sewage
   and chemical treatment plants, laundries, kitchens, restau-
   rants, hospitals, bakeries, fertilizing and mixing plants, can,
   ice, bottle and bag manufacturing plants, textile, flour, and

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    paint mills, breweries, milk, rendering and meat processing
    plants, locks, dams and bridges, coal yards, sugar refineries,
    ethanol or similar type facilities, post offices, package han-
    dling centers, incinerators, cogeneration, coal gasification
    and power plants, automotive, truck and or similar manufac-
    turing type factories, bio-research facilities, the amusement,
    recreational and entertainment fields.

          Millwright craft jurisdiction shall include all activities
    necessary to: set all engines, motors, dynamos, generators,
    diesel generators, motor restraints, install; measure and align
    with optical instruments when necessary the reactors, con-
    trol, push and shut-down rods, rod pressure housing, drives,
    guide sleeves and other related equipment in reactors, tur-
    bines, castings, combustion chambers and all its related
    components; the attachment of the inlet manifolds and ex-
    haust ducts, cylinders, diaphragms, rotors, blade rings, blade
    or bucket assemblies, hydrogen coolers, blower assembles,
    packing joints on hydrogen coolers, exciter or Alterex and
    all others, turning gear, extension box, welding of extension
    box, lagging, stretching of coupling bolts or others; per-
    form oil flush; install turbine lube oil tank, pumps and re-
    lated component skids, filters, thrust bearings, the sweating
    on and shrinking of bearings, couplings, shafts and others,
    sole plates and machine bases; perform all precision grout-
    ing using the following materials: epoxy, wet, non-shrink,
    dripacking or other types; perform demineralizing and hy-
    dromation; and install mechanical dust systems, sensors,
    air compressors, super charges, coolers, boiler controls and
    linkage, Bailey Meters or similar devices and their link-
    ages, fluid drives, embedded guides for traveling screens,
    traveling screens, roller, slide, knife, lock and sluice gates,
    limit torques on mechanical valves, gates and others, taint-
    er valves, limit switches, trips, triggers or switches, includ-
    ing the brackets that are attached to, stop logs, dam rollers,
    transfer cars and gear head motors.

         The setting of variable drives, fans, coal cranes, truck
    cranes or other types, including servicing and the adjusting
    and aligning of mechanical equipment within the cranes,
    crane rails and all other types of rails which would carry
    mechanically activated equipment, including their align-
    ment, monorail (all sizes), trolleys, pumps and their associ-
    ated components, packaging equipment, refrigerating equip-
    ment, chillers, and related equipment, lantern rings, packing
    glands, packing for pumps, pollution equipment, carbon
    absorbers, heat exchanges, grain, ball, hammer, roller mills
    and others, crushers and beaters, hoppers, bins, chutes and
    spouts, turn tables, shears, casing machines, robots, air-vey-

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   ors, conveyors of all sizes, types, and styles regardless of the
   materials they are constructed with, including their supports,
   people movers, jetways, magnetic separators, hoists, feeding
   machinery, Z-loaders, S-loaders, palletizers, Triax equipment,
   mechanical equipment in scrubbers, pack towers, precipita-
   tors, cooling towers and air cooled condensers.

        Sewage and Water Treatment Plants — the disassembly,
   fabricating, rigging, erecting and aligning of skimmers, rake
   mechanisms, feed wells, baffles, scum troughs, de-gritting
   equipment, bar screens, communitors, mixers, pumps, aera-
   tion systems, blowers, membrane filtration systems, sequenc-
   ing batch reaction systems, including related, filter presses,
   sand filtration systems (excluding installing the filtration me-
   dia and associated earthworks), ultra violet rack systems, me-
   chanical drive assemblies, conveyors, mono rails, gates and
   setting odor control equipment, (excluding heating, ventilat-
   ing and air conditioning work or associated earthworks).

        The setting of thru-clean bar, straight line bar, trash, tri-
   tor drum, and disc screens, straight line grit, circuline grit,
   circuline sludge, and circuline mixer collectors, straight line,
   flash, horizontal slow, vertical slow, and vibra flow feeder
   machines, pre-aeration and settling tanks, covers for tanks,
   bowls and basins including stationary or mechanical cov-
   ers regardless of materials, thickeners, rotoline distributors,
   sludge bed cleaners, digestion systems, heaters, dyna-grind
   sewage screening grinders, screw pumps, spiral classifer, ag-
   itators, junk remover, hydro pulper, cooling fans, lube sys-
   tems, selectifier screens, hydrosensors, fuel blowers, grizzly
   screens, trommels, table feeders, dryers, optical sorters, high
   tension separators, grip dewatering screens,flash mixer, hori-
   zontal slow mixer, vertical slow mixer, filter, cone and rotary
   presses, comminutors, barminutors, degreasers, rotometers,
   dehumidifiers, benches, washers for cars, trucks, buses, trains
   and other types, hydraulic units, shroud boxes, silencers,
   scales, load cells, eddy current clutches, disintegrators, de-
   hairing machines, grain handling devices, laboratory equip-
   ment, machine shop equipment, ladle cars, stunning pens
   and doors, activation equipment, racks, material handling
   platforms, transition pieces, the handling and installation, of
   pulleys, gears, sheaves and fly wheels, air vacuum, worm,
   belt, friction, rope, chain and gear drives that are directly or
   indirectly coupled to motors, belts, chains, shafts, or screws,
   installation of legs, boots, guards and boot tanks, all bin and
   diverter valves, turn hands and indicators, shafting, bearing
   cable sprockets, cutting of all key seats in old and new work,
   troughs, chippers, calenders, rolls, winders, rewinders, slit-
   ters, cutters, wrapping machines, blowers, forging machines,

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    pneumatic, electric and hydraulic rams, extractors, expellers
    and extruders, ball and dust collectors, splicing of ropes and
    cables.

         The laying out, fabrication and installation of protect-
    ing equipment including: machinery guards: the making and
    setting of templates for machinery: the fabrication of bolts,
    nuts, pans; the drilling of holes in machinery for any equip-
    ment which the Millwrights install, regardless of material; ,
    all welding and burning regardless of type; the fabrication
    of all lines, hose or tubing used in the lubrication, operation,
    cooling or heating of machinery, including the installation
    of all fluids used to operate, lubricate, cool or heat equip-
    ment installed by Millwrights; the cleaning of machinery
    before turnover to owner; the machining, grinding, milling,
    broaching, boring, threading, lapping and keying that may
    be necessary for any part of equipment, including the start-
    ing up, breaking in, trial running and operational or func-
    tional testing of any equipment or machinery installed by
    the Millwrights.

         Rock, sand and gravel plants, batch or aggregate plants:
    installation and maintenance of all recycling equipment,
    crushers, conveyors, chutes from one piece of mechanical
    equipment into another piece of mechanical equipment, or
    from a vessel into a conveyor, or into other places or me-
    chanical equipment or other mechanical equipment used (for
    the purpose of description only) to excavate material from
    one area to another from highways, roadways or elsewhere.

         When optical instruments such as automatic levels,
    builder’s transits, precision jig transits, tilting levels, theod-
    olites or other precision tools and instruments are used to
    locate and set machines, these tools are considered a tool of
    the Millwright trade and are to be used by Millwrights to set
    the equipment or machine.

        Asbestos removal on equipment in which Millwrights
    normally remove during maintenance and repair work.

         Any new equipment or technology designed to replace
    any of the equipment described above shall remain in the
    craft jurisdiction of the Millwrights.

    3.   Hiring

    (a) In the employment of workmen for all Millwright classi-
    fication work, in the territory above described, the following
    provisions subject to the conditions of Article II, Paragraph
    201 of this Agreement shall govern.

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           (i) The Southwest Regional Council, on behalf
   		
   of Millwright Local 1607, shall establish and maintain
   open and non-discriminatory employment lists for the use
   of workmen desiring employment on work covered by this
   Appendix.

              (ii) The Contractors shall first call upon Millwright
   Local 1607 at (323) 724-0178, as agent for the Regional
   Council, for such men as they may from time to time need
   in the Twelve Southern California Counties, and Millwright
   Local 1607 shall furnish to the Contractors the required
   number of qualified and competent workmen and skilled
   mechanics of the classifications needed by the Contractors
   strictly in accordance with the provisions of this Article.

            (iii) It shall be the responsibility of the Contrac-
   		
   tors, when ordering men, to give Millwright Local 1607 all
   of the pertinent information regarding the workman’s em-
   ployment.

              (iv) Millwright Local 1607 will dispatch in accor-
   		
   dance with the request of the Contractor each such qualified
   and competent workman from among those entered on said
   lists in numerical order to the Contractor by the use of a writ-
   ten referral in the following order of preference and the se-
   lection of workmen for referral to jobs shall be on a non-dis-
   criminatory basis. All referrals from Millwright Local 1607
   must be in writing, on a standard form to be provided by
   the Union. The written referral will contain the name of the
   Contractor, address of the jobsite, and the appropriate wage
   scale and the required fringe benefit rates.

            (A) Workmen specifically requested by name who
            have been employed, laid off or terminated as
            Millwrights in the geographic jurisdiction of Mill-
            wright Local 1607 within three (3) years before
            such request by a requesting individual Employer,
            successor entity, or a joint venture of which one
            or more members is a former Employer, now de-
            siring to re-employ the same workmen, provided
            they are available for employment. This provision
            shall also apply to individual Employers wishing to
            re-hire employees of a joint venture of which the
            individual Employer was a member. Requests must
            be made on a standard form to be provided by the
            Union.

            (B) Workmen who, within the five (5) years im-
            mediately before the Contractor’s order for men,
            have performed work of the type covered by this

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             Agreement in the geographic area of the Agreement,
             as defined in Article I, Paragraph 102 of this Agree-
             ment, provided such workmen are available for em-
             ployment.

             (C) It is agreed that in connection with the prefer-
             ence out-lined in Subparagraph B., above, up to fifty
             (50%) percent of the employees requested through
             open call (excluding foremen), employed to and
             performing work covered by this Agreement on any
             project may be employees designated by the indi-
             vidual Employer on a standard form to be provided
             by the Union. In case of reduction in force, foremen
             shall not replace other employees on the job, except
             that two (2) foremen may be retained at all times.

             (D) Workmen whose names are entered on said lists
             and who are available for employment.

             (v) With respect to the operation of the Hiring Hall
             described herein and in Article 204 of the current
             Master Labor Agreement, any Workman registered
             on any Carpenters Hiring Hall employment list shall
             have his name stricken therefrom in the event he
             performs work within the recognized craft jurisdic-
             tion of the Union for any Employer or as an Em-
             ployer (in either case without regard to whether the
             Employer is bound to this Agreement or the Master
             Labor Agreement) in the area covered by the Mas-
             ter Labor Agreement other than pursuant to a proper
             Work Referral.

    (b) When ordering workmen of the skills required, the Con-
    tractor will give notice to the Millwright Local 1607 not later
    than 2:30 p.m. of the day prior (Monday through Friday) or,
    in any event, not less than seventeen and one-half (17-1/2)
    hours before the required reporting time, and in the event that
    forty-eight (48) hours after such notice Millwright Local
                      
    1607 shall not furnish such employees, the Contractor may
    procure employees from any other source. If men are so em-
    ployed, the Contractor shall immediately report each such
    employee by name to the Regional Council.

             (i) No employee or applicant for employment will
             be required as a condition of employment or contin-
             ued employment to take any test or sign a waiver of
             lien.

    (c) Employees employed by one (1) or more of the Contrac-
    tors for a period of eight (8) days continuously or accumula-

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   tively shall be or become after the eight (8) day period, or eight
   (8) days after the effective date of this Agreement, whichever
        
   is later, members of the Union and shall remain members of the
   Union as a condition of continued employment. Membership in
   the Union shall be available upon terms and qualifications not
   more burdensome than those applicable at such times to other
   applicants for membership to the Union.

            (i) The Contractor shall discharge any employee
            pursuant to the foregoing section upon written notice
            from the Union of such employee’s nonpayment of
            initiation fees or dues. Such written notice shall in-
            dicate the amount of initiation fees or dues which are
            in a state of delinquency and shall give the employee
            forty-eight (48) hours within which to cure the delin-
            quency. The Contractor agrees to furnish a copy of
            such notice to the employee forthwith.

   (d) Subject to the foregoing, Contractors shall have complete
   freedom of selectivity in hiring and Contractors retain the right
   to reject any job applicant referred by the Union for any reason.
   The individual Contractor is the judge as to the competence of
   all his employees and applicants for employment. All employ-
   ees must perform their work to the satisfaction of the Contrac-
   tor. No employee shall be discharged or discriminated against
   for activities in behalf of, or in representation of the Union not
   interfering with the proper performance of his duties. Any dis-
   charge may be subject to the provisions of Article VI of this
   Agreement, if applicable. The first five (5) days of employment
                               
   of any employee shall be a probationary period during which
   time any terminations will not be challenged, excluding union
   activities.

            (i) The individual Contractor may discharge any
            employee, and upon request of the Business Repre-
            sentative the Contractor shall specify in writing to the
            carpenter the reason for discharge. Disputes shall be
            subject to the provisions of Article VI of this Agree-
            ment, if applicable. The arbitrator (or arbitration
            board) shall be free to sustain the discharge or to find
            discipline other than discharge to be appropriate and
            may order reinstatement with full or partial back pay
            as he (or it) deems appropriate.

   (e) The Contractor may transfer employees who are on the Con-
   tractor’s payroll at the time transfer is made within the area of
   the Union without limitation. The Contractor shall give notice
   to Millwright Local 1607 where work is to be performed on a
   transfer as to the name of the Contractor, the employees trans-

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     ferred and the address of the jobsite. All employees being
     transferred shall procure a work referral from Millwright Lo-
     cal 1607. Additional employees shall be employed in accor-
     dance with the provisions of this Article 2, subparagraph iv.

     4. Travel time on subsistence jobs shall be computed at
     straight time rates based on fifty 50 miles per hour from the
     City Halls of San Bernardino and Los Angeles to the center
     of the jobsite at the beginning and termination of employ-
     ment. However, any employee who quits or is discharged
     for just cause before he has worked for five (5) working days
     on a job shall be entitled to the above mileage payment one
     way only. Employees dispatched to the job and for whom no
     work is provided shall be entitled to travel time.

     5. Mileage payments at the rate of thirty-five cents ($.35)
     per mile shall be paid to Millwrights working beyond the dis-
     tance of ninety (90) road miles from the City Halls of San
     Bernardino, Los Angeles, or San Diego to the center of the
     jobsite at the beginning and termination of employment.
     However, any Employee who quits or is discharged for just
     cause before he has worked for five (5) working days on a job
     shall be entitled to the above mileage payment one way only.
     Employees dispatched to the job and for whom no work is
     provided shall be entitled to the above mileage payment.

     6.   Foreman:

         (a) Where there are two (2) or more Millwrights em-
     ployed on the same shift, one (1) shall receive foreman’s pay.

        (b) No Millwright foreman shall supervise a crew of
     more than ten (10) men, not including himself.

          (c) A Millwright foreman can supervise a crew on one
     (1) jobsite only.

          (d) Millwright foremen assigned responsibility over
     one (1) or more Millwright foremen shall receive three dol-
     lars ($3.00) per hour more than the foreman’s pay and shall
     be called general foreman. Millwright foremen or general
     foremen, as defined above, shall receive three dollars ($3.00)
     per hour more than the highest paid employee he directly and
     continuously supervises for at least one (1) full shift.

     7.   Tools

         (a) The Employer agrees to furnish a substantial and
     weatherproof metal tool storage facility either commercial
     produced, such as KNAACK type, or one of comparable
     dimension and construction, adequately hasped and locked,

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   which is mutually agreed upon by the Employer and the
   Union for the storage and protection of the Millwrights’
   tools and equipment. If all or part of the Millwright’ tools
   and equipment are lost by reason of the failure of the Em-
   ployer to provide such a secure place or by fire, flood or
   theft involving forcible entry, the Employer shall reim-
   burse the employee to a maximum of two thousand dol-
   lars ($2,000.00) per individual for tools not covered by the
   employee’s insurance. Such reimbursement shall be made
   within three (3) working days of a written request by the
   employee. To obtain the benefits of this Section, the em-
               
   ployee must provide the individual Employer with a tool
   inventory at the time he/she commences work unless the
   Employer designates otherwise. The Employer shall have
   inventory sheets available for the employee if he/she should
   require one prior to going to work. The inventory list will
   be completed prior to commencing work.

        (b) The employee shall be compensated for tools spe-
   cifically modified by the Employer; however, any such
   modified tool shall become the property of the Employer.

   8. When an out-of town job is of one (1) day’s duration
   of twelve (12) hours or less, and workmen are paid or fur-
   nished transportation, and paid travel time to and from the
   job, workmen, shall not in addition, be paid subsistence.

   9. On termination Millwrights shall be allowed a reason-
   able amount of time to pick up tools. Millwrights shall be
   allowed a maximum fifteen (15) minute period immediate-
   ly before the end of each shift in which to pick up tools and
   in either case Millwrights shall not leave the job until the
   end of the shift.

   10. When Millwrights are exposed to unusual conditions
   such as heat, cold, dust, dangerous fumes or gases, the
   Contractor shall furnish the necessary safety or protective
   equipment exclusive of clothing. Where safety or protective
   equipment cannot possibly be used, there shall be a meeting
   of the Union and the Contractor to work out a mutually
   agreeable safety practice. The intent of this paragraph is to
   exclude inclement weather or acts of God.

   11. Millwright Welder

        (a) Any special certification test of a qualified Mill-
   wright Welder, taken for the convenience of the Contrac-
   tor, shall be paid for by the Contractor. Before a qualified
                                             
   Millwright Welder commences the welding test, he shall be
   placed on the payroll of the Contractor. A qualified Mill-

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     wright Welder is one who has passed a qualification test
     given by a recognized Testing Laboratory.

          (b) If requested by the employee, the Contractor shall
     furnish the Welder with a copy of the certification papers,
     if the employee remains on the job to its completion or for
     thirty (30) days, whichever comes first.




                                                
     12. Contractors recognize that when overtime work is nec-
     essary, it shall be equally distributed, whenever possible
     among the Millwrights on the jobsite or unit thereof. It is
     recognized that the Contractors reserve the right to select
     the Millwrights involved.

     13. The individual Employer shall replace any tools, owned
     by an employee, modified by the Employer’s request, but
     such modified tool shall then become the property of the
     Employer.

     14. At the sole discretion of the Contractor, there will be a
     Millwright in charge of all tool rooms that have only Mill-
     wright tools, parts and equipment.

     15. Certification If requested by the Employer, Mill-
     wrights who possess a valid, current certification from a
     City, County, State or other recognized entity shall be enti-
     tled to a premium of one dollar ($1.00) per hour above their
     current hourly rate while performing work which requires
     certification.

     16. Shift Differential When two shifts are worked, em-
     ployees on the 2nd shift shall work eight (8) consecutive
     hours, exclusive of a meal period, for which eight (8) hours
     shall be paid at the straight time rate plus a premium of one
     dollar ($1.00) per hour worked. The 3rd shift premium shall
                                       
     be in accordance with the provisions of the Master Labor
     Agreement.

     17. Hazardous Environments The Employer shall comply
     with all applicable state and federal safety regulations.

     18. Letters of Assignment Upon written request by the
     Union, the Employer shall provide the Union with a Letter
     of Assignment on work traditionally and historically per-
     formed by Millwrights.

     19. Drug Testing

              (a) The parties agree to form a joint committee to
     		
     establish a Drug Testing Program. The Employers are willing
     to commit to initial funding of such program by an amount

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   not to exceed $ 0.10 per hour worked. If necessary, addi-




                                             
   tional funding may come from Employer and/or Employee
   contributions as mutually agreeable. The funds expended will
   be used for creating and maintaining such Drug Program and
   the expense of millwright employees completing the Refin-
   ery Safety Orientation Program. The initiation and effective
   dates of this Program will be set by mutual agreement.

            (b) The parties agree to establish the Millwright
   		
   Labor-Management Cooperation Committee, Inc., (“Com-
   mittee”) for the purposes of protecting, improving and ad-
   vancing the interests and welfare of Contractors and employ-
   ees working within the unionized segment of the Millwright
   construction industry. Each signatory member of the Asso-
   ciation and those Employers who are obligated to contrib-
   ute under a collective bargaining agreement with the union
   shall contribute on and after the mutually agreed to effective
   date, the sum of ten cents ($0.10) per hour worked to the
   Millwright Labor-Management Cooperation Committee, Inc.
   The Committee will be a jointly established and administered
   committee formed and created for the above stated purpos-
   es and the Employers hereby adopts and agree to be bound
   by the terms of the Bylaws establishing the Millwright La-
   bor-Management Cooperation Committee Inc. Effective on
   the commencement date of contributions due the Committee
   provided for in this Paragraph 18 (b), the obligation of each
   Employer to contribute ten cents ($0.10) per hour as provided
   in Paragraph 18 (a) shall terminate.
            (c) The provisions of Paragraphs 2002, 2003, 2004
   		
   and 2005 of the Carpenters Master Labor Agreement are in-
   corporated into this Paragraph 18 by reference.

   20. UBC Millwright Labor-Management Industry Promotion
   Fund

            (a) Each Employer shall contribute twenty cents
   		
   ($0.20) per hour worked or paid to the UBC Millwrights
   Labor-Management Industry Promotion Fund ( “Millwright
   Fund”) for the promotion of the Millwright Industry. The
   Employer hereby agrees to be bound by the Agreement and
   Declaration of Trust (“Trust”) for the Millwright Fund as it
   exists and as it may be amended and as to such rules, reg-
   ulations or other governing documents as may be adopted
   pursuant to such Trust.

            (b) The provisions of Paragraphs 2002, 2003, 2004
   		
   and 2005 of the Carpenters Master Labor Agreement are in-
   corporated into this Paragraph 20 by reference.


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   21. Millwright Apprentices

        Millwright apprentices covered by the terms of this
   Agreement shall be paid the following percentages of the
   appropriate Journeyman Millwright’s hourly wage rate as re-
   flected below:

                                                          BENEFIT
      PERIOD     HOURS PERCENTAGE WAGES                    CODE
   Pre-Apprentice 500      40%     16.36                    (1)
   1st Period     650      50%     20.45                    (1)
   2nd Period     650      55%     22.50                    (1)
   3rd Period     650      60%     24.54                    (2)
   4th Period     650      65%     26.59                    (3)
   5th Period     650      70%     28.63                    (3)
   6th Period     650      75%     30.68                    (3)
   7th Period     650      80%     32.72                    (3)
   8th Period     650      85%     34.77                    (3)
   9th Period     650      90%     36.81                    (3)
   10th Period    650      95%     38.86                    (3)
   Journeyman             100%     40.90                    (3)
   Foreman                         43.90                    (3)
   General
   Foreman                         46.90                     (3)


   CONTRIBUTIONS SCHEDULE:

   Code (1) Health and Welfare; Vacation/Supplemental
   Dues ($3.95); Apprenticeship; Cooperation Committee; Con-
   tract Administration; Industry Advancement, Grievance.

   Code (2) Health and Welfare; Vacation/Supplemental
   Dues ($4.95); Apprenticeship; Cooperation Committee; Con-
   tract Administration; Industry Advancement, Grievance.

   Code     (3) Pension; Health and Welfare; Vacation/Supple-
   mental Dues ($4.95); Apprenticeship; Cooperation Committee;
   Contract Administration; Industry Advancement, Grievance.

                          APPENDIX C

        SPECIAL RULES FOR INSULATION AND
        WEATHERSTRIPPING INSTALLERS AND
              FIRESTOP TECHNICIANS

   1.   SPECIAL RULES

        The following Special Rules for Insulation, Weatherstrip-
   ping Installers and firestop Technicians adopt all of the provi-
   sions of the Carpenters Master Labor Agreement, except as such
   provisions are modified or superseded by these Special Rules.

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   2.       APPRENTICESHIP AND TRAINING

       The Employer will make an effort to keep Apprentices
   reasonably employed regardless of period status or advance-
   ment to a higher period of pay.

       Insulation Installer and Weatherstripping Installer Ap-
   prentices covered by the terms of this Agreement shall be
   paid the following percentage of the appropriate Journeyman
   Carpenters hourly wage rate:


                 INSULATOR INSTALLERS &
              WEATHERSTRIPPING APPRENTICE
                                                                  LIGHT
                                 PERCENT-   COMMER-   RESIDEN-   COMMER-   BENEFIT
           PERIOD        HOURS     AGE        CIAL      TIAL       CIAL     CODE
         Pre-
         Apprentice 500 35%                 14.14     10.00      10.00       0
         1st Period 1000 40%                16.16     10.00      10.00      (1)
         2nd Period 1000 50%                20.20     10.00      11.72      (1)
         3rd Period 1000 60%                24.24     10.80      14.06      (2)
         4th Period 800 65%                 26.26     11.70      15.24      (3)
         5th Period 800 70%                 28.28     12.60      16.41      (3)
         6ht Period 600 75%                 30.30     13.50      17.58      (3)
         7th Period 600 80%                 32.32     14.40      18.75      (3)
         8th Period 600 90%                 36.36     16.20      21.10      (3)
         Journey-
         man             100%               40.40     18.00      23.44      (3)


       Contractors will be permitted to utilize a ratio of 1 ap-
   prentice for each journeyman.

        Percentages for residential or light commercial appren-
   tices will be the same as commercial apprentices except that
   wage rates will be calculated from the hourly rate for resi-
   dential or light commercial journeymen as the case may be.
   An apprentice shall be classified as residential or commercial
   based on the type of work being performed at any given time.

        Advancement between periods shall be based on the es-
   tablished work hours in the table above.

   * CONTRIBUTIONS SCHEDULE

   Code (0)              Vacation/Supplemental Dues ($2.95).

   Code (1)              Health and Welfare, Vacation/Supplemental
                    		
                         Dues ($3.95), Contract Administration,
                         Cooperation Committee, Grievance Fund, and
   			
                         Industry Fund.
   			
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     Code (2)         Health and Welfare, Vacation/Supplemental

                		
                      Dues ($4.95), Contract Administration,
                      Cooperation Committee, Grievance Fund, and
     			
                      Industry Fund.
     			
     Code (3)         Pension, Health and Welfare, Vacation/
                		
                      Supplemental Dues, Contract Administration,
     			
                      Cooperation Committee, Grievance Fund, and
     			
                      Industry Fund.
     			
     Note: All classifications of Journeymen and Apprentices and
             
     Pre-Apprentice have vacation/supplemental dues added to
     their wages, taxed, withheld and submitted to the trust fund.

     3.    CARPENTER PRE-APPRENTICE

          Pre-apprentice receives 35% of appropriate Journey-
     man’s rate and is contribution code (0). Pre-apprentices may
     work a maximum of 500 hours before they must go into the
     apprenticeship program. A Pre-apprentice who does not wish
     to become an indentured apprentice shall be dismissed from
     the employers payroll at the end of the 500 hour period. A
     contractor may employ one pre-apprentice for every three (3)
     apprentices.

     4.    RESIDENTIAL AND LIGHT COMMERCIAL WORK

         Residential construction shall be specifically limited to
     work performed in wood frame construction, five (5) stories
     or under, of all single family residences, apartments, condo-
     miniums, motels, inns, hotels, or convalescent homes.

          Light commercial work shall be limited to all other wood
     frame commercial structures and buildings that have con-
     crete block or tilt up exterior walls. Unless modified by Work
     Preservation all other construction will be considered Heavy
     Commercial. (Type I or II)

          A piecework rate of $.0228 per square foot (5,000 sq/
     ft per/day) shall be established for all residential insulation
     work. The minimum wage rate shall be eighteen dollars
     ($18.00) per hour for residential and twenty-three dollars and
     forty-four cents ($23.44) per hour for light commercial work.
     No employee shall receive less than eighteen dollars ($18.00)
     per hour (residential) or twenty-three dollars and forty-four
     cents ($23.44) per hour (light commercial), regardless of
     whether they are paid hourly or at piece rate.

          The wage rate for light commercial work shall be twen-
     ty-three dollars and forty-four cents ($23.44) per hour. Res-
                                                               
     idential installers shall receive health and welfare and va-

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   cation/supplemental dues contributions. Light commercial
   installers shall receive the same fringe benefit contributions
   as commercial installers, except that they shall receive a va-
   cation/ supplemental dues contribution of three dollars and
   ninety-five cents ($3.95) per hour.

        The Union and the Contractor agree to review the wages
   and benefits being paid under this Appendix for residential
   and light commercial work on an annual basis in July. The
   Union may open this Appendix for negotiations over light
   commercial and residential wages upon sixty (60) days no-
   tice prior to July 1, 2017, 2018 or 2019.

        All preliminary residential installation work shall be
   paid for on an hourly basis at the minimum rate of eighteen
   dollars ($18.00) per hour (except for the 1 hour allowance for
   yardmen referred to below). All light commercial work shall
   be paid for on an hourly basis at the minimum rate of twenty
   three dollars and forty four cents ($23.44) per hour (except
   for the 1 hour allowance for yardmen referred to below).

         Fringe benefit contributions for all employees perform-
   ing residential insulation work shall be calculated by dividing
   the classified wage rate into the gross weekly earnings. Bene-
   fit contributions shall be capped at forty (40) hours per week.

       On days when installers are sent out on small residential
   insulation projects with a total of twenty-five hundred (2,500)
   square feet or less, they shall be guaranteed four (4) hours of
   pay at the hourly rate.

   5.   FRINGE BENEFIT CONTRIBUTIONS

        Effective July 1, 2016 fringe benefit contributions for
   residential work will be as follows:

           Health & Welfare                                                                                                $6.85
                                                              . . . . . . . . . . . . 
           Pension                                                                                                         $4.66
                   . . . . . . . . . . . . . . . . . . . . 
           Vacation/Supplemental Dues                                                                                      $3.95
                                                                                                                  . . . 
       Effective thereafter, throughout the life of the Agree-
   ment, the Contractor agrees to maintain contributions for
   these funds in accordance with the Master Labor Agreement.

      Effective July 1, 2016 Fringe Benefits rates for Light
   Commercial work will be as follows:

           Health and Welfare                                                                                              $6.85
                                                                                         . . . . . . . . . . . 
           Pension                                                                                                         $4.66
                   . . . . . . . . . . . . . . . . . . . . 
           Vacation/Supplemental Dues                                                                                      $3.95
                                                                                                                  . . . 
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             Cooperation Committee                                                                                                                                                       $0.26




                                                                                                                                                      . . . . . . . 
             Industry Advancement Fund                                                                                                                                                   $0.08




                                                                                                                                                                               . . . 
             Contract Administration                                                                                                                                                     $0.02




                                                                                                                                                              . . . . . . . 
             Grievance Fund                                                                                                                                                              $0.03




                                                                                                . . . . . . . . . . . . . 
         Effective thereafter, throughout the life of the Agree-
     ment, the Contractor agrees to maintain contributions for
     these funds in accordance with the Master Labor Agreement.

          Effective July 1, 2012 Fringe Benefits rates for Commer-
     cial work will be as follows:

             Health and Welfare                                                                                                                                                          $6.85
                                                                                                                             . . . . . . . . . . . 
             Pension                                                                                                                                                                     $4.66
                      . . . . . . . . . . . . . . . . . . . . 
             Vacation/Supplemental Dues                                                                                                                                                 $4.95*
                                                                                                                                                                               . . 
             Apprenticeship                                                                                                                                                              $0.57
                                                                 . . . . . . . . . . . . . . 
             Cooperation Committee                                                                                                                                                       $0.26
                                                                                                                                                      . . . . . . . 
             Industry Advancement Fund                                                                                                                                                   $0.08
                                                                                                                                                                               . . . 
             Contract Administration                                                                                                                                                     $0.02
                                                                                                                                                             . . . . . . . 
             Grievance Fund                                                                                                                                                              $0.03
                                                                                                . . . . . . . . . . . . . 
          * On commercial work, a pre-apprentice receives two
     dollars and ninety-five cents ($2.95) vacation/supplemental
     dues contribution and 1st and 2nd period apprentices receive
     three dollars and ninety-five cents ($3.95) per hour vacation
     contribution. Throughout the life of the Agreement, the Con-
     tractor agrees to maintain contributions for these funds in ac-
     cordance with the Master Labor Agreement.

     6. FIRESTOP TECHNICIANS - 12 SOUTHERN CAL-
     IFORNIA COUNTIES

     Firestop work, which is covered in this appendix, includes the
     sealing of sleeves, penetrations, holes, chases or openings of
     any kind in drywall, concrete, metal or any other wall form
     material by means of machinery, tools and equipment powered
     by any method, the purpose of which is to seal after the pas-
     sage, placing or installation of and not limited to pipe, conduit,
     tubing or any other material that penetrates a wall.

     Firestop will also include top-of-wall, edge-of-slab and the
     installation of all types of fire resistant pipe. Top of wall and
                                                                                                                                                                                             
     edge of slab are covered by the Drywall Master Agreement
     and are to be paid at commercial drywall wages and benefits.

     Where top-of-wall, edge-of-slab or pipe/duct wrap are part
     of a single “firestop” package, a composite crew may be uti-
     lized, provided the number of employee hours paid at the
     commercial drywall or insulation rate is equivalent to the
     number of work hours attributable to top-of-wall, edge-of-

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   slab and/or pipe/duct wrap work. Article V, Section 503 of
   the Master Agreement shall not apply to firestop work.

   FIRESTOP TECHNICIAN
                                                                                                                                                                                                                                  BENEFIT
        PERIOD                                                 HOURS                                                                      PERCENTAGE                                                                     WAGE      CODE
   Pre Apprentice                                                                                      500                                                           35%                                                 $10.00      0
   1st Period                                                                                         1000                                                           40%                                                 $10.93     (1)
   2nd Period                                                                                         1000                                                           50%                                                 $13.67     (1)
   3rd Period                                                                                         1000                                                           60%                                                 $16.40     (2)
   4th Period                                                                                         800                                                            65%                                                 $17.76     (3)
   5th Period                                                                                         800                                                            70%                                                 $19.13     (3)
   6th Period                                                                                         600                                                            75%                                                 $20.50     (3)
   7th Period                                                                                         600                                                            80%                                                 $21.86     (3)
   8th Period                                                                                         600                                                            90%                                                 $24.60     (3)
   Journeyman                                                                                                                                                       100%                                                 $27.33     (3)

   Effective July 1, 2016, Fringe Benefit Contributions for
   Firestop work will be as follows:
           Health and Welfare                        $6.85
                                                                                                                                           . . . . . . . . . . . 
           Pension                                   $4.66
                    . . . . . . . . . . . . . . . . . . . . 
           Vacation/Supplemental Dues                $4.95
                                                                                                                                                                                                                . . . 
           Apprenticeship . . . . . . . . . . . . . .$0.57
           Cooperation Committee                     $0.26
                                                                                                                                                                                        . . . . . . . 
           Industry Advancement                      $0.08
                                                                                                                                                                     . . . . . . . . 
           Contract Administration                   $0.02
                                                                                                                                                                                               . . . . . . . 
           Grievance Fund                            $0.03
                                                                                                             . . . . . . . . . . . . . 
           TOTAL                                   $17.42
                                                               . . . . . . . . . . . . . . . . . . 
   * CONTRIBTIONS SCHEDULE

   Code (0)      Vacation/Supplemental Dues ($1.53).

   Code (1)     Health and Welfare, Vacation/Supplemental
            		
   Dues ($3.95), Contract Administration, Cooperation Com-
   mittee, Grievance Fund, and Industry Fund.

   Code (2)     Health and Welfare, Vacation/Supplemental
            		
   Dues ($4.95), Contract Administration, Cooperation Com-
   mittee, Grievance Fund, and Industry Fund.

   Code (3)     Pension, Health and Welfare, Vacation/Supple-
            		
   mental Dues, Contract Administration, Cooperation Commit-
   tee, Grievance Fund, and Industry Fund.

   7.   TOOLS AND EQUIPMENT

        Employees are required to supply all necessary hand
   tools. Scaffolding Systems, Ladders, electrical cords and
   power tools are supplied by the employer.
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          Any additional tools and/or equipment will be issued to
     the employee for retention during his period of employment
     with the Contractor. The employee shall return all such tools
     and/or equipment when employment is ended with said Con-
     tractor.

     8.   YARDMEN

          It is mutually agreed that all handling, loading and super-
     vision of material in the Contractors yard including delivery
     work of the Insulator and employees engaged in the above
     work shall be covered by these working rules and all other
     provisions in this Labor Agreement.

          Yardmen shall be permitted to do preliminary work on
     the jobsite. Yardmen shall be limited to 1 hour per day per
     job of preliminary installation work. If more than 1 hour of
     preliminary work is performed, all job site work performed
     by the yardmen shall be compensated at the rate of $18.00 per
     hour.

          The Contractor shall be limited to two yardmen per ten
     installation employees.

          The minimum wage rate for yardmen shall be ten dollars
     ($10.00) or minimum wager per hour. No current yardmen
                                                                     
     shall receive a reduction in pay as a result of the signing of
     this Agreement.

         Fringe benefits contributions for Yardmen will be as fol-
     lows:

             Health and Welfare                                         $6.85
                                 . . . . . . . . . . . 
             Vacation/Supplemental Dues                                 $3.95
                                                          . . . 
         Health and Welfare contributions will begin on the 31st
     day of work.

         Effective thereafter, throughout the life of the Agree-
     ment, the Contractor agrees to maintain contributions for
     these funds in accordance with the Master Labor Agreement.

     9.   JOB TRAVEL

           Employees shall travel to and from their work on their
     own time and by means of their own transportation. Em-
     ployees shall be paid for loading, unloading and handling of
     materials, and travel from job to job, shop to job, or job to
     shop. This provision will not require payment of travel time
     if a contractor makes available on a voluntary basis company
     vehicles for travel from shop to job.

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   10. POLYSEAL

        A Polyseal piece rate shall be established at $0.005 per
   foot or $18.00 per hour minimum for a journeyman. No em-




                                                            
   ployee shall receive less than $18.00 per hour regardless of
   whether wages are calculated on an hourly or piece rate basis.

   10. JOB REGISTRATION

        Contractors will be required to register with the Union
   all jobs except for individual single family custom homes or
   room additions. Registration is to be made prior to the start
   of the job and on a form provided by the Union. Each Con-
   tractor shall notify the Union in writing, on a uniform job
   registration form to be provided by the Union of the location
   of each job on which he will be performing work and shall
   contain all the information required by the Union to assist it
   in monitoring the compliance with the Agreement. On jobs
   where the time factor does not permit registration of jobs
   prior to their commencement, the contractor shall notify the
   Regional Council office by telephone giving all pertinent in-
   formation regarding that specific job. Such notification must
   be confirmed in writing on the regular Job Registration Form
   by the Contractor to the Union within 48 hours thereafter.
   The Union may withhold or withdraw workers from jobs that
   are not registered. The Union shall also be entitled to receive
   upon request a list of all of a contractors current jobs.

   11. WHISTLEBLOWER PROVISION

        To prevent misclassifying commercial/light commercial/
   residential work or underpayment of employees, it is agreed
   that any Contractor who intentionally misclassifies work in
   order to utilize a lower wage rate, or who intentionally pays
   below contractual scale, shall be subject to liquidated damag-
   es equal to 10% of the value of the insulation contract on the
   project. This is imposed as liquidated damages, and not as a
   penalty, in light of the difficulty of assessing the precise dam-
   ages suffered by the parties to this agreement as a result of
   such a breach of the agreement. Liquidated damages shall be
   imposed by the arbitrator or Joint Adjustment Board as pro-
   vided in the Master Labor Agreement. To encourage employ-
   ees to report such violations, any liquidated damages imposed
   under this Section shall be paid to the employee or employees
   who file the grievance and establish(es) the violation.

   12. San Diego County

   For work Performed in San Diego County the wage and ben-
   efit package shall be as follows:

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     Journeyman Commercial Lt. Commercial Residential



                               		
                  $28.57        $20.40      $18.00

     Benefit Contributions

       Pension        $4.66           $4.66                                       $4.66
               . . . . . . .
                                         . . . . . . . . . 
                                                              . . . . . . . . .
       Health &
       Welfare        $6.85           $6.85                                       $6.85
               . . . . . . .
                                         . . . . . . . . . 
                                                              . . . . . . . . .
       Apprenticeship $0.57
                                    .
       Vacation/Supplemental Dues $4.95

     During the life of this agreement the Contractor agrees to in-
     crease benefit contributions as called for in the UGC Master
     Labor Agreement, San Diego Appendix.

                                        APPENDIX D

                               SPECIAL WORKING RULES
                                FOR REMOTE PROJECTS

     This Appendix is applicable only to remote projects as de-
     fined herein.

     1. The Contractors and the Union, recognizing the mutual
     need for special working rules governing the employment of
     employees on work other than the construction of separate
     buildings on remote projects, as hereinafter defined, hereby
     agree that:

          (a) A remote project is an engineering or highway proj-
     ect, consisting of one (1) or more of the types of work enu-
     merated in Article I, Paragraph 102, of the Carpenters Mas-
     ter Labor Agreement which is so located as to require the
     provisions of special living facilities for the employees on
     or immediately adjacent to the project, which living facili-
     ties shall comply with the standard established by California
     State Law governing camps, and no other project shall be
     considered remote except by mutual consent of the signatory
     parties hereto.

         (b) In no event shall these special working rules govern
     nor apply to the employment of employees engaged in the
     construction of separate buildings not an integral part of the
     engineering or highway structures, such as permanent or tem-
     porary living quarters, offices, shops or warehouses, etc.

          (c) In the event a dispute arises as to whether these Spe-
     cial Working Rules or the Working Rules shall apply to any
     project, such dispute shall be adjusted in accordance with the
     provisions of Article VI of this Agreement.


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   2. Single Shift. Eight (8) consecutive hours, exclusive of
   lunch period between 5:00 a.m. and 5:00 p.m., shall constitute a
   days work. Forty hours, Monday 5:00 a.m. through Friday 5:00
   p.m., shall constitute a weeks work.

         All overtime Monday through Friday shall be at the rate
   of one and one-half (1½) the regular straight time hourly rate
   for the first four hours of overtime worked and shall be paid at
   double the straight time hourly rate after twelve hours of work.
   Saturday, unless it is a makeup day, shall be at the rate of one
   and one-half (1½) times the straight time rate for the first eight
   (8) hours of work and double (2) the straight time hourly rate
   after eight hours of work. All hours worked on Sundays and
   Holidays shall be paid at double the straight time hourly rate.

   3. Multiple Shifts. When so elected by the Contractor, mul-
   tiple shifts may be worked for five or more consecutive days,
   provided that the Union is notified twenty-four (24) hours in ad-
   vance of the effective date of the starting of such multiple shift
   operations. The Contractors shall have the right to designate the
   craft, or crafts, on any project or portion thereof who shall work
   on a multiple shift basis; provided, however, that men working
   on multiple shifts shall not be interchangeable with those work-
   ing on a single-shift basis. In no event shall the regular working
   hours or different shifts overlap, nor shall any interval between
   shifts exceed the reasonable time necessary to change shifts,
   and in no event shall such interval exceed one (1) hour.

        (a) If the Contractor elects to work the day shift between
   5:00 a.m. and 5:00 p.m., that shift shall work eight (8) consec-
   utive hours, exclusive of lunch period, and other shifts shall
   work eight (8) consecutive hours, exclusive of lunch period, for
   which working time workmen on each shift shall receive eight
   (8) hours pay at straight-time rates, Mondays through Fridays.

        (b) On projects where only two (2) shifts are worked, the
   Contractor may regulate the starting time of the two (2) shift
   operation to permit the maximum utilization of daylight hours,
   and each shift shall work seven and one-half (7 ½) consecutive
   hours, exclusive of lunch periods, for which working time em-
   ployees on each shift shall receive (8) hours pay at straight-time
   rates Monday through Fridays.

   4.   Shift Overtime:

        (a) Any time worked, except as provided in Paragraph 2,
   below, from Friday midnight to Saturday midnight or in excess
   of the regular shift hours provided above, shall be paid for at
   one and one-half (1½) times the straight-time rate. Any time
   worked from Saturday midnight to Sunday midnight or on hol-

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     idays shall be paid for at two (2) times the straight-time rate.
     Overtime rates shall not be paid on shift premium pay.

          (b) On a three (3) shift operation starting at 7:00 a.m.
     Monday, the 15th or Friday graveyard shift ending on or be-
     fore 7:00 a.m. Saturday morning will be considered Friday
     work. The Saturday graveyard shift ending on or before 7:00
     a.m. Sunday morning will be considered Saturday work. The
     Sunday graveyard shift ending on or before 7:00 a.m. Mon-
     day morning will be considered Sunday work.

          (c) On three (3) operations, the Contractor may deviate
     the starting time of the day shift by the same procedure pro-
     vided in Article XVI, Paragraph 1602.2. of the Carpenters
     Master Labor Agreement. Abuse by the Contractor of the de-
     viation arrangement may be referred for adjudication to the
     grievance procedure.

     5.   Special Shifts:

     It is agreed that the Contractors and the Union may mutually
     agree in writing upon different starting or quitting times for
     any of the above-mentioned shift arrangements.

     6. Any employee reporting for work at the regular starting
     time and for whom no work is provided shall receive pay for
     two (2) hours at the stipulated rate for so reporting unless he
     has been notified before the end of his last preceding shift
     not to report; and any employee who reports for work and
     for whom work is provided shall receive not less than four
     (4) hours pay; and, if more than four (4) hours are worked
     in any one (1) day, shall receive not less than a full days pay
     therefor; unless prevented from working for reasons beyond
     the control of the Contractor, including, but not limited by,
     such factors as inclement weather or a breakdown causing
     discontinuance of a major unit of the project, during which
     time employees are not required or requested to remain on
     the project by the Contractor or his agent. Employees re-
     ferred under Article II to the Contractors jobs who arrive in
     an unfit condition for work, without proper tools, credentials
     or who are not ready to go to work or who are not otherwise
     qualified shall not be paid show-up time.

     7. Employees shall travel to and from their work on their
     own time and by means of their own transportation.

     8. No employees shall be required to work more than five
     (5) hours consecutive without a half-hour meal period.

          Meal periods may be staggered to meet the job requirements.

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   9. All wages must be paid weekly on the job. When men
   are laid off or discharged, they must be paid wages due them
   at the time of layoff or discharge, in accordance with the pro-
   visions of the California State Labor Code.

                         APPENDIX E
                Special Working Rules for
                  Acoustical Installers

   1. The following Special Working Rules for Acoustical
   Installers adopt all the provisions of the Carpenters Master
   Labor Agreement, except as such provisions are modified and
   superseded by these Special Working Rules.

   2.   Apprenticeship

       (a) There is hereby established a training program and a
   Local Training Committee for this occupation.

        (b) No Acoustical Installer apprentice shall be allowed
   to work without a journeyman in the crew. The ratio of
   Acoustical Installer apprentice shall be one (1) apprentice to
   four (4) journeymen.

        (c) The workday, workweek and working conditions
   associated therewith shall be the same for the Acoustical In-
   staller apprentices as the journeyman.

   3. Related Instruction: The Local Joint Apprenticeship
   Committee shall consist of three (3) representatives of the
   Union and three (3) representatives of the Contractors who
   shall meet and establish standards for a training program.
   Should the Local Joint Apprenticeship Committee find that
   its work load warrants the establishment of additional Train-
   ing Committees in other areas covered by the Agreement, the
   Committee shall give prompt consideration to the establish-
   ment of such other Committees.

   4. Tools: The following tools, when needed, shall be fur-
   nished by the individual Employer, and shall not be furnished
   by the employees: (1) Pop Riveters; (2) Whitney Punchers;
   (3) Water Levels; and (4) Staple Guns. The foregoing tools
   will be issued to the employee for retention during his peri-
   od of employment with the Contractor. The employee shall
   return all such tools to the Contractor, at such time as the
   employee severs his employment with the Contractor.

   5. The provisions of Paragraph 1609 shall apply to any em-
   ployees working on Saturdays, Sundays or holidays.

   6.   Subsistence
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           (a) When an employee is required to remain overnight
     at a location away from his home, the Contractor shall pay for
     expenses incurred by the employee at the rate of $45.00 per
     day, or actual expenses, whichever is less.

          (b) Where payment is applicable, payment shall be
     made to the employee who turns in receipts to indicate the
     necessity of such expense. Such receipts may be turned in
     weekly or on termination of the requirement, whichever oc-
     curs sooner.

     7. Acoustical Industry Fund.           For the purpose of pro-
     tecting, improving and advancing the interests and welfare of
     the acoustical industry, its individual contractors and employ-
     ees, Contractors agree to contribute the sum of twenty-three
     cents ($0.23) per hour for each hour worked or paid for by
     employees performing work covered by this Agreement on
     Acoustical Installation to the Acoustical Industry Advance-
     ment Fund, a Taft-Hartley Trust Fund which is jointly admin-
     istered and created for this purpose. The Contractor adopts
     and agrees to be bound by the terms of the Trust Agreement
     establishing the Acoustical Industry Advancement Fund, and
     further agrees to observe and be bound by the actions and
     determination of the Board of Trustees of said Trust.

     8. Work Preservation Committee. The parties will estab-
                                            
     lish a Work Preservation Committee consisting of three rep-
     resentatives designated by the Union and three representa-
     tives designated by the Acoustical Contractors Association.
     The Committee will be authorized to approve modifications
     to this Agreement on a project-by-project or area wide basis
     for the purpose of increasing the competitiveness of union
     contractors and preserving work opportunities for union em-
     ployees and employers. The Committee will also be autho-
     rized to adopt rules and regulations governing its operation.
     Any modifications must be approved by at lease one member
     appointed by management and one appointed by labor.

     9. Industry Advancement               The parties will have
     monthly meetings to address and resolve Acoustical Indus-
     try issues. The Acoustical Apprenticeship Committee will
     meet with the parties to revise the apprentice program to pro-
     vide more acoustical course work and to review the current
     steps and hours of the program. Journeyman training will be
     provided and a certification program in different aspects of
     acoustical work will be created.

     12. Job Registration     Each Contractor shall notify the
     Union in writing, on a uniform job registration form to be
     provided by the Contract Administration Committee, of the

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   location of all new projects on which he will be performing
   work covered by the Agreement on Acoustical Installation
   (Agreement). Such notice shall be given at least 48 hours pri-
   or to the commencement of work and shall contain all the
   information required by the Contract Administration Com-
   mittee. The Union may withhold or withdraw workers from
   the contractor for failure to comply with the job registration
   requirements.

   13. Bonding

       (a) Each Contractor providing more than incidental
   acoustical work shall secure the payment of all trust fund
   contributions and wage and money payments required by the
   Agreement by posting a surety bond in the amount of not less
   than $10,000.00.

        (b) The parties to the Contract Administration Com-
   mittee established in the Drywall/Lathing Master Agreement
   have agreed to the establishment and operation of the Griev-
   ance Obligation Trust Fund to satisfy the requirements to se-
   cure the payment of all Trust Fund contributions, wages and
   money payments (excluding waiting time and/or liquidated
   damages) required by the Agreement. Each Contractor or its
   successor bound to this Agreement shall pay to the Contract
   Administration Committee, an annual fee of $250.00, or such
   other sum as may be determined by the directors of the Con-
   tract Administration Committee, as such Employer’s contri-
   bution to the Grievance Obligation Trust Fund.

        (c) If for any reason the Grievance Obligation Trust
   Fund ceases to function during the term of this or its suc-
   cessor Memorandum of Understanding, then each Contractor
   shall acquire a surety bond as outlined in (a) above.

   Acoustical Installer Apprenticeship

   Effective July 1, 2016 Acoustical Apprentices covered by the
   terms of this Agreement shall be paid the following percent-
   ages of the appropriate Journeyman’s hourly wage rate as
   reflected below:
                                                        BENEFIT
       PERIOD        HOURS     PERCENTAGE      WAGE      CODE
   Pre-Apprentice      500         35%         14.14       0
   1st Period         1000         50%         20.20      (1)
   2nd Period         1000         55%         22.22      (1)
   3rd Period         1000         60%         24.24      (2)
   4th Period         1000         65%         26.26      (3)
   5th Period         1000         70%         28.28      (3)
   6th Period          700         75%         30.30      (3)

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     7th Period                                                 700                                                       80%                                                  32.32   (3)
     8th Period                                                 600                                                       90%                                                  36.36   (3)
     Journeyman                                                                                                           100%                                                 40.40   (3)
               Pension                      $4.66
                     . . . . . . . . . . . . . . . . . . . . 
               Health & Welfare             $6.85



                                                                                               . . . . . . . . . . . . 
               Vacation/Supplemental Dues   $4.95




                                                                                                                                                                      . . . 
               Apprenticeship Training      $0.57



                                                                                                                                                . . . . . . 
               Cooperation Committee        $0.26


                                                                                                                          . . . . . . . 
               Acoustical Industry Fund     $0.23

                                                                                                                                                       . . . . . . 
               Industry Advancement Fund    $0.08

                                                                                                                                                                      . . . 
               Contract Administration     $0.02*                                                                                . . . . . . 
               Grievance Fund             $0.03**
                                                                      . . . . . . . . . . . 
     * $0.07 for Members of the AGC, BIA, SCCA, ECA and MEA
     ** Not paid by Members of AGC, BIA, SCCA and ECA

     CONTRIBUTIONS SCHEDULE:

     Code (0)      Vacation /Supplemental Dues ($2.95)
            
     Code (1)     Health and Welfare; Vacation/Supplemen-
     tal Dues ($3.95); Apprenticeship; Cooperation Committee;
     Acoustical Industry Fund; Contract Administration; Industry
     Advancement, Grievance.

     Code (2)     Health and Welfare; Vacation/Supplemen-
     tal Dues ($4.95); Apprenticeship; Cooperation Committee;
     Acoustical Industry Fund; Contract Administration; Industry
     Advancement, Grievance.

     Code (3)    Pension; Health and Welfare; Vacation/Sup-
     plemental Dues ($4.95); Apprenticeship; Cooperation Com-
     mittee; Acoustical Industry Fund; Contract Administration;
     Industry Advancement, Grievance

                                                                 APPENDIX F

               Special Rules for Residential and
                     Allied Construction

     1. Work Jurisdiction: In addition to the Working Rules
     contained in the Carpenters Master Labor Agreement, (here-
     inafter referred to as the MLA), the following Special Rules
     for Residential and Light Commercial Framing and Allied
     Construction shall pertain to the wages to be paid as well
     as the manner in which fringe benefit contributions shall be
     handled on all rough and finish carpentry work performed
     in wood frame construction of all single family residences,
     apartments, condominiums, motels, inns, hotels or conva-
     lescent homes, in the Twelve Southern California Counties,

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   namely, Los Angeles, Orange, Riverside, San Bernardino,
   Ventura, Kern, Inyo, Mono, Imperial, Santa Barbara, San
   Luis Obispo and San Diego.

        The MLA and Appendix F will also be applicable to all
   wood frame construction on any commercial project except:
   (a) projects with a total project cost, excluding land, in excess
   of 5 million dollars; (b) work on panelized roof structures; (c)
   concrete form work; (d) public work projects; and (e) Trust
   funded projects. In San Diego County, there will be no dollar
   limit on the size of the project as long as it is a wood frame
   project of four stories or less. All jobs covered by this provi-
   sion shall be registered as provided for in this Appendix F.
   Commercial projects which do not come within the terms of
   this paragraph shall be done under the wages, hours and other
   conditions specified in the Carpenters Master Labor Agree-
   ment unless a special exemption is approved by the Work
   Preservation Committee as provided for in Article XXVII of
   the MLA. The Work Preservation Committee shall establish
   a subcommittee specifically to hear requests submitted under
   this Appendix.

   2. Registration:             The signatory Contractor, and his
   subcontractors, if any such work is subcontracted to any tier
   of Contractors, must both register the job or project with the
   Appendix F Administrator of the Field Office of the Southern
   California Carpenters Trust Funds and the Regional Council
   prior to the start of construction and supply all requested in-
   formation on a uniform Job Registration Form supplied by
   the Trust Field Office.

   3. Timing of Registration:           Each Contractor shall
   notify the Union in writing, on a Job Registration Form to
   be provided by the Appendix F Administrator, of the location
   of each job on which he will be performing work covered
   by this Agreement. Such notice shall be given prior to the
   commencement of work. On jobs where the time factor does
   not permit the registration of jobs prior to their commence-
   ment, the Contractor shall notify the Regional Council office
   by telephone giving all pertinent information regarding that
   specific job. Such notification must be confirmed in writing
   on the regular Job Registration Form by the Contractor to
   the Appendix F Administrator within forty-eight (48) hours
   thereafter. The Union may withhold or withdraw workmen
   or employees from the Contractor for failure to comply with
   this Paragraph. A grievance may also be filed by the Union
   or the Trust Funds for noncompliance with job registration
   requirements.


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     4. Union Remedies:          The Union shall have the right to
     take any legal or economic action including withdrawal of
     services and strike action against any Contractor that:

          (a) fails or refuses to abide by a decision of the Arbitra-
     tor under Article VI of the MLA;

          (b) fails or refuses to pay benefit hours as required by
     this Appendix; or

          (c) fails or refuses to register a job as required under
     this Appendix.

     5. Payroll Checks and Trust Fund Remedies:
     All money paid to employees covered by this Appendix must
     be shown on the Contractor’s payroll; and the employee’s
     payroll check shall show the number of benefit hours paid.
     Payments by second check or cash are prohibited. If such vi-
     olations are found or if a Contractor fails or refuses to register
     a job as provided under this Appendix, then the Trust Funds
     may follow any one of three alternatives:

        (a) Follow the formula of Articles I, XVII, XX, XXI,
     XXII, and XXIII of the MLA.

          (b) Take the square footage including garages, carports,
     porches, overhangs, breeze ways, atriums, balconies, and en-
     tryways and estimate the number of hours per 100 square feet
     worked on the particular project and multiply said hours by
     the fringe benefit rates.

          (c) Determine the contract price on the particular proj-
     ect and estimate the hours from it, then multiply those hours
     by the fringe benefit rates.

     6. Trust Fund Damages:               Whenever any of the
     above alternatives are used in determining fringe benefits
     due, liquidated damages along with interest as provided for
     in the MLA and/or Carpenters Trust Agreements for Southern
     California, legal fees, and audit costs, as determined by the
     Trust Funds, shall be added from the due dates.

     7. Pneumatic Nailers: For purposes of determining
     monies due the Trust Funds in applying the alternative com-
     putations in the event of failure to timely comply with the
     procedures of this Appendix, pneumatic nailers on a rental or
     lease basis will not be included in such calculations.

     8. Journeymen Scale: Effective July 1, 2016 and not-
     withstanding anything else to the contrary in the MLA, scale
     for journeymen carpenters preforming work covered by this

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   Appendix shall be twenty nine dollars and fifty-five cents
   ($29.55.) Any lower or negotiated wage, or any system
                
   of paying on a piece work basis, must be approved by the
   Work Preservation Committee prior to the start of the job.
   If the Work Preservation Committee approves a manner of
   payment other than on an hourly basis it will also establish
   criteria for calculating the fringe benefit hours owed for such
   work. For wage increases see Article XVIII.

   9. Apprentices:           Apprentices performing work
   covered by this Appendix shall be paid the following per-
   centage of said journeymen scale:

                                                                                                                                                                                                                                                                   BENEFIT
         PERIOD     HOURS                                              PERCENTAGE                                                                                                                                                                          WAGE     CODE
   1st Period        1000                                                                                                                       40%                                                                                                        11.82        (1)
   2nd Period         600                                                                                                                       50%                                                                                                        14.78        (1)
   3rd Period         600                                                                                                                       60%                                                                                                        17.73        (2)
   4th Period         600                                                                                                                       65%                                                                                                        19.21        (3)
   5th Period         600                                                                                                                       70%                                                                                                        20.69        (3)
   6th Period         600                                                                                                                       75%                                                                                                        22.16        (3)
   7th Period         600                                                                                                                       80%                                                                                                        23.64        (3)
   8th Period         600                                                                                                                       90%                                                                                                        26.60        (3)
   Journeyman                                                                                                                                  100%                                                                                                        29.55        (3)
          * Contribution Schedule effective 7/1/2016
   (1)        Health and Welfare                                                                                                                                                                                                                              $6.85
                                                                                                                                               . . . . . . . . . . . . . . 
              Apprenticeship                                                                                                                                                                                                                                  $0.57
                                                                       . . . . . . . . . . . . . . . . . 
              Vacation/Supplemental Dues                                                                                                                                                                                                                      $3.95
                                                                                                                                                                                                                                            . . . . . . 
              Cooperation Committee                                                                                                                                                                                                                           $0.26
                                                                                                                                                                                                             . . . . . . . . . . 
              RCA Industry Fund                                                                                                                                                                                                                               $0.08
                                                                                                                                                                              . . . . . . . . . . . . . . 
                                                                                                                                                                                                                                                                     
              Contract Administration                                                                                                                                                                                                                         $0.02
                                                                                                                                                                                                                     . . . . . . . . . . 
              Grievance Trust                                                                                                                                                                                                                                 $0.03
                                                                                                            . . . . . . . . . . . . . . . . 
   (2)        Health and Welfare                                                                                                                                                                                                                              $6.85
                                                                                                                                               . . . . . . . . . . . . . . 
              Vacation/Supplemental Dues                                                                                                                                                                                                                      $4.95
                                                                                                                                                                                                                                            . . . . . . 
              Apprenticeship                                                                                                                                                                                                                                  $0.57
                                                                       . . . . . . . . . . . . . . . . . 
              Cooperation Committee                                                                                                                                                                                                                           $0.26
                                                                                                                                                                                                             . . . . . . . . . . 
              RCA Industry Fund                                                                                                                                                                                                                               $0.08
                                                                                                                                                                              . . . . . . . . . . . . . . 
              Contract Administration                                                                                                                                                                                                                         $0.02
                                                                                                                                                                                                                     . . . . . . . . . . 
              Grievance Trust                                                                                                                                                                                                                                 $0.03
                                                                                                            . . . . . . . . . . . . . . . . 
   (3)        Pension                                                                                                                                                                                                                                         $4.66
                      . . . . . . . . . . . . . . . . . . . . . . . 
              Health and Welfare                                                                                                                                                                                                                              $6.85
                                                                                                                                               . . . . . . . . . . . . . . 
              Vacation/Supplemental Dues                                                                                                                                                                                                                      $4.95
                                                                                                                                                                                                                                            . . . . . . 
              Apprenticeship                                                                                                                                                                                                                                  $0.57
                                                                       . . . . . . . . . . . . . . . . . 
              Cooperation Committee                                                                                                                                                                                                                           $0.26
                                                                                                                                                                                                             . . . . . . . . . . 
              RCA Industry Fund                                                                                                                                                                                                                               $0.08
                                                                                                                                                                              . . . . . . . . . . . . . . 
              Contract Administration                                                                                                                                                                                                                         $0.02
                                                                                                                                                                                                                     . . . . . . . . . . 
              Grievance Trust                                                                                                                                                                                                                                 $0.03
                                                                                                            . . . . . . . . . . . . . . . . 
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          (b) Notwithstanding any other provision in the MLA or
     this Appendix, the Contractor shall be allowed to have up to
     one (1) apprentice for each journeyman on projects covered
     by this Appendix provided the work can be safely performed
     with such a ratio and approval is first obtained from the Sec-
     retary of the Regional Council.

     10. Maintenance of Benefits:        The Contractor agrees to
     maintain fringe benefit contributions at the level called for in
     the Carpenters Master Labor Agreement. (See Attachment 1
     to MLA).

     11. Fringe Benefit Cap: For all work covered by this Ap-
     pendix there will be a forty (40) hour per week cap on all
     fringe benefit contributions. There will not be a seven hour
     per day cap (benefits on overtime hours shall be paid on the
     basis of hours worked or paid for). To take advantage of this
     cap the job must be properly registered.

     12. Supplemental Dues Effective July 1, 2016 Contrac-
     tor agrees to contribute to the Southwest Carpenters Vacation
     Trust the amount of one dollar and fifty-three cents ($1.53)
     cents per hour for each benefit hour paid for work performed
     by employees under this Appendix. Said amount shall be sub-
     ject to change to conform to increases to the contribution rate
     established by the Southwest Carpenters Vacation Trust. See
     Article III and XXII of the MLA. Supplemental dues shall be
     paid separately from and not deducted from any piece rate
     approved by the Work Preservation Committee.

     13. No Premium For Power Equipment: No Contractor
     shall be requested to pay any premium rate for any work cov-
     ered by this Appendix, including a premium for any employ-
     ee operating a semi-mobile self-erecting tower crane, forklift,
     pettibone, leod or any other type of power equipment used to
     move materials around the jobsite all of which come within
     the work jurisdiction clause of the MLA and this Appendix F.

     14. Term: This Appendix F shall extend through June 30,
     2020 and from year to year thereafter. This Appendix may be
     terminated by either party giving notice to the other at least
     sixty (60) days prior to the termination date of this Appendix.
     Termination of this Appendix shall not terminate the MLA.
     In the event this Appendix is terminated by either party prior
     to the termination date of the MLA, and no new Appendix is
     agreed upon, all work covered by this Appendix shall be per-
     formed under the terms of the MLA, except that any project
     started under this Appendix, and properly registered, may be
     completed under the terms of this Appendix.


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                         APPENDIX G

    SPECIAL WORKING RULES FOR DIVERS ON
            CONSTRUCTION WORK

                          ARTICLE I

   The following Special Working Rules for Divers on Con-
   struction Work are in addition to all the provisions of the
   Carpenters Master Labor Agreement and Appendix A, which
   govern the employment of divers and tenders on construction
   work, except as modified by these Special Working Rules.

   It is understood that there may be other agreements affect-
   ing the employment of Divers under Appendix G. The terms
   and conditions of these agreements will be available to any
   Employer signatory to this Agreement. The terms of this Ap-
   pendix G Diving Agreement are open to further negotiations
   when the Employer and Union agree that a specific project
   requires further evaluation.

                         ARTICLE II
                        DEFINITIONS:

   (1) DIVE SUPERVISOR/DIVE MASTER: A Diver Su-
   pervisor/Dive Master will be added to dive crew/team when
   it is required by a regulatory agency, when deemed necessary
   by the contractor for dive operations, or when working a crew
   of 5 or more including the Dive Supervisor/Dive Master. A
   Dive Supervisor/Dive Master shall not dive except in a life
   threatening emergency. If a Dive Supervisor/Dive Master is
   listed on the job he will be the D.P.I.C.

   (2) DIVER: A Diver is a person who wears a type of diving
   gear which directly supplies him compressed air or other gas-
   es for breathing purposes and who personally enters and de-
   scends below the surface of the water, or any liquid medium,
   to work at the ambient pressures encountered therein. For
   the purposes of this Agreement, a person working in a sub-
   merged one atmosphere bell/vehicle is considered a Diver.

   (3) STANDBY DIVER: A Stand-By Diver is a person re-
   quired to be on duty for any day or part thereof, but who has
   not been required to descend below the surface of the water
   or any liquid medium or be put under pressure in a chamber.
   A Stand-By Diver is also a person, dressed in at the dive loca-
   tion, immediately available to assist a Diver in the water for
   safety purposes.

   (4) TENDER: A Tender is a person who, from above the

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     surface of the water or liquid medium, aids and assists the
     Diver by coordinating topside activity; aids in dressing and
     undressing the Diver; maintains communications with the
     Diver; and generally maintains the diving equipment on the
     jobsite.

     (5) ASSISTANT TENDER: An Assistant Tender is an ex-
     tra Tender available to assist the Diver’s regular Tender by
     handling tools, equipment and diver’s hose.

     (6) MANIFOLD OPERATOR: A technician qualified to
     operate a manifold and/or mixer of helium, oxygen or oth-
     er gases for the purposes of providing the proper mixture of
     these breathing gases to the Diver or Divers

     (7) FSW:     Feet of Sea Water or equivalent static pressure
     head.

     (8) D.P.I.C.: Designated person in charge (per OSHA regu-
     lations) or as designated by Contractor.

     (9) DIVE SUPERINTENDENT: A Dive Superintendent
     will be added to the dive crew/team when deemed necessary
     by the contractor for dive operations, when diving mixed gas
     (HEO2), or when saturation diving modes are used. A des-
     ignated Dive Superintendent shall not dive except in a life
     threatening emergency. If a Dive Superintendent is listed on
     the job he will be the D.P.I.C.

                          ARTICLE III
                          PAY SCALES

     Any classification of Dive, crew or team shall receive a mini-
     mum of eight (8) hours pay at the appropriate pay rate for any
     day or part thereof worked.

     A. DIVER’S REGULAR HOURLY RATE: Pile Driver
     Foreman’s hourly rate plus one dollar ($1.00) per hour.

     B. WET PAY: The premium a Diver is paid for actually
     descending below the water’s surface. This amount shall be
     equivalent to the Diver’s regular hourly rate.

     C. STANDBY DIVER: A diver who is not required to
     dive shall receive the Diver’s regular hourly rate.

     D. DIVER DIVING:

          1. A Diver who is required to descend from the surface
     shall receive the Diver’s regular hourly rate, plus a wet pay
     rate equivalent to the Diver’s Regular hourly rate, for depths

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   up to and including fifty (50) feet. When it is necessary for
   a Diver to descend below the surface of the water to depths
   in excess of fifty (50) feet, a depth premium according to the
   following schedule shall be paid, in addition to the Diver’s
   regular hourly rate plus wet pay as determined above:

   DEPTH BELOW                             AMOUNT OF
   WATER SURFACE (FSW)               PREMIUM PER FOOT

   50 ft. to 100 ft.                                      $2.00
   101 ft. to 150 ft                                      $3.00
   151 ft. to 220 ft                                      $4.00
   221 ft. and deeper                                     $5.00

        2. The Actual depth in FSW shall be used in determin-
   ing depth premium.

        3.   Premium Rates for Diving in Enclosure:

             (a) Where it is necessary for Divers to enter pipes
   		
   or tunnels, or other enclosures where there is no vertical as-
   cent, a premium according to the following schedule shall be
   paid, in addition to the Diver’s regular hourly rate, plus wet
   pay, and any applicable depth pay.

   DISTANCE FROM                           AMOUNT OF
   ENTRANCE                          PREMIUM PER SHIFT

   0 ft. to 25 ft.                                         N/C
                		
   25 ft. to 300 ft                              $1.00 per foot

            (b) When it is necessary for a Diver to enter any
   		
   pipe or tunnel or other enclosure over three hundred (300)
   feet from entrance or less than forty-eight inches (48”) in
   height, the premium will be by mutual agreement, between
   the diver, the Union and the Contractor, but never less than
   one dollar ($1.00) per foot.

             (c) Premiums shall be paid under (a) or (b) above,
   		
   but shall not be paid under both. These premiums are per day,
   midnight to midnight and shall be determined from point of
   entry.

   4. BELL/VEHICLE OR SUBMERSIBLE OPERATOR
   DIVING NOT UNDER PRESSURE, ETC:

        One atmosphere bell specifically designated for con-
   struction work (including Jim Suits, etc.) and self-propelled
   manned submersible operators shall be paid the Diver’s regu-
   lar hourly rate plus premiums. It is understood that engineer-
   ing, inspection, and management personnel who use a one

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     atmosphere bell from time to time may be covered by this
     Agreement.

     E. MANIFOLD OPERATOR:

          1. For days on which mixed gas diving is not conduct-
     ed, a Manifold Operator shall receive Pile Driver Foreman’s
     scale.

          2. For day on which mixed gas diving is conducted, a
     Manifold Operator shall receive Pile Driver Foreman’s scale,
     plus five dollars ($5.00) per hour.

     F.   TENDER:

          1. A Tender shall receive the hourly rate of the classi-
     fication of Pile Driver Foreman when he is required to be on
     duty regardless of whether any diving is actually performed
     or not.

          2. The Tender shall receive a premium equivalent to
     one (1) hour at the straight-time pay rate per shift for dress-
     ing and/or undressing a Diver when work is done under hy-
     perbaric conditions.

     G. ASSISTANT TENDER:

          An Assistant Tender shall receive the hourly rate of the
     classification of Pile Driver.

     H. All depth and enclosure premiums are in addition to the
     base or overtime rate and are not to be used in calculating
     overtime.

     I.   MISCELLANEOUS:

         1. This Agreement does not include any gear or special
     equipment rentals.

          2. Fringe benefits are due as specified in the Carpen-
     ter’s Master Labor Agreement for Southern California for
     each hour worked or paid for with the exception of premi-
     ums.

          3. Employees may be required to perform any combi-
     nation of work within the Diving team/crew.

     J. A Dive Superintendent shall receive diver hourly scale
     plus One Dollar and Fifty Cents ($1.50); a Dive Master/Dive
     Supervisor shall receive a diver’s hourly standby pay plus
     Five Dollars ($5.00) per hour.


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                  ARTICLE IV
        SAFETY & HEALTH WORKING RULES

   A. The Union and the Contractors recognize that the work
   in which they engage is both highly specialized and ex-
   tremely technical in nature, and that unless continuous and
   effective practices are employed, the possibility of accidents
   of extreme gravity to life, limb and property will always be
   present.

      SAFETY SHALL HAVE THE HIGHEST OF PRI-
   ORITIES IN THIS AGREEMENT.

   B. All Federal and State Safety Rules, regulations, orders
   and decisions shall be binding upon the individual Contractor
   and shall be applied to all work covered by this Agreement.
   No worker shall be required to work under unsafe conditions.
   The individual Contractors shall be solely responsible for im-
   plementation and maintenance of such safety laws, rules, reg-
   ulations, standards, orders and decisions. Neither the Union
   nor any Local Unions or District Councils are responsible for
   such implementation or maintenance.

   C. Upon initially reporting for work, each foreman shall be
   provided with a list of available medical doctors with thor-
   ough training in, and knowledge of, the medical problems
   associated with submarine medicine. This list shall also be
   permanently posted on the work site.

   D. Minimum crew size will be one (1) diver, one (1) tender,
   one (1) assistant tender.

   E. A Copy of the appropriate rules and regulations must be
   on the jobsite and be available to all members of the dive
   team.

   F. When a Diver is performing diving work under the terms
   and conditions of this Agreement, he shall be tended by a
   Tender who is satisfactory to the Diver Concerned.

   G. DIVER FATIGUE: All divers making mixed-gas dives
   must have at least eight (8) hours of sleep within the last
   twenty-four hours.

   H. PHYSICAL EXAMINATIONS: A Diver, when first ac-
                                          
   cepting a job from a Diving Contractor, providing he has not
   has a physical in the preceding twelve (12) months, must be
   given a medical examination by the diving contractor con-
   forming to schedules recommended by the appropriate Gov-
   ernment Agency.


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     I. These total bottom time for dives to depths of 99 FSW or
     less will not be exceeded in a twelve (12) hour period. These
     total bottom time for depths of 100FSW or greater will not be
     exceeded within a twenty-four (24) hour period.

     J. For surface oriented hose mixed gas diving, Divers sub-
     ject to ambient pressure of the depths listed will not be re-
     quired to remain on the bottom for a bottom time longer than
     the time limits set below.

         DEPTHS                  TIME
                   		
         200 ft. to 230 ft.      60 minutes
         230 ft. to 250 ft.      50 minutes
         250 ft. to 300 ft.      30 minutes

                       ARTICLE V
                SUBSISTENCE AND TRAVEL

     A. Within ninety (90) road miles from the Local Union at
     Wilmington California, to the center of the construction job-
     site and/or sites on the project or ninety (90) road miles from
     the employee’s principal place of residence, over the most
     direct traveled route, a free zone is hereby established where-
     in no travel expense, transportation expense or subsistence
     shall be required. No Employee will receive subsistence or
     travel time if the employee’s principal place of residence is
     within ninety (90) road miles of the project regardless of
     whether the employee’s principal place of residence is in or
     out of the free zone. Additionally, no subsistence will be
     paid to an employee if the project or jobsite is in the free
     zone regardless of the distance the employee must travel to
     the project or jobsite.

     B. On jobs located ninety (90) or more road miles from the
     Local Union to the center of the construction jobsite and/or
     sites on the project over the most directly traveled route, em-
     ployees shall be compensated on the following basis:

          1. Forty-five dollars ($45.00) per workday as a subsis-
     tence allowance, except where there are work stoppages by
     an Act of God or conditions beyond the control of the Con-
     tractor.

          2. In the event employees provide their own transpor-
     tation, they shall receive twenty-five cents ($0.25) per mile
     for transportation expenses between the Local Union office
     or Call Board and the center of the construction jobsite and/or
     sites on the project, at the beginning and conclusion of their
     employment. The return transportation expense will not be
     payable if the employee quits his job before work is complet-

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   ed or before 30 calendar days, whichever is sooner, or if he is
   discharged for cause.

   C. In cases of dispute in measuring road miles from the Lo-
   cal Hall or Call Board of Local Union 2375, the facilities of
   the Automobile Club of Southern California shall be used as
   the determining factor.

        The following named islands are hereby established as
   suitable room and board zones, provided by the Contractor:

       (1) Richardson Rock, (2) Santa Cruz Island, (3) Santa
   Rosa Island, (4) San Miguel Island, (5) Arch Rock, (6) San
   Clemente Island, (7) Anacapa Island (Channel Island Monu-
   ment), (8) San Nicholas Island, (9) Santa Barbara Island, (10)
   Santa Catalina Island.

   D. The Contractor is not obligated to pay the subsistence al-
   lowance provided herein if the Local Union is unable to fur-
   nish qualified and competent employees from its hiring list of
   Journeymen for work in the subsistence area. The Contractor
   shall abide by Article II of the Master Labor Agreement in his
   hiring procedure.

   E. In lieu of subsistence for any day, the Contractor may
   provide and maintain acceptable room and board on or im-
   mediately adjacent to the project, for each working day in
   compliance with California State Laws.

   F. The Contractor agrees to pay travel time each way from
   the point of embarkment to the jobsite. This paragraph ap-
   plies to travel time involved from the point of embarkation to
   the site of all offshore construction projects. Time paid for
   travel time is to be paid at the straight-time rates on any day
   of the week and is not to be counted for overtime computa-
   tion.

   G. Employees living aboard floating or other offshore quar-
   ters provided by the Employer located at the worksite:

        1. And who are ready, and available for work at the
   start of their regular shift Monday through Friday shall re-
   ceive a minimum of eight (8) hours pay at their applicable
   hourly rate of pay.

       2. And who are required by the Employer to standby
   on Saturday, Sunday and holidays, but not put to work, shall
   receive a minimum of eight (8) hours pay at the applicable
   overtime rate of pay.



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                  ARTICLE VI
                WORKING RULES
      STARTING TIMES, SHIFTS AND OVERTIME

     A. Except as modified by this Appendix G, the provision
     of the Carpenters Master Labor Agreement, Article XVI, and
     Appendix A Working Rules shall apply to this Appendix G.

     B. Reporting for work: Any workman or employee report-
     ing for work at the regular starting time and for whom no
     work is provided, shall receive pay for two (2) hour at the
     stipulated rate for so reporting, unless he has been notified
     before the end of his last preceding shift not to report.

                           ARTICLE VII

         DEEP WATER, BELL/VEHICLE SYSTEM
                TOTAL SATURATION

                         DIVING COVERAGE

     A. The Employer and the Union agree that the work covered
     under this Agreement or using diving apparatus will be per-
     formed by employees represented by the United Brotherhood
     of Carpenters and Joiners of America. The Diving Contractor
     and the Union agree that the strong intent of this Agreement
     is that only experienced and highly qualified Journeyman
     will be employed

     B. This Agreement shall apply to and cover the following
     Classifications: Foreman, Divers, Tenders, Operators, Re-
                      
     mote Controlled Vehicle (RCV), Remote Operated Vehicle
     (ROV).

     C. Work covered by this Labor Agreement, and these Spe-
     cial Working Rules for Divers on Construction Work, shall
     include construction work (except as excluded below) and
     work performed from oceanographic and/or research vessels,
     seismographic and/or other vessels operating either tempo-
     rarily or permanently out of ports in Southern California,
     and in all areas located the distance one-half way from Lo-
     cal 2375 to the nearest Pile Drivers Local affiliated with the
     United Brotherhood of Carpenters and Joiners of America,
     and shall include work concerning fisheries research and all
     other types of oceanographic and marine research and/or ex-
     perimental bell diving work requiring the use of deck decom-
     pression chambers with submersible diving chambers.

     D. The work covered by this Agreement and this Appendix
     shall include all work under the jurisdiction of the Union and

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   the United Brotherhood of Carpenters and Joiners of Amer-
   ica, and shall include, but not be limited to, such work as
   described as follows:

   E. Commercial diving in all its branches and phases, such
   as the salvage of all ships, vessels and barges, etc., the under-
   water repair, removing, dismantling, demolition, burning and
   welding in all marine salvage operations; all underwater con-
   struction and reconstruction, and the salvage and removing
   of all underwater structures; underwater inspections and re-
   pair of hulls, docks, bridges and dams, underwater pipelines,
   sewage and water systems, underwater suction and discharge
   lines such as those used at chemical plants, pulp mills, and
   desalinization plants; inspecting, surveying, removing, res-
   cuing and recovering of all objects below water surface; all
   underwater work necessary on offshore oil platforms, perma-
   nent or temporary, including all floating drill rigs and jack-
   up platforms; all underwater well completion; all underwater
   work on pipelines and hookups including petroleum, gas, wa-
   ter and sewage systems; the laying of underwater power and/
   or communications cables where diving is necessary; all off-
   shore marine mining and dredging operations using Divers
   in any phase of their work seeking minerals and/or precious
   metals, etc.; all petroleum, fisheries, oceanographic research
   and experimental work where the use of Divers are neces-
   sary; all underwater demolition and blasting work requiring
   the use of Divers; the term underwater structures shall in-
   clude beached or sunken vessels and other marine equipment.

   F. This Agreement and the Special Working Rules for Div-
   ers on Construction and the Trust Agreements shall apply to
   all areas within the jurisdiction of Local 2375 and the areas
   shall include the 12 Southern California Counties; Los An-
   geles, Orange, San Bernardino, Riverside, Imperial, Ventura,
   Santa Barbara, San Luis Obispo, Kern, Inyo, Mono, San Di-
   ego Counties and the areas described as Richardson Rock,
   Santa Cruz Island, Arch Rock, San Nicholas Island, San Cle-
   mente Island, Santa Catalina Island, San Miguel Island, San-
   ta Rosa Island, Anacapa Island (Channel Island Monument),
   Santa Barbara Island, including all offshore waters and wa-
   ters of the continental shelf seaward from the boundaries of
   the southern half of the State of California; and including all
   inland waters, rivers and lakes, natural and/or man-made,
   within the boundaries of the Counties of Southern California,
   the five southern counties of Nevada: Clark, Lincoln, Nye,
                                             
   Esmeralda and Mineral, and the State of Arizona.

   G. Bell/Vehicle Diving or Total Saturation Systems specif-
   ically including, but not limited to, all underwater and deck

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     work in support of same when using surface supplied air or
     mixed gas.

     H. The work covered by this Agreement shall include all
     work under the jurisdiction of the Southern California Master
     Labor Agreement.

                        ARTICLE VIII
                     WAGES, HOURS, AND
                    WORKING CONDITIONS

     CONDITIONS:

     1. Diving Bells are used to carry the divers to and from
     their work site and are capable of locking onto deck decom-
     pression chamber or complexes for living and/or decompres-
     sion that is suitable to the divers and will pass all current re-
     quirements in areas of work; i.e. State, Coast Guard, Federal.

     2. All members of the diving crew are classified as follows:
     Dive Master, Divers, Tenders, Technicians, Manifold Opera-
     tors, Pressurized Submersible Operators, RCV and ROV Op-
     erators.

     3. Minimum crew size will be a total of seven (7) men.
     There is a minimum of two (2) men with the diving system at
     all times to ensure and protect the integrity and safety of the
     diving equipment through daily maintenance

     4.   Paragraph 3, above, shall not apply on a call out basis.

     5.   WAGES (DAILY RATE):

          A. SHORT DURATION DIVING:

          A diver using surface supplied air or helium-oxygen re-
     ceives standby pay of pile diver foreman scale plus ($1.00)
     per hour with a minimum of eight (8) hours. When required
                                                      
     to descend below the surface of the water, he will be paid
     twice the standby rate plus depth premium.

          B. SHORT DURATION BELL/VEHICLE DIVING:

          Consists of a diver going under pressure using the
     Pressurized Bell/Vehicle to a given depth, spending a short
     period of time consistent with current diving tables, and
     then coming to the surface and decompressing on short
     decompression profile. Shall be paid the divers pay rate,
     diving wet pay plus applicable depth premium. Wet or dry,
     midnight to midnight and shall be paid regardless of wheth-
     er or not the Diver actually leaves the bell.

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       C. SATURATION DIVING:

        (1) Consisting of a Diver living under pressure continu-
   ously until a work task is complete and then decompressing
   at a saturation decompression profile. It shall be permissible




                                           
   to saturate two divers to complete a work task that prohibits
   short duration diving with a minimum crew of ten (10) men,
   plus additional personnel as required.

       (2) On saturation work, where more than two divers are
   required to be saturated (diving is required around the clock),
   the minimum crew will be a total of fourteen (14) men.

        (3) The current diver’s standby rate will be paid until
   saturation starts. Once under pressure, the rate will be six
   (6) times diver’s eight (8) hour minimum standby rate (twen-
   ty-four {24} times straight time hourly wet pay rate); plus
   bonus for applicable depth or pressure. The pay remains the
   same for either non dive or dive days. This rate constitutes
   payment for the entire Twenty-four (24) hour period mea-
   sured from midnight to midnight.

       D. DIVE MASTER:

        A Dive Master shall receive a diver’s hourly wet pay
   plus one dollar and fifty cents ($1.50) per hour. A Dive Mas-
                                                     
   ter shall not dive except in a life threatening emergency.

       E. ASSISTANT DIVE MASTER:

       A diver’s assistant Dive Master shall receive the diver’s
   hourly wet pay, plus one dollar ($1.00) per hour.

       F.   DIVERS RATE:

        A diver’s standby rate is a pile driver foreman’s scale,
   plus one dollar ($1.00) per hour, with a minimum of an eight
   (8) hour shift.

       G. TENDER’S RATE:

        Tenders will be paid the same hourly rate as a pile driver
   foreman, with a minimum of an eight (8) hour shift. EMT
                                                            
   Technician, as system tender, will be paid the same hourly rate
   as pile driver foreman, with a minimum of eight (8) hour shift.

       H. MANIFOLD OPERATOR:

        A manifold operator will be paid a pile driver foreman’s
   scale plus five dollars ($5.00) per hour while operating the
   manifold. All other technicians and support personnel will
   be paid at the rate of a pile driver man.

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          I.   SURFACE RCV AND ROV OPERATOR:

          Wage scale same as Piledriver Foreman.

        J. SURFACE RCV AND ROV TENDER/TECHNI-
     CIAN:

          Wage scale same as Piledriver.

          K. SATURATION DEPTH PAY BONUS

         One dollar ($1.00) per foot of pressure shall be paid per
     diver per twenty-four (24) hours, from midnight to midnight,
     from surface (wet or dry).

          L. STANDBY ALERT TIME:

     Standby alert time on beach shall be on (1) standby shift per
     twenty-four (24) hours. Increased bottom times and depths
     may be negotiated between the Contractor and the Union as
     new experiments may prove feasible.

     6.   HOURS AND OVERTIME

          A. SUPPORT PERSONNEL:

         When twelve (12) hour shifts are worked, the starting
     time for each shift shall be established within one (1) hour
     of 12:00 a.m. and 12:00 p.m., unless mutually agreed to the
     contrary by the parties. The pay for the first eight (8) hours
                               
     of any twelve (12) hour shift, Monday through Friday, shall
     be paid at the regular hourly wage rate, and time and one-half
     (1½) the regular hourly wage rate shall be paid for the bal-
     ance of the shift.

          B. SATURATION CREWS:

          Overtime for people under Saturation begins Friday
     midnight and ends midnight Sunday. The following holi-
     days, or days celebrated as such, shall be paid at double the
     straight-time rate: (1) New Year’s Day, (2) Memorial Day,
     (3) Independence Day, (4) Labor Day, (5) Veteran’s Day, (6)
     Thanksgiving Day (7) The day after Thanksgiving Day and
     (8) Christmas Day. If any of the above holidays should fall
                          
     on Sunday, the Monday following shall be considered a legal
     holiday.

        C. SHIFT PERSONNEL WHEN BILLETED OFF-
     SHORE:

          The employer may establish two (2) twelve (12) hour
     shifts. When working such shifts the starting time for diving

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   support personnel shall be established within one (1) hour
   of 12:00 a.m. or 12:00 p.m. unless mutually agreed to by
   parties. When working twelve (12) hour shifts, starting time
   for divers shall be established as beginning when the diver is
   summoned to perform tasks by diving foreman or by a party
   to whom he has delegated this authority. If extenuating cir-
   cumstances prevent at least a six (6) hour rest period between
   shifts, the personnel working such shifts shall be paid during
   the rest period and overtime rates will apply. The contractor
   agrees that he will make every reasonable effort to restrict
   such activity to strictly extraordinary situations.

       D. Diver is to receive a minimum of twelve (12) hours
   standby pay per day.

        E. Overtime Rate: All overtime Monday through Fri-
   day shall be at the rate of one and one-half (1½) the regular
   straight time hourly rate for the first four (4) hours worked
   and shall be paid at double the straight time hourly rate after
   twelve (12) hours of work. Saturday, unless it is a makeup
   day, shall be at the rate of one and one-half (1½) times the
   straight time rate for the first eight (8) hours of work and dou-
   ble (2) the straight time hourly rate after eight (8) hours. All
                                                                  
   hours worked on Sundays and Holidays shall be paid at dou-
   ble (2) the straight time hourly rate. (see Tide Work Schedule
   for Tide Work.)

   7. CREW SIZE CONCERNING BOUNCE AND/OR
   SATURATION DIVING

        A. Bounce of Short Duration Using Bell. Consists of a
   diver going under pressure to a given depth, working a period
   of time consistent with current tables and then coming to the
   surface and decompressing. Minimum crew size will be a
   total of seven (7) men.

            1 - Dive Master
   		
            1 - Manifold Operator
   		
            3 - Divers
   		
            2 - Systems Tenders
   		
        B. Saturation Diving. Consists of diver living under
   pressure continuously until work task is complete and then
   decompressing at a saturation decompression profile. It shall
                                                             
   be permissible to saturate two (2) divers to complete work
   task that prohibits short duration diving with a minimum
   crew of ten (10) men. On Saturation work, where more than
   two (2) divers, but not more than four (4) divers, are required
   to be saturated, the minimum crew to maintain the operation
   around the clock will be fourteen (14) men. The number of

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     men needed for this operation shall be consistent with the job
     requirements and the safety requirement.

          C. Saturation Crew Breakdown

              2 - Dive Masters
     		
              2 - Manifold Operators
     		
              4 - Divers
     		
              2 - Technicians
     		
              4 - Systems Tenders, 2 shall be E.M.T. Technicians
     		
          In the event that any of the diving crew on paid shore
     standby alert finds it necessary to go off alert, he will be off
     the payroll during the time he is not on alert and the diving
     contractor will hire a man on a temporary basis to replace him.

     8.   DIVING CREW STEWARD

     Diving Crew Steward will be appointed on each job by the
     Union. All provisions of the Master Labor Agreement per-
     taining to Job Stewards shall apply.

     9.   HIRING

          A. All dispatches and job clearances for the members
     of diving crews working offshore will be dispatched through
     the Piledrivers Local Union 2375. To avoid duplication or
     order and to effect an orderly hiring procedure, the Diving
     Contractor agrees that when calling the Union for men, to
     designate a responsible representative which the Union
     will recognize as the Agent of the Diving Contractor with
     the authority to hire. The Union shall maintain an exclusive
     non-discriminatory hiring hall to fill requisitions for person-
     nel on the diving crew. The Diving Contractor agrees to give
     preference to Local area personnel where feasible.

           B. An employee employed by one (1) or more of the
     Contractors for a period of eight (8) days continuously or cu-
     mulatively shall be, or become on the eighth (8th) day or eight
     (8) days after the effective date of the Agreement, whichever
     is later, a member of the Union and shall remain a member of
     the Union as a condition of continued employment. Member-
     ship is such Union shall be available upon terms and qualifi-
     cations not more burdensome than those applicable at such
     times to other applicants for membership to such Union.

          C. Divers can be flown directly to the jobsite with a
     dispatch, after first notifying the hiring hall. All pertinent
                                                       
     information such as name, social security number and their
     local union twenty-four (24) hours. The Contractor shall be
     the sole judge of the qualifications of the men (diving crew).

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   10. GRIEVANCE PROCEDURE:

        Procedure for settlement of Grievance and Disputes
   shall be conducted in the manner provided for in the Southern
   California Master Labor Agreement.

                    APPENDIX H
            SPECIAL WORKING RULES FOR
              RESIDENTIAL SHINGLERS

   The following Special Working Rules for Residential Shin-
   glers adopt all the provisions of the Master Labor Agree-
   ment, except as such provisions are modified by these Special
   Working Rules.

   1. ROOF LOADER OF SHINGLES (Seventy (70%) per-
   cent of Journeyman’s scale)

                                                      BENEFIT
        PERIOD    HOURS    PERCENTAGE        WAGE      CODE
    1st Period     1000        40%           10.00       (1)
    2nd Period      600        50%           10.05       (1)
    3rd Period      600        60%           12.05       (2)
    4th Period      600        70%           14.06       (3)
    5th Period      600        80%           16.07       (3)
    6th Period      600        90%           18.08       (3)
    Journeyman                 100%          20.09       (3)
         * Contribution Schedule
         ** Not lower than minimum wage

       (1) Health and Welfare, Vacation/Supplemental Dues
   ($3.95), Grievance Fund, Residential Industry Contract Ad-
   ministration.

       (2) Health and Welfare, Vacation/Supplemental Dues
   ($4.95), Grievance Fund, Residential Industry Contract Ad-
   ministration.

        (3) Pension, Health and Welfare, Vacation/Supplemen-
   tal Dues, Grievance Fund, Residential Industry Contract Ad-
   ministration.

   Pay period advancement will be based on Minimum of hours
   worked on-the-job per schedule above. Percentage indicated
   is of the Roof Loader classification rate of pay.

   2.    COVERAGE
   It has been agreed by the parties that all roofing of any de-
   scription, including asbestos, cement, fiber glass, wood, com-

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     position, slate, and future substitute type of roofing are cov-
     ered by this Appendix H.

     3.   FRINGE BENEFITS
     When an Employee is paid an amount equivalent to, or great-
     er than, the appropriate weekly wage of a work week, only a
     full work week of contributions need to be paid to the Trust
     fund.

     4.   WAGES, JOURNEYMEN AND APPRENTICES
     The wage rate for journeymen performing shingling work
     shall be a minimum of twenty eighttwo dollars and seventy-
     forty-two cents ($28.70) per hour worked.

                                                                                           BENEFIT
          PERIOD     HOURS                                          PERCENTAGE   WAGE       CODE
     1st Period       1000                                             40%       11.48       (1)
     2nd Period        600                                             50%       14.35       (1)
     3rd Period       600                                              60%       17.22       (2)
     4th Period       600                                              70%       20.09       (3)
     5th Period       600                                              80%       22.96       (3)
     6th Period       600                                              90%       25.83       (3)
     Journeyman                                                       100%       28.70       (3)
          * Contribution Schedule

         (1) Health and Welfare, Vacation/Supplemental Dues
     ($3.95), Grievance Fund, Residential Industry Contract Ad-
     ministration.

         (2) Health and Welfare, Vacation/Supplemental Dues
     ($4.95), Grievance Fund, Residential Industry Contract Ad-
     ministration.

          (3) Pension, Health and Welfare, Vacation/Supplemen-
     tal Dues ($4.95), Grievance Fund, Residential Industry Con-
     tract Administration.

     5.   REGISTRATION

         The Contractor will fill out a Job Registration form,
     which will be supplied by the Union to the Contractor. The
     Job Registration form will be filed with the Union at least 48
     hours prior to the commencement of work.

     6.   REPORTING OF TRUST FUND BENEFITS

          Beginning July 1, 2016 the Contractors will be obligated
     to pay the following fringe benefit contributions:

          Pension Trust Fund                                                       $4.95
                               . . . . . . . . . . . . . . . . . 
                   Page 139129
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        Health and Welfare Trust Fund                                                                                                                   $6.85




                                                                                                                       . . . . . . . . 
        Vacation/Supplemental Dues                                                                                                                      $4.95




                                                                                                . . . . . . . . . . 
            (1st and 2nd period receive                                                                                                                $3.95)




                                                                                                                       . . . . . . . .
        Apprenticeship and Training Fund                                                                                                                $0.57




                                                                                                                                          . . . . . 
                                                                                                                                                               
        Cooperation Committee                                                                                                                           $0.26




                                                                   . . . . . . . . . . . . . 
        Grievance Fund                                                                                                                                  $0.03
                        . . . . . . . . . . . . . . . . . . . . 
   7.   TEAR-OFF WORK

         (a) The parties agreed that the Contractors could utilize
   first period apprentices to perform the work of tearing off pre-
   viously existing roof structures. There shall be no Journey-
   man to apprentice ratio in the performance of tear-off work.

        (b) In addition to first period apprentices being used to
   tear off previously existing roofs, there shall also be a clas-
   sification of employee called a TEAR OFF MAN. This em-
   ployee shall receive a wage rate of no less than Minimum
   Wage plus vacation/supplemental dues contributions. (The
   Employer or his representative shall notify the Local Union
   having jurisdiction over the work when such tear off man is
   hired.)

   8.   LOADERS

       Journeyman Loaders shall receive 70% of Journeyman
   Rate.

   9.   SUBCONTRACTING

         (a) Notwithstanding anything to the contrary in the
   MLA, the Contractor may subcontract stocking and scrap-
   ing to any Contractor who is a signatory to this Agreement.
   Where stocking is performed by the seller of the material,
   whether a manufacturer/distributor or dealer, and whether the
   price listed on the invoice includes an amount for stocking or
   is listed separately, the Contractor shall not be held responsi-
   ble for the labor affiliation of the stocking entity.

        (b) Notwithstanding anything to the contrary in the
   MLA, the provisions of this Section shall not be enforced
   by strike action or any other form of job shut-down or work
   interference; provided however, that the rights provided in
   the Grievance Procedure of this Agreement are retained to
   enforce primary obligations of any individual employer.

   10. GRIEVANCE AND ARBITRATION

        The Grievance and Arbitration provisions of Appendix F
   of the MLA shall be applicable to Contractors covered by this
   Appendix H.

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                     APPENDIX I
       Special Rules for Residential Developers

              CONTACT THE UNION FOR DETAILS

                   APPENDIX J
           SPECIAL WORKING RULES FOR
        RESIDENTIAL CABINET INSTALLATION

     1. In addition to the terms and conditions contained in the
     Carpenter’s Master Labor Agreement, (hereinafter referred
     to as the MLA), the following Special Rules for Residential
     Cabinet Installation shall pertain to the wages to be paid as
     well as the manner in which fringe benefit contributions shall
     be handled on residential cabinet installation work and shall
     be specifically limited to work performed in wood frame con-
     struction, of all single family residences, apartments, condo-
     miniums, motels, inns, hotels or convalescent homes.

     2. The Contractor and his subcontractors, if any such work
     is subcontracted to any tier of Contractors, must register the
     job or project with the Appendix J Administrator of the Field
     Office of the Southwest Carpenters Trust Funds and the Re-
     gional Council prior to the start of construction on a form to
     be supplied by the Field Office.

     3. On jobs where the time factor does not permit the reg-
     istration of jobs prior to their commencement, the Contrac-
     tor shall notify the Regional Council office by telephone
     giving all pertinent information regarding that specific job.
     Such notification must be confirmed in writing on the regular
     Job Registration Form by the Contractor to the Appendix J
     Administrator within forty-eight (48) hours thereafter. The
     Union may withhold or withdraw workmen or employees
     from the Contractor for failure to register. A grievance may
     be filed by the Trust Funds for noncompliance with job regis-
     tration requirements.

     4. Notwithstanding any other provisions to the contrary,
     Contractors shall have the right to do cabinet installation con-
     struction on any light commercial project under the terms and
     conditions of this Appendix J, if and only if the Contractor
     first secures the approval of the Executive Secretary-Treasur-
     er of the Regional Council in the area where the project is lo-
     cated. When approval is so granted by the Secretary-Treasur-
     er of the Regional Council involved, that approval shall be in
     writing. Additionally, such a petition shall contain a detailed
     description of the project and its geographic location and/or
     address.


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   5. The Union shall have the right to take any legal or eco-
   nomic action including withdrawal of services and strike ac-
   tion against any Contractor that:

        (a) fails or refuses to abide by a decision of the arbitra-
   tor under the MLA;

      (b) fails or refuses to pay fringe benefit contributions or
   wages as required by this Appendix or the MLA; or

        (c) fails or refuses to register a job as required under
   this Appendix.

   6. All money paid to employees covered by this Appendix
   must be shown on the Contractors payroll; and the employ-
   ee’s payroll check shall show the number of benefit hours
   paid. Payments by second check or cash are prohibited. If
   such violations are found or if a Contractor fails or refuses to
   register a job as provided under this Appendix, then the Trust
   Funds may follow any one of three alternatives:

      (a) Follow the formula of Articles I, XVII, XX, XXI,
   XXII, XXIII, XXIV and XXV of the Master Labor Agree-
   ment

        (b) Estimate the number of hours worked on the par-
   ticular project and multiply said hours by the fringe benefit
   rates.

        (c) Determine the contract price on the particular proj-
   ect and estimate the hours from it, then multiply those hours
   by the fringe benefit rates.

   7. Wherever any of the above alternatives are used in de-
   termining fringe benefits due, liquidated damages along with
   interest as provided for in the MLA, and/or Construction Car-
   penters Trust Agreements for Southern California, legal fees,
   and audit costs, as determined by the Trust Funds, shall be
   added from due dates.

   8. Effective July 1, 2016, and not withstanding anything
   else to the contrary in the MLA, scale for journeymen carpen-
   ters performing residential work covered by this Appendix on
   an hourly basis shall be twenty-nine dollars and twenty-six
   cents ($29.26.) There shall be no premium pay for pneumatic
                    
   nailers. Increases will be per the Master Labor Agreement.

   9. Effective July 1, 2016, and notwithstanding anything to
   the contrary in the MLA, apprentices performing residential
   work covered by this Appendix shall be paid the following
   percentage of said journeymen scale:

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                                                                                                                                                                                                                                  BENEFIT
           PERIOD     HOURS                                             PERCENTAGE                                                                                                                                 WAGE            CODE
     1st Period       1000                                                                                                                40%                                                                      11.70            (1)
     2nd Period       600                                                                                                                50%                                                                       14.63            (1)
     3rd Period       600                                                                                                                 60%                                                                      17.56            (2)
     4th Period       600                                                                                                                 65%                                                                      19.02            (3)
     5th Period       600                                                                                                                 70%                                                                      20.48            (3)
     6th Period       600                                                                                                                 75%                                                                      21.95            (3)
     7th Period       600                                                                                                                 80%                                                                      23.41            (3)
     8th Period       600                                                                                                                90%                                                                       26.33            (3)
     Journeyman                                                                                                                          100%                                                                      29.26            (3)
         Pay Period Advancement: Each advancement will be
     based on hours worked on-the-job as per schedule.

     * Contribution Schedule (As of July 1, 2016)

     (1)       Health and Welfare                                                                                                                                                                                         $6.85
                                                                                                          . . . . . . . . . . . . . . 
               Vacation/Supplemental Dues                                                                                                                                                                                 $3.95
                                                                                                                                                                                                    . . . . . . 
               Apprenticeship and Training Trust                                                                                                                                                                          $0.57
                                                                                                                                                                                                                   . . 
               Cooperation Committee                                                                                                                                                                                      $0.26
                                                                                                                                                                     . . . . . . . . . . 
               Contract Administration                                                                                                                                                                                    $0.02
                                                                                                                                                                             . . . . . . . . . . 
               Grievance Trust Fund                                                                                                                                                                                       $0.03
                                                                                                                                          . . . . . . . . . . . . 
     (2)       Health & Welfare                                                                                                                                                                                           $6.85
                                                                         . . . . . . . . . . . . . . . 
               Vacation/Supplemental Dues                                                                                                                                                                                 $4.95
                                                                                                                                                                                                    . . . . . . 
               Apprenticeship and Training Trust                                                                                                                                                                          $0.57
                                                                                                                                                                                                                   . . 
               Cooperation Committee                                                                                                                                                                                      $0.26
                                                                                                                                                                     . . . . . . . . . . 
               Contract Administration                                                                                                                                                                                    $0.02
                                                                                                                                                                             . . . . . . . . . . 
               Grievance Trust Fund                                                                                                                                                                                       $0.03
                                                                                                                                          . . . . . . . . . . . . 
     (3)       Pension                                                                                                                                                                                                    $4.66
                       . . . . . . . . . . . . . . . . . . . . . . . 
               Health & Welfare                                                                                                                                                                                           $6.85
                                                                         . . . . . . . . . . . . . . . 
               Vacation/Supplemental Dues                                                                                                                                                                                 $4.95
                                                                                                                                                                                                    . . . . . . 
               Apprenticeship and Training Trust                                                                                                                                                                          $0.57
                                                                                                                                                                                                                   . . 
               Cooperation Committee                                                                                                                                                                                      $0.26
                                                                                                                                                                     . . . . . . . . . . 
               Contract Administration                                                                                                                                                                                    $0.02
                                                                                                                                                                             . . . . . . . . . . 
               Grievance Trust Fund                                                                                                                                                                                       $0.03
                                                                                                                                          . . . . . . . . . . . . 
         These rates shall be maintained at the level established
     under the MLA.

          A classification of pre-apprentice will also be available
     to contractors under this Appendix. A pre-apprentice shall be
     paid 35% of journeyman scale. For the first thirty (30) days of
     employment a pre-apprentice shall receive only vacation/sup-
     plemental dues contributions of two dollars and ninety-five
     cents ($2.95.) After thirty days of employment the pre-ap-
     prentice shall also receive health and welfare contributions
     and vacation/supplemental dues contribution of three dollars
                    Page 143133
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   and ninety-five cents ($3.95.) After 500 hours of employment
   a pre-apprentice shall either become an indentured apprentice
   or shall be terminated from the Contractor’s employment.

   10. Term: This Appendix J shall extend through June 30,
   2020, and from year to year thereafter. This Appendix may be
   terminated by either party giving notice to the other at least
   sixty (60) days prior to the termination date of this Appendix.
   Termination of this Appendix shall not terminate the MLA.
   In the event this Appendix is terminated by either party prior
   to the termination date of the MLA, and no new Appendix is
   agreed upon, all work covered by this Appendix shall be per-
   formed under the terms of the MLA, except that any project
   started under this Appendix, and properly registered, may be
   completed under the terms of this Appendix.

                 APPENDIX K
      SPECIAL RULES FOR RESIDENTIAL ON
    GRADE SLAB CONCRETE CONSTRUCTION
     AND RESIDENTIAL SUBTERRANEAN GA-
        RAGE CONCRETE CONSTRUCTION

   1. In addition to the Working Rules contained in the Car-
   penters Master Labor Agreement between the United Gener-
   al Contractors and the Union, (hereinafter referred to as the
   MLA), the following Special Rules for Residential Concrete
   Construction shall pertain to wages to be paid as well as the
   manner in which fringe benefit contributions shall be handled
   on all concrete work performed on, and shall be specifical-
   ly limited to, On Grade Slab construction or Subterranean
   Garage construction in connection with all wood frame con-
   struction of single family residences, apartments, condomini-
   ums, motels, inns, hotels or convalescent homes.

   2. The signatory Contractor, and his subcontractors, if any
   such work is subcontracted to any tier of Contractors, must
   both register the job or project with the Appendix K Admin-
   istrator of the Field Office of the Carpenters Trust Funds for
   Southern California and the Regional Council prior to the
   start of construction on a form to be supplied by the Field
   Office.

   3. Such notice shall be given prior to the commencement
   of work. On jobs where the time factor does not permit the
   registration of jobs prior to their commencement, the Con-
   tractor shall notify the Regional Council office by telephone
   giving all pertinent information regarding that specific job.
   Such notification must be confirmed in writing on the regular
   Job Registration Form by the Contractor to the Appendix K
   Administrator within forty-eight (48) hours thereafter.
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     4. In no event, however, will the Contractor be required to
     pay the Trust Funds more than forty (40) benefit hours for
     any one work week.

     5. Notwithstanding any other provisions to the contrary,
     Contractors shall have the right to do concrete construction on
     any light commercial project under the terms and conditions
     of this Appendix K, if and only if the Contractor first secures
     the approval of the Executive Secretary-Treasurer of the Re-
     gional Council. When approval is so granted by the Executive
     Secretary-Treasurer of the Regional Council involved, that
     approval shall be in writing and a copy of same shall be at-
     tached to the job registration form by the Contractor.

     6. All money paid to employees covered by this Appendix
     must be shown on the Contractors payroll; and the employees
     payroll check shall show the number of benefit hours paid.
     Payments by second check or cash are prohibited. If such vi-
     olations are found or if a Contractor fails or refuses to register
     a job as provided under this Appendix, then the Trust Funds
     may follow any one of two alternatives:

        (a) Follow the formula of Articles I, XVII, XX, XXI,
     XXII, and XXIII of the Master Labor Agreement.

          (b) Determine the contract price on the particular proj-
     ect and estimate the hours from it, then multiply those hours
     by the fringe benefit rates.

          (c) Whenever any of the above alternatives are used in
     determining fringe benefits due, liquidated damages along
     with interest as provided for in the MLA, and/or Construction
     Carpenters Trust Agreements for Southern California, legal
     fees, and audit costs, as determined by the Trust Funds, shall
     be added from due dates.

     7. Effective July 1, 2016, and notwithstanding anything
     else to the contrary in the MLA, scale for journeymen car-
     penters performing residential on grade slab concrete work
     covered by this Appendix or subterranean garage construc-
     tion shall be twenty-eight and eighteen cents ($28.18). In
                                                                    
     future years the Union will review the market situation and
     decide whether to take the increases negotiated per Article
     XVIII. The UGC may reopen this Appendix upon sixty days
     notice prior to July 1, 2017, 2018 or July 1, 2019 to review
     increases under this Appendix.

     8. Effective July 1, 2016, and notwithstanding anything to
     the contrary in the MLA, apprentices performing residential
     work covered by this Appendix shall be paid the following
     percentage of journeymen scale:


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                                                                                                                                                                                                                    BENEFIT
      PERIOD                                                     HOURS                                                                                            PERCENTAGE                               WAGE      CODE
    1st Period                                                   1000                                                                                                                    40%                11.27     (1)
    2nd Period                                                    600                                                                                                                    50%                14.09     (1)
    3rd Period                                                    600                                                                                                                    60%                16.91     (2)
    4th Period                                                    600                                                                                                                    65%                18.32     (3)
    5th Period                                                    600                                                                                                                    70%                19.73     (3)
    6th Period                                                    600                                                                                                                    75%                21.14     (3)
    7th Period                                                    600                                                                                                                    80%                22.54     (3)
    8th Period                                                    600                                                                                                                    90%                25.36     (3)
    Journeyman                                                                                                                                                                           100%               28.18     (3)
       NOTE: Each pay period advancement will be based on
   hours worked on-the-job as per the schedule.

        Solely for the purpose of determining when an appren-
   tice has qualified for advancement to the next period, Con-
   tractors shall report the hours actually worked by apprentices
   on the Apprenticeship Monthly Report Form.

   * Contribution Schedule (Effective July 1, 2016)

   Code (1)

       Health and Welfare                                                                                                                                                                                $6.85
                                                                                                                                       . . . . . . . . . . . . 
       Vacation/Supplemental Dues                                                                                                                                                                        $3.95
                                                                                                                                                                                            . . . . . 
       Apprenticeship                                                                                                                                                                                    $0.57
                                                                   . . . . . . . . . . . . . . . . 
       Cooperation Committee                                                                                                                                                                             $0.26
                                                                                                                                                                    . . . . . . . . . 
       Grievance Fund                                                                                                                                                                                    $0.03
                                                                                                      . . . . . . . . . . . . . . . 
   Code (2)

       Health and Welfare                                                                                                                                                                                $6.85
                                                                                                                                       . . . . . . . . . . . . 
       Vacation/Supplemental Dues                                                                                                                                                                        $4.95
                                                                                                                                                                                            . . . . . 
       Apprenticeship                                                                                                                                                                                    $0.57
                                                                   . . . . . . . . . . . . . . . . 
       Cooperation Committee                                                                                                                                                                             $0.26
                                                                                                                                                                    . . . . . . . . . 
       Grievance Fund                                                                                                                                                                                    $0.03
                                                                                                      . . . . . . . . . . . . . . . 
   Code (3)

       Pension                                                                                                                                                                                           $4.66
                 . . . . . . . . . . . . . . . . . . . . . . 
       Health and Welfare                                                                                                                                                                                $6.85
                                                                                                                                       . . . . . . . . . . . . 
       Vacation/Supplemental Dues                                                                                                                                                                        $4.95
                                                                                                                                                                                            . . . . . 
       Apprenticeship                                                                                                                                                                                    $0.57
                                                                   . . . . . . . . . . . . . . . . 
       Cooperation Committee                                                                                                                                                                             $0.26
                                                                                                                                                                    . . . . . . . . . 
       Grievance Fund                                                                                                                                                                                    $0.03
                                                                                                      . . . . . . . . . . . . . . . 
        Journeymen Carpenters shall receive contributions as set
   forth in Code 3 above.



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     9. There is created a classification of Craft Assistant. The
     Craft Assistant will receive a wage rate of $10.00 per hour
     and the following fringe benefits:

          Health and Welfare                                                                             $6.85



                                                                 . . . . . . . . . . . . 
          Pension                                                                                        $4.66
                  . . . . . . . . . . . . . . . . . . . . . . 
          Vacation/Supplemental Dues                                                                     $3.95




                                                                                            . . . . . 
          Craft Assistants may perform any non craft work, in-
     cluding general clean up, cleaning of forms and other non
     craft work in support of Journeyman and Apprentice Carpen-
     ters. In the event there is an increase in the rates set forth in
     paragraph 12 such increases shall apply to the Craft Assistant
     classification.

     10. Term: This Appendix K shall extend through June 30,
     2020 and from year to year thereafter. This Appendix may be
     terminated by either party giving notice to the other at least
     sixty (60) days prior to the termination date of this Appendix.
     Termination of this Appendix shall not terminate the MLA.
     In the event this Appendix is terminated by either party prior
     to the termination date of the MLA, and no new Appendix is
     agreed upon, all work covered by this Appendix shall be per-
     formed under the terms of the MLA, except that any project
     started under this Appendix, and properly registered, may be
     completed under the terms of this Appendix.

                     APPENDIX L
          SPECIAL WORKING RULES FOR GLASS
          & METAL NON-STRUCTURAL BUILDING
                    COMPONENTS

     1. The following Special Working Rules adopt all the pro-
     visions of the Carpenters Master Labor Agreement, except as
     such provisions are modified and superseded by these Special
     Working Rules.

     2. The Contractors and the Union, recognize the mutual
     need for special working rules governing the installation of
     non-structural elements composed of glass, metal and other
     engineered composite materials.

     3. This Appendix is applicable to work on all types of
     glass, metal and other engineered composite materials used
     in walls, siding, doors, stairs, stair railings, cabinets, shelv-
     ing and other non-structural building components that when
     composed of wood material have traditionally been installed
     by Carpenters.

     4.   Store-front systems and curtain wall building envelopes

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   are non-structural weather-facing aluminum framed walls
   with glass panels and are also used for interior partition walls
   in offices and malls.

         (a) An infill refers to a panel of any material that is
   inserted into the curtain wall assembly which could be for
   security, aesthetic or functional purposes. Infills can be but
   are not limited to specially designed; insulation panels, metal
   panels, engineered stone panels, high-pressure laminate plas-
   tics, fiber-reinforced cement board, solar photovoltaic panels,
   windows, doors and louvers or other types of vents incorpo-
   rated into the wall assembly.

   5. Rainscreens are double skin wall systems creating an ex-
   terior façade designed to keep out the weather and are assem-
   bled with many types of cladding including but not limited to
   glass, metal & plastic.

   7. The Association and the Union agree to periodically
   meet to more precisely identify work covered under this Ap-
   pendix and resolve any disputes that arise as to whether these
   Special Working Rules shall apply to any specific task.

   8. Article V, Section 503 of the Master Agreement shall not
   necessarily apply to non-traditional work that could be con-
   strued as covered in this Appendix.

   9. Effective July 1, 2016 Apprentices covered by the terms
   of this Agreement shall be paid the following percentages of
   the appropriate Journeyman’s hourly wage rate as reflected
   in the table below:

                                                                                                                                                                                      BENEFIT
      PERIOD                                                             HOURS                                        PERCENTAGE                                            WAGE       CODE
    1st Period                                                           1000                                           40%                                                 16.16       (1)
    2nd Period                                                            600                                           50%                                                 20.20       (1)
    3rd Period                                                            600                                           60%                                                 24.24       (2)
    4th Period                                                            600                                           65%                                                 26.26       (3)
    5th Period                                                            600                                           70%                                                 28.28       (3)
    6th Period                                                            600                                           75%                                                 30.30       (3)
    7th Period                                                            600                                           80%                                                 32.32       (3)
    8th Period                                                            600                                           90%                                                 36.36       (3)
    Journeyman                                                                                                          100%                                                40.40       (3)
   CONTRIBUTIONS SCHEDULE:

        Pension                                                                                                                                                               $4.66
                 . . . . . . . . . . . . . . . . . . . . . . . . . . 
        Health and Welfare                                                                                                                                                    $6.85
                                                                                 . . . . . . . . . . . . . . . . . 
        Vacation/Supplemental Dues                                                                                                                                            $4.93
                                                                                                                                                     . . . . . . . . . . 
        Cooperation Committee                                                                                                                                                 $0.26
                                                                                                                        . . . . . . . . . . . . . 
                                                                        Page 148138
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         Apprenticeship Training                                                                                         $0.57




                                                                     . . . . . . . . . . . . . 
         Industry Advancement Fund                                                                                       $0.08




                                                                                                  . . . . . . . . . . 
         Contract Administration                                                                                         $0.02




                                                                     . . . . . . . . . . . . . 
         Grievance Fund                                                                                                  $0.03



                          . . . . . . . . . . . . . . . . . . . . 
     Code (1)    Health and Welfare; Vacation/Supplemental
     Dues ($3.95); Apprenticeship; Cooperation Committee;
     Contract Administration; Industry Advancement, Grievance.

     Code (2)    Health and Welfare; Vacation/Supplemental
     Dues ($4.95); Apprenticeship; Cooperation Committee;
     Contract Administration; Industry Advancement, Grievance.

     Code (3)    Pension; Health and Welfare; Vacation/Sup-
     plemental Dues ($4.95); Apprenticeship; Cooperation Com-
     mittee; Contract Administration; Industry Advancement,
     Grievance

                       APPENDIX M
                  GRIEVANCE OF DISPUTES

          The Parties to this Agreement recognize that the Su-
     preme Court of the United States has consistently held for
     over fifty years that federal law and policy favors the use and
     finality of arbitration procedures established through collec-
     tive bargaining agreements to resolve all nature of disputes
     affecting the employee-employer relationship.

          As the designated representative of employees, the
     Union contracts regarding the specific terms and conditions
     of employment as well as the enforcement mechanism to
     ensure those conditions are met, which mechanisms include
     grievance arbitration. These terms, conditions and enforce-
     ment mechanisms are generally superior to those available
     to employees not covered by collective bargaining agree-
     ments. Grievance arbitration provision in a collective bar-
     gaining agreement is reflected in national labor laws and is
     premised on the federal policy to promote industrial stabi-
     lization through the collective bargaining agreement. “A
     major factor in achieving industrial peace is the inclusion
     of a provision for arbitration of grievances in the collec-
     tive bargaining agreement.” United Steelworkers of Am. v.
     Warrior & Gulf Nav. Co., 363 U.S. 574, 577-78, 80 S. Ct.
     1347, 1350, 4 L. Ed. 2d 1409 (1960). D.R. Horton, Inc. v.
     N.L.R.B., 737 F.3d 344, 361 (5th Cir. 2013) (“[W]e dis-
     cern[ ] in the structure of the [National Labor Relations Act]
     the very specific right of employees to complete the collec-
     tive-bargaining process and agree to an arbitration clause.”
     Citing, Blessing v. Freestone, 520 U.S. 329, 343, 117 S.Ct.
     1353, 137 L.Ed.2d 569 (1997) (internal quotation marks
     and citation omitted).

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        The Parties to this Agreement recognize that the Na-
   tional Labor Relations Board has held that the pursuit of
   collective or class action claims is concerted action but that
   a union may waive certain rights to concerted action in a
   collective bargaining agreement. In doing so, the National
   Labor Relations Board recognized that a collectively bar-
   gained arbitration clause stems from the exercise of rights to
   act in concert and that “[F]or purposes of examining wheth-
   er a waiver of Section 7 rights is unlawful, an arbitration
   clause freely and collectively bargained between a union and
   an employer does not stand on the same footing as an em-
   ployment policy… imposed on individual employees by the
   employer as a condition of employment.” D. R. Horton Inc.,
   357 NLRB No. 184 (January 3, 2012).

         The Parties to this Agreement recognize that arbitration
   pursuant to the grievance procedure affords numerous bene-
   fits including expedited resolution of disputes; reduced cost
   and expense as compared to litigation; potentially greater
   monetary relief to individual employees; benefit of the arbi-
   trator’s knowledge and expertise with the bargaining parties,
   the employment relationships governed by the collective
   bargaining agreement, and the practices of the construction
   industry; less restrictive rules of evidence; and less formal
   procedures. The Parties also recognize that class and repre-
   sentative action procedures are designed to afford a mecha-
   nism of relief for claims for which the costs of litigation are
   disproportionate to the available relief and that this griev-
   ance procedure addresses the same concerns by providing
   an expedited mechanism at reduced cost to address such
   claims without the need for class or representative action
   procedures. It is therefore the intent of the parties that this
   grievance procedure provide a mechanism for resolving the
   individual claims covered herein which balances expedited
   and complete relief to employees for violations with avoid-
   ance of unnecessary costs and disproportionate remedies as-
   sociated with class and representative actions.

       Arbitration of Employment Related Claims.

        Any dispute, complaint or grievance alleging a vio-
   lation of the Master Labor Agreement shall be processed
   through the Procedure for Settlement of Grievance and Dis-
   putes in Article VI, and the Local Union and Union shall
   retain sole and exclusive ability to bring such a grievance
   to arbitration pursuant such Article. In addition, any dis-
   pute, complaint or grievance concerning a violation of, or
   arising under, Industrial Welfare Commission Wage Order
   16 (“Wage Order 16”) which is subject to the Procedure for
   Settlement of Grievance and Disputes in Article VI by op-
   eration of Wage Order 16 and exemptions contained therein

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     for employees covered by collective bargaining agreements
     shall remain subject only to Article VI and not this Appendix
     M. Disputes, complaints or grievances within the scope of
     this paragraph shall be referred to as “Contractual Disputes”.

          In addition to Contractual Disputes that may be brought
     by the Union or Local Union as described above, all employ-
     ee disputes concerning violations of, or arising under Wage
     Order 16 (except as noted in the immediately preceding
     paragraph), the California Labor Code Sections identified in
     California Labor Code section 2699.5 as amended, the Cal-
     ifornia Private Attorneys General Act (Labor Code section
     2698, et seq.), and federal, state and local law concerning
     wage-hour requirements, wage payment and meal or rest
     periods, including claims arising under the Fair Labor Stan-
     dards Act (hereinafter “Statutory Dispute” or “Statutory Dis-
     putes”) shall be subject to and must be processed by the em-
     ployee pursuant to the procedures set forth in this Appendix
     M as the sole and exclusive remedy. To ensure disputes are
     subject to this grievance procedure in accordance with the
     intended scope of coverage set forth herein, Statutory Dis-
     putes also include any contract, tort or common law claim
     concerning the matters addressed in the foregoing laws (oth-
     er than a claim of violation of the Master Labor Agreement
     which are deemed Contractual Disputes). This Appendix
     shall not apply to claims before the National Labor Rela-
     tions Board, the Employee Equal Opportunity Commission,
     the Department of Fair Employment and Housing, and the
     California Division of Workers’ Compensation.

         Procedure for Arbitration of Disputes.

          No Statutory Dispute subject to this Appendix M shall
     be recognized unless called to the attention of and, in the
     event it is not resolved, confirmed in writing by the indi-
     vidual employee to the individual Contractor and the Local
     Union within the later of (i) the time set forth in the Proce-
     dure for Settlement of Grievance and Disputes in Article VI
     or (ii) the time provided for under applicable statute.

          Grievances and arbitrations of all Statutory Disputes
     shall be brought by the individual employee in an individual
     capacity only and not as a grievant or class member in any
     purported class or representative grievance or arbitration
     proceeding. The Arbitrator shall have the authority to con-
     solidate individual grievances for hearing, but shall not have
     the authority to fashion a proceeding as a class or collective
     action or to award relief to a group or class of employees in
     one grievance or arbitration proceeding.

         The Arbitrator shall have full authority to fashion such
     remedies and award relief consistent with limitations under
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   federal and state law, and precedent established thereunder,
   whether by way of damages or the award of attorneys’ fees
   and other costs, orders to cease and desist, or any and all
   other reasonable remedies designed to correct any violation
   which the Arbitrator may have found to have existed, in-
   cluding such remedies as provided under applicable state or
   federal law or regulation. The decision of the Arbitrator is
   final and binding upon the parties and is enforceable in a
   court of competent jurisdiction.

        The Arbitrator shall not have any authority to award
   relief that would require amendment of the Master Labor
   Agreement or other agreement(s) between the Union and a
   Contractor or the Contractors, or which conflicts with any
   provision of any collective bargaining agreement or such
   other agreement(s). Any arbitration outcome shall have no
   precedential value with respect to the interpretation of the
   Master Labor Agreement or other agreement(s) between the
   Union and a Contractor or the Contractors.

       The parties agree to review the Appendix on a regular
   basis and as the law evolves, engage in good faith discus-
   sions to consider modifications to maintain its effectiveness.

                APPENDIX N
     HEALTHY WORKPLACE HEALTHY FAMILY
               ACT OF 2014

        The parties hereto agree, to the fullest extent permit-
   ted, that the Agreement shall operate to waive any and all
   provisions of the Healthy Workplace Healthy Family Act
   of 2014, effective January 1, 2015, and shall supersede and
   be considered to have fulfilled all requirements of said Act
   as presently written and/or amended during the life of this
   Agreement.

                  APPENDIX O
        PRIVATE ATTORNEY GENERALS ACT

        The Southwest Regional Council of Carpenters and
   its affiliated local unions (“Unionˮ), on the one hand, and
   the United General Contractors, Incorporated, on the oth-
   er hand, are parties (hereinafter “Partiesˮ) to a Master La-
   bor Agreement (“Agreementˮ) that will expire on June 30,
   2022. The Parties to this Agreement hereby agree to amend
   it with respect to the following Recitals and Resolutions in
   this Memorandum of Understanding (“MOUˮ) for the pur-
   pose of availing themselves of the exemption that the Private
   Attorney Generals Act, in particular Labor Code § 2699.6,
   extends to collectively-bargained contractors in the con-
   struction industry.

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                                RECITALS

          WHEREAS, Governor Jerry Brown signed Assembly
     Bill 1654 (“AB 1654ˮ) on September 19,2018, which added
     Section 2699.6 to the Labor Code;

          WHEREAS, AB 1654 exempts from the coverage of
     the Private Attorney Generals Act (Part 13 of Division 2 of
     the Labor Code (commencing with Section 2698)) (“PA-
     GAˮ) any “employee in the construction industry,ˮ as that
     term is defined by Labor Code §2699.6(d), with respect to
     work performed under a valid collective bargaining agree-
     ment that meets the requirements of AB 1654, in particular,
     Labor Code §2699.6(a) (‘‘Exemptionˮ);

          WHEREAS, the application of that Exemption requires
     satisfaction of certain conditions set forth in Labor Code
     §2699.6(a)(1)-(3), which mandates that a collective bargain-
     ing agreement such as this Agreement contain wages, hours
     of work, and working conditions of employees, premium
     wage rates for all overtime hours worked, and for the em-
     ployee to receive a regular hourly pay rate of not less than
     30 percent more than the state minimum wage rate and the
     following provisions:

          (1) Prohibits all of the violations of the Labor Code that
     would be redressable pursuant to PAGA, and provides for a
     grievance and binding arbitration procedure to redress those
     violations.

         (2) Expressly waives the requirements of PAGA in clear
     and unambiguous terms.

          (3) Authorizes the arbitrator to award any and all rem-
     edies otherwise available under the Labor Code, provided
     that nothing in this section authorizes the award of penalties
     under this part that would be payable to the Labor and Work-
     force Development Agency.

          WHEREAS, Article VI of this Agreement contains pro-
     visions authorizing the filing of a grievance which can be
     pursued to final and binding arbitration (“Grievance / Arbi-
     tration Machineryˮ);

        WHERAS, the Parties wish to avail themselves of this
     Exemption by agreeing to the terms of this MOU;

         WHEREAS, all Recitals shall be deemed Resolutions
     and all Resolutions shall be deemed Recitals.

                             RESOLUTIONS

         WHEREFORE, the parties clearly and unambiguously

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   waive the provisions of PAGA, and agree that none of the
   provisions of PAGA shall apply to any of the employees
   covered by this Agreement;

        WHEREFORE, the parties agree that the Union may
   file a grievance pursuant to this Agreement’s Grievance /
   Arbitration Machinery and such a grievance can assert vi-
   olations of the Labor Code that are redressable by PAGA,
   which include those sections enumerated in Labor Code §§
   2699.5 and 2699(f) and any others to ensure application of
   the Exemption;

        WHEREFORE, an arbitrator presiding over an arbi-
   tration conducted pursuant to the Grievance / Arbitration
   Machinery shall have the authority to make an award of
   any all remedies otherwise available under the Labor Code
   except for an award of penalties that would be payable to
   the Labor and Workforce Development Agency, and that
   any Labor Code violations asserted by the Union that are
   redressable by PAGA will be deemed violations of this
   Agreement if so found by the arbitrator;

       WHEREFORE, the parties agree that the terms of this
   MOU meet all conditions for application of the Exemption
   in AB 1654.

            United General Contractors, Incorporated



   By: _____________________________________________
                      Mitchell Weiss
                     Principal Officer

   Date: ___________________________________________



           Southwest Regional Council of Carpenters



   By: _____________________________________________
                      Daniel Langford
                Executive-Secretary Treasurer

   Date: ___________________________________________

                    APPENDIX SD
                  SAN DIEGO COUNTY

   The following special rules shall be applicable to building
   construction work performed in San Diego County. The

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     Master Labor Agreement shall apply to all such work ex-
     cept as specifically modified by this Appendix. Engineering
     construction (heavy and highway) work shall be performed
     under all provisions of the Master Labor Agreement, except
     as modified by Paragraphs two (2), ten (10), eleven (11) and
     twelve (12).

     1.   WORK PERIOD

          (a) Forty (40) hours worked from Monday through Fri-
     day shall constitute a weeks work. Any work actually per-
     formed in excess of eight (8) hours in one day or forty (40)
     hours during any work week, and any work performed on
     a Saturday shall be payable at the rate of one and one-half
     (1-1/2) times the employee’s straight- time hourly rate; ex-
     cept that an employee who does not complete a full forty (40)
     hours, due to inclement weather, major mechanical break-
     down or lack of materials beyond the control of the Employer
     or because the employee voluntarily chooses to miss a sched-
     uled workday may voluntarily work on Saturdays at straight-
     time or Fridays if working 4-10 shifts. Work on Sundays,
     holidays and after twelve hours in any day shall be paid at
     double time.

          (b). All starting and quitting times shall be determined
     by the Employer.

     2.   HOLIDAYS

          Appendix SD shall recognize the same holidays set forth
     in Article IX of the Master Labor Agreement. Veterans Day
     shall be observed on November 11th.

     3.   SUBCONTRACTING

          The Contractor may subcontract any work without re-
     gard to the signatory status of the subcontractor, except con-
     crete form work, drywall/lathing work, acoustical, door, and
     hardware work and work which the Contractor has tradition-
     ally performed with its own work force.

          Concrete form work, drywall/lathing work, finish work
     and scaffold work and work the Contractor traditionally per-
     forms with its own work force may also be subcontracted,
     but only in accordance with the provisions of Article V of the
     Master Labor Agreement.

     4.   WAGES

          (a). Effective July 1, 2016 the wage scale for journey-
     man commercial carpenters on building projects shall be
     thirty-five dollars and ten cents ($35.10) per hour. Increases
                                                          
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   for 2017, 2018 and 2019 shall be as follows:

       Effective July 1, 2017                                     $2.00 per hour*




                                . . . . . . . 
       Effective July 1, 2018                                     $2.20 per hour*




                                . . . . . . . 
       Effective July 1, 2019                                     $2.30 per hour*



                                                 . . . . . . . 
       Effective July 1, 2020                                     $2.00 per hour*


                                . . . . . . . 
       Effective July 1, 2021                                     $2.00 per hour*

                                . . . . . . . 
   * The Union shall have the right to allocate a portion of any
   wage increase to Trust Fund contributions.

       (b). Pay rates of apprentices shall be those specified in
   accordance with the apprenticeship program specifications
   and based on the specified percentage of journeyman wages.
   (See paragraph 10).

   (c). Foreman shall be paid not less than $3.00 per hour more
   than the hourly rate of the highest Carpenter classification
   over which he has responsibility.

        (d). Certified welders shall receive a premium of $1.00
   per hour.

   5. RESIDENTIAL, LIGHT COMMERCIAL WAGES

        Wage rates on residential and light commercial projects
   shall be based upon 80% of the rates specified for commer-
   cial carpenters. This shall include work meeting of any of
   the following criteria: (1) a residential wood frame project of
   any size; (2) work classified as Type III, Type IV or Type V
   construction; and (3) any wood frame project of four stories
   or less.

        This reduced wage rate shall not apply to institutional
   type buildings such as public or private schools, hospitals,
   libraries, museums, or post offices or other similar structures
   whose construction entails construction specifications or fire
   ratings which exceed that normal for the typical Type III, IV
   or V building. Any dispute regarding whether a particular
   building is covered by this provision shall be resolved by the
   Union’s Contract Administrator and the designated represen-
   tative of the UGC. A building classified as Type II, IV or V
   shall be presumptively covered unless the designated individ-
   uals agree otherwise.

       Section 1811 of the Master Labor Agreement shall not be
   applicable to work performed pursuant to this paragraph.




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     6.   APPRENTICESHIP TRAINING AND RATIO

          (a). The employer shall participate in the Southern Cal-
     ifornia Carpenters apprenticeship program and the cost of
     participation shall be $0.57 per hour for each hour worked
     by employees covered by this Appendix. The $0.57 per hour
     contribution shall be transmitted to the Carpenters Joint Ap-
     prenticeship and Training Committee Fund for Southern Cal-
     ifornia.

          (b). The Employer shall maintain a ratio of at least one
     apprentice for each three journeymen. The ratio of apprentic-
     es to journeymen may be up to a maximum of one apprentice
     to one journeymen, as measured throughout the Employer’s
     total work force.

     7. PUBLIC WORKS PROJECTS COVERED BY THE
     DAVIS-BACON AND RELATED STATUTES OR THE
     CALIFORNIA LABOR CODE SECTION 1720 ET. SEQ.

          (a) In the event that the Employer bids and contracts
     for a public job or project by a federal, state, county, city or
     other public entity which is to be performed at a predeter-
     mined and/or prevailing wage rate established by the Cali-
     fornia Department of Industrial Relations or the Secretary of
     the United States Department of Labor, the predetermined or
     prevailing wage rate established for the project shall be ad-
     opted as the wages required to be paid under this Agreement
     for the project only.

         (b) If there is an increase in fringe benefit contributions
     during the life of the project the fringe benefit increase will
     apply.

     8.   FRINGE BENEFIT CONTRIBUTIONS

          Contractors will be obligated to make the following
     fringe benefit contributions for all hours worked by carpen-
     ters in San Diego County.

          Pension                                                    $4.66
                     . . . . . . . . . . . . . . . . . . . . . . . . . . 
          Health and Welfare                                         $6.85
                                                                            . . . . . . . . . . . . . . . . . 
          Vacation/Supplemental Dues                                 $4.95
                                                                                                                                              . . . . . . . . . . 
          Apprenticeship. . . . . . . . . . . . . . . . . . . . . $0.57
          Grievance. . . . . . . . . . . . . . . . . . . . . . . . . $0.03
          Cooperation Committee                                      $0.05
                                                                                                                 . . . . . . . . . . . . . 
         These rates may be increased by allocating a portion of
     any future wage increase to contributions.


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        To take advantage of these contribution rates, the Con-
   tractor must notify the Trust Fund in writing that it has a job
   commencing in San Diego County by the 15th of the month
   prior to the start of work, unless the contractor is already
   receiving reporting forms with the San Diego contributions
   rates.

   9.    APPRENTICESHIP WAGE RATES

   COMMERCIAL APPRENTICE
   CARPENTERS-BUILDING CONSTRUCTION

                                                                                                                                                                             BENEFIT
        PERIOD                                               HOURS                                                            PERCENTAGE                           HOURS      CODE
   1st Period                                                1000                                                                45%                                15.80      (1)
   2nd Period                                                600                                                                 50%                                17.55      (1)
   3rd Period                                                600                                                                 60%                                21.06      (2)
   4th Period                                                600                                                                65%                                 22.82      (3)
   5th Period                                                600                                                                70%                                 24.57      (3)
   6th Period                                                600                                                                75%                                 26.33      (3)
   7th Period                                                600                                                                80%                                 28.08      (3)
   8th Period                                                 600                                                                90%                                31.59      (3)
   Journeyman                                                                                                                   100%                                35.10      (3)


   RESIDENTIAL APPRENTICE CARPENTERS

                                                                                                                                                                            BENEFIT
        PERIOD                                               HOURS PERCENTAGE                                                                                     WAGE       CODE
   1st Period                                                1000                                                               45%                                12.64      (1)
   2nd Period                                                 600                                                               50%                                14.04      (1)
   3rd Period                                                 600                                                               60%                                16.85      (2)
   4th Period                                                 600                                                               65%                                18.25      (3)
   5th Period                                                 600                                                               70%                                19.66      (3)
   6th Period                                                 600                                                               75%                                21.06      (3)
   7th Period                                                 600                                                               80%                                22.46      (3)
   8th Period                                                 600                                                               90%                                25.27      (3)
   Journeyman                                                                                                                   100%                               28.08      (3)
   SAN DIEGO COUNTY CONTRIBUTION CODES:

   Code (1)

         Health and Welfare                                                                                                                                       $6.85
                                                                                                   . . . . . . . . . . . . 
         Apprenticeship                                                                                                                                           $0.57
                                                                . . . . . . . . . . . . . . . . 
         Vacation/Supplemental Dues                                                                                                                               $3.95
                                                                                                                                                     . . . . . 
         Grievance                                                                                                                                                $0.03
                  . . . . . . . . . . . . . . . . . . . . 
         Cooperation Committee                                                                                                                                    $0.05
                                                                                                                                . . . . . . . . . 
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     Code (2)

         Health and Welfare                                                                                                                                                                                $6.85




                                                                                                                                              . . . . . . . . . . . . 
         Apprenticeship                                                                                                                                                                                    $0.57


                                                                                                           . . . . . . . . . . . . . . . . 
         Vacation/Supplemental Dues                                                                                                                                                                        $4.95




                                                                                                                                                                                              . . . . . 
         Grievance                                              . . . . . . . . . . . . . . . . . . . . 
                                                                                                                                                                                                           $0.03
         Cooperation Committee                                                                                                                                                                             $0.05


                                                                                                                                                                         . . . . . . . . . 
     Code (3)

         Pension                                                                                                                                                                                           $4.66
                 . . . . . . . . . . . . . . . . . . . . . . 
         Health and Welfare                                                                                                                                                                                $6.85
                                                                                                                                              . . . . . . . . . . . . 
         Apprenticeship                                                                                                                                                                                    $0.57
                                                                                                           . . . . . . . . . . . . . . . . 
         Vacation/Supplemental Dues                                                                                                                                                                        $4.95
                                                                                                                                                                                              . . . . . 
         Grievance                                                                                                                                                                                         $0.03
                                                                . . . . . . . . . . . . . . . . . . . . 
         Cooperation Committee                                                                                                                                                                             $0.05
                                                                                                                                                                         . . . . . . . . . 
     CARPENTER PRE-APPRENTICE
          Pre-apprentice receives $10.50 per hour plus receives
     supplemental dues contribution. This Supplemental Dues
     contribution shall be increased to correspond to the supple-
     mental dues obligation of other carpenters under this agree-
     ment. Pre-apprentices may work a maximum of 500 hours
     before they must go into the apprentice program or be dis-
     missed from the employers payroll. Pre-apprentices are not
     indentured apprentices and may not work on public works
     projects. See the appropriate Agreement for other restrictions
     on the use of pre-apprentices.

          Apprentice rates or apprentice rates shall be maintained
     at the percentage called for in the Master Labor Agreement
     and this Appendix. Percentages are calculated on the Jour-
     neyman rates contained in Paragraph 4 and 12.

     10. HIRING

          As soon as practicable prior to commencing a new proj-
     ect, the Employer will notify the Union of the location of the
     project.

     11. ENGINEERING CONSTRUCTION WORK

         Engineering (heavy and highway) work shall be per-
     formed under the terms set forth in the Master Labor Agree-
     ment.

          There is established for engineering construction work
     in San Diego County, a classification of Bridge Carpenter for
     work on highway and other bridges. Bridge carpenters and
     Piledrivers shall perform all carpenter classification work in
     connection with the construction of highway bridges except

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   that only Piledrivers will be used to drive pile.

        Wages and benefits for engineering construction shall be
   as follows with apprentice rates calculated at the appropriate
   percentage of journey rate:

       Effective July 1, 2016 the wage scale for journeyman
   carpenters on engineering construction projects shall be:

       Journeyman or Engineering Work                $40.20


                                                                                                                                                                                       . . . . . . . . . . .
       Bridge Carpenter (Highway Work)               $40.33


                                                                                                                                                                                                               . . . . . . . . . .
       Millwright                                    $40.70
                                                                                . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
       Piledriver                                    $40.33
                  . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
       Certified welders receive a premium of $1.00 per hour.
       Wage increases applicable to engineering construction:
       Effective July 1, 2017                                                                                                                                                                                                        $2.00 per hour*.
                                                                                                                                                     . . . . . . . . . . . . 
       Effective July 1, 2018                                                                                                                                                                                                        $2.20 per hour*.
                                                                                                                                                     . . . . . . . . . . . . 
       Effective July 1, 2019                                                                                                                                                                                                        $2.30 per hour*.
                                                                                                                                                     . . . . . . . . . . . . 
   * The Union shall have the right to allocate a portion of any
   wage increase to Trust Fund contributions.

   CARPENTER APPRENTICES - ENGINEERING
   CONSTRUCTION
                                                                                                                                                                                                                                              BENEFIT
      PERIOD                                                                    HOURS                                                               PERCENTAGE                                                                       WAGE      CODE
   1st Period                                                                                                                               1000                                 45%                                                 $18.09      (1)
   2nd Period                                                                                                                               600                                  50%                                                 $20.10      (1)
   3rd Period                                                                                                                               600                                  60%                                                 $24.12      (2)
   4th Period                                                                                                                               600                                  65%                                                 $26.13      (3)
   5th Period                                                                                                                               600                                  70%                                                 $28.14      (3)
   6th Period                                                                                                                               600                                  75%                                                 $30.15      (3)
   7th Period                                                                                                                               600                                  80%                                                 $32.16      (3)
   8th Period                                                                                                                                600                                 90%                                                 $36.18      (3)
   Journeyman                                                                                                                                                                   100%                                                 $40.20      (3)

   MILLWRIGHT APPRENTICES

                                                                                                                                                                                                                                              BENEFIT
       PERIOD                                                                                                                               HOURS   PERCENTAGE                                                                       WAGES     CODE
   Pre-Apprentice                                                                                                                            650                                 40%                                                 16.28      (1)
   1st Period                                                                                                                                650                                 50%                                                 20.35      (1)
   2nd Period                                                                                                                                650                                 55%                                                 22.39      (1)
   3rd Period                                                                                                                                650                                 60%                                                 24.42      (2)
   4th Period                                                                                                                                650                                 65%                                                 26.46      (3)
   5th Period                                                                                                                                650                                 70%                                                 28.49      (3)
   6th Period                                                                                                                                650                                 75%                                                 30.53      (3)

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     7th Period                                                                                                                 650                                                                                                      80%                                  32.56       (3)
     8th Period                                                                                                                 650                                                                                                      85%                                  34.60       (3)
     9th Period                                                                                                                 650                                                                                                      90%                                  36.63       (3)
     10th Period                                                                                                                650                                                                                                      95%                                  38.67       (3)
     Journeyman                                                                                                                                                                                                                          100%                                 40.70       (3)
     Foreman                                                                                                                                                                                                                                                                  43.70       (3)
     General
     Foreman                                                                                                                                                                                                                                                                  46.70       (3)


     PILE DRIVER APPRENTICES/
     BRIDGE CARPENTER APPRENTICES

                                                                                                                                                                                                                                                                                        BENEFIT
        PERIOD                                                                                                                HOURS PERCENTAGE                                                                                                                               WAGE        CODE
     1st Period                                                                                                               1000                                                                            45%                                                            18.15        (1)
     2nd Period                                                                                                               600                                                                             50%                                                            20.17        (1)
     3rd Period                                                                                                               600                                                                             60%                                                            24.20        (2)
     4th Period                                                                                                               600                                                                            65%                                                             26.21        (3)
     5th Period                                                                                                               600                                                                            70%                                                             28.23        (3)
     6th Period                                                                                                               600                                                                            75%                                                             30.25        (3)
     7th Period                                                                                                               600                                                                            80%                                                             32.26        (3)
     8th Period                                                                                                                600                                                                            90%                                                            36.30        (3)
     Journeyman                                                                                                                                                                                              100%                                                            40.33        (3)

     SAN DIEGO COUNTY CONTRIBUTION CODES -
     ENGINEERING
     1st & 2nd Periods                                                                                                                                                                                                                                                       Code (1)

         Health and Welfare                                                                                                                                                                                                                                                    $6.85
                                                                                                                                                                           . . . . . . . . . . . . . . . .
         Vacation/Supplemental Dues                                                                                                                                                                                                                                            $3.95
                                                                                                                                                                                                                                                         . . . . . . . . .
         Apprenticeship                                                                                                                                                                                                                                                        $0.57
                                                                                                                                 . . . . . . . . . . . . . . . . . . . .
         Cooperation Committee                                                                                                                                                                                                                                                 $0.26
                                                                                                                                                                                                             . . . . . . . . . . . . .
         Contract Advancement Fund                                                                                                                                                                                                                                             $0.12
                                                                                                                                                                                                                                           . . . . . . . . .
         Grievance                                                                                                                                                                                                                                                             $0.03
                                                                            . . . . . . . . . . . . . . . . . . . . . . . .
     3rd Periods                                                                                                                                                                                                                                                             Code (2)
                 		
         Health and Welfare                                                                                                                                                                                                                                                    $6.85
                                                                                                                                                                           . . . . . . . . . . . . . . . .
         Vacation/Supplemental Dues                                                                                                                                                                                                                                            $4.95
                                                                                                                                                                                                                                                         . . . . . . . . .
         Apprenticeship                                                                                                                                                                                                                                                        $0.57
                                                                                                                                 . . . . . . . . . . . . . . . . . . . .
         Cooperation Committee                                                                                                                                                                                                                                                 $0.26
                                                                                                                                                                                                             . . . . . . . . . . . . .
         Contract Advancement Fund                                                                                                                                                                                                                                             $0.12
                                                                                                                                                                                                                                           . . . . . . . . .
         Grievance                                                                                                                                                                                                                                                             $0.03
                                                                            . . . . . . . . . . . . . . . . . . . . . . . .
     4th - Journeyman                                                                                                                                                                                                                                                        Code (3)

         Pension                                                                                                                                                                                                                                                               $4.66
                      . . . . . . . . . . . . . . . . . . . . . . . . . .
         Health and Welfare                                                                                                                                                                                                                                                    $6.85
                                                                                                                                                                           . . . . . . . . . . . . . . . .
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       Apprenticeship                                                                                                                                                       $0.57




                                                                    . . . . . . . . . . . . . . . . . . . .
       Vacation/Supplemental Dues                                                                                                                                           $4.95




                                                                                                                                                        . . . . . . . . .
       Cooperation Committee                                                                                                                                                $0.26




                                                                                                              . . . . . . . . . . . . .
       Contract Advancement Fund                                                                                                                                            $0.12




                                                                                                                                          . . . . . . . . .
       Grievance  . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                                            $0.03

   * On Engineering Construction the first two periods of ap-
   prentices receive $3.95 per hour vacation/supplemental
   dues contribution. All other periods, and jouneymen, re-
   ceive the full vacation/supplemental dues contribution of
   $4.95.

   PLEASE NOTE: All classifications have Vacation/ Supple-
   mental Dues added to their wages, taxed, withheld and sub-
   mitted to the Trust Funds. See 1802.7 and 1802.8

             DRUG AND ALCOHOL ABUSE
            PREVENTION AND DETECTION

   The parties recognize the problems which drug and alcohol
   abuse have created in the construction industry and the need
   to develop drug and alcohol abuse prevention programs.
   Accordingly, the parties agree that in order to enhance the
   safety of the work place and to maintain a drug free work
   environment, individual employers may require applicants or
   employees to undergo drug and alcohol screening. The par-
   ties agree that if a screening program is implemented by an
   individual Employer, the following items have been agreed
   upon by Labor and Management:

   1. It is understood that the use, possession, transfer, or sale
   of illegal drugs, narcotics, or other unlawful substances is ab-
   solutely prohibited while employees are on the Employer’s
   job premises, in the Employer’s vehicles, or while working
   on any site in connection with work performed under the ap-
   plicable agreement. In addition, alcohol will not be allowed
   in the Employer’s vehicles.

   2. Employers may use an on-site Oral Fluid or Urine Test
   solely as a type of screen for new hires and for probable
   cause, post accident, follow-up, compliance or conformity
   testing procedure on current employees. The results of on-
   site Oral Fluid or Urine testing may not be used as a sole
   means to establish grounds for denial of employment or as
   cause for termination.

    • The individual dispatched and being screened shall com-
       plete an on-site Oral or Urine screening consent form
       prior to the screening.


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      • The individual providing specimens for testing shall use
           standard universal precautions to prevent the spread of
           infectious disease. As a minimum, protection shall be the
           use of disposable latex gloves.

        • On-site Oral or Urine testing procedures shall be con-
           ducted in a manner consistent with the product manufac-
           turers’ instructions. Test procedures shall be performed
           only by the person being tested in accordance with the
           product manufacturer’s specifications.

        • A member of management and a designated union rep-
           resentative can witness the on-site Oral or Urine Fluid
           screening.

        • When a dispatched individual successfully achieves a
           negative test result, from a substance testing perspective,
           this individual shall be considered eligible for employ-
           ment.

        • When a dispatched individual receives an inconclusive
           test or positive result, the actual test plate, or photograph-
           ic record of the inconclusive or positive test result, shall
           be retained by the individual employer for a minimum of
           sixty (60) days. These records shall be placed in a sealed
           envelope, signed by the tested individual, and shall be
           stored in a secure location separate from the individual’s
           personnel record.

        • In the event of a non-negative test result, the individual
           shall be immediately referred to the nearest clinic for a
           standard drug or alcohol test as prescribed below. The re-
           sults of the standard drug or alcohol test shall determine
           whether the designated employee is hired or retained by
           the employer.

       3. All applicants or newly hired employees are subject to
       drug and alcohol screening at a facility certified by the Sub-
       stance Abuse and Mental Health Services Administration
       (SAMHSA) in accordance with the terms of this Memoran-
       dum. The Employer agrees to pay each applicant or employ-
       ee who takes and passes the drug and alcohol test for all the
       time it takes to undergo the drug and alcohol screening up to
       a maximum of two hours travel time plus lab time.

       4. Applicants not passing the drug and alcohol screen will
       not be placed on the Employer’s payroll or receive any com-
       pensation. Employees not passing the drug and/or alcohol
       screen will be removed from the Employer’s payroll. The
       Employer agrees to pay the cost for administering the drug
       and alcohol screen.
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   5. The Employer may require that an employee be tested
   for drugs and alcohol where the Employer has reasonable
   cause to believe that the employee is impaired from perform-
   ing his/her job. Observation must be made by at least two (2)
   persons, one of whom may be a Union employee. This pro-
   vision shall be applied in a non-discriminatory manner and
   shall utilize the reasonable suspicion checklist and report-
   ing form attached hereto as Attachment 1, or a comparable
   checklist. Supervisors will administer the program in a fair
   and confidential manner. For employees who refuse to take
   a test where the prerequisites set forth in this paragraph have
   been met, there will be a rebuttable presumption that the test
   result would have been positive for an unlawful substance.

   6. An Employer may require that an employee who con-
   tributed to an accident be tested for drugs and/or alcohol
   where the Employer has reasonable cause to believe that the
   accident resulted from drug and/or alcohol usage.

   7. There will be no random drug and/or alcohol testing, in-
   cluding on-site Oral Fluid or Urine Testing, by the signatory
   Employer.

   8. It is understood that the unsafe use of prescribed medi-
   cation, or where the use of prescribed medication impairs the
   employee’s ability to perform work, is a basis for removal.

   9. Drug screening shall be performed at a SAMHSA certi-
   fied lab. A sufficient amount of a urine sample shall be taken
   to allow for an initial drug test and a drug confirmation test.
   The initial test will be by Enzyme Multiplied Immunoassay
   Technique (EMIT). In the event a question or positive result
   arises from the initial test a confirmation test must be utilized
   before action can be taken against the employee or applicant.
   The confirmation test will be by Gas Chromatography - Mass
   Spectrometry (GC/MS). The cutoff levels for both the ini-
   tial test and confirmation test will be those established by the
   Substance Abuse and Mental Health Services Administra-
   tion, as indicated in Attachment 2. Any diluted or delayed
   test shall be a presumed positive result, unless reviewed and
   overturned by the Medical Review Officer. Confirmed posi-
   tive samples will be retained by the testing laboratory in se-
   cured long term frozen storage for a minimum of one year.
   Handling and transportation of each sample must be docu-
   mented through strict chain of custody procedures.

   10. Alcohol testing shall be performed at a SAMHSA certi-
   fied lab using only approved evidential breath testing devic-
   es, or saliva alcohol screening devices listed on the National
   Highway Traffic Safety Administration’s (NHTSA) Conform-
   ing Products List. All equipment shall have a quality assur-
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     ance plan approved by the NHTSA and shall not be used in the
     event that the device does not meet specified quality controls.

     11. Present employees, if tested positive for drugs or alco-
     hol, shall have the prerogative for a rehabilitation program at
     the employee’s expense. When such program has been suc-
     cessfully completed, the Employer shall not discriminate in
     any way against the employee. If work for which the employ-
     ee is qualified exists, he or she shall be reinstated.

     12. Any dispute which arises under this drug and alcohol
     policy shall be submitted to the grievance and arbitration
     procedure set forth in the applicable Agreement.

     13. If, as a condition of contract award or due to Federal,
     State, or Governmental Agency requirements, including but
     not limited to Federal D.O.T. commercial driver drug & alco-
     hol testing requirements, an individual Employer is required
     to abide by or implement more stringent requirements than
     set forth in this Appendix, the individual Employer will noti-
     fy the Union in writing of those requirements.

     14. The establishment or operation of this policy shall not
     curtail any right of an employee found in any law, rule, or
     regulation. Should any part of this policy be found unlaw-
     ful by a court of competent jurisdiction or a public agency
     having jurisdiction over the parties, the remaining portions
     of the policy shall be unaffected and the parties shall enter
     negotiations to replace the affected provision.

     15. The Employer shall indemnify and hold the Union harm-
     less against any and all claims, demands, suits or liabilities that
     may arise solely out of the Employer’s application of this drug
     and alcohol abuse prevention and detection screening program.

     16. This policy will become effective July 1, 2016.

                      Attachment 1
              Reasonable Suspicion Checklist
                   and Reporting Form

     Date of Report _____________________

     Date/Time period covered by Observation: _____________

     Employee Name:__________________________________

     Job Title:_________________________________________

     Supervisor(s): ____________________________________

     Corroborating Witness: _____________________________
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   Physical Symptoms:
   (Provide explanation where appropriate)
   □   Flushed or Pale Face
   □   Dilated Pupils
   □   Constricted Pupils
   □   Glassy Eyes
   □   Bloodshot or Red Eyes
   □   Sniffles /Runny Nose
   □   Swaying, Wobbling, Staggering of Falling
   □   Dizziness
   □   Excessive Sweating in cool areas
   □   Smell of Liquor
   □   Chemical Order on Breath
   □   Burnt Rope smell on body
   □   Drowsiness
   □   Incoherent, Confused or Slurred Speach
   □   Apparent Insensitivity to Pain
   □   Reduced Reaction Time
   □   Poor Coodination
   □   Increased or Depressed Breathing
   □   Tremors
   □   Other _______________________________________

   Behavioral:
   (Provide explanation where appropriate)
   □   Antagonistic
   □   Restless
   □   Overreacts to Minor things
   □   Unusually Talkative /Rapid Speech
   □   Excessive Laughter or Hilarity
   □   Baseless Panic
   □   Withdrawn
   □   Rapid Mood Swings
   □   Irritable
   □   Combative
   □   Depressed
   □   Paranoid
   □   Other _______________________________________

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   Work Symptoms:
   □         Doesn’t Follow Task Instructions
   □         Shows Disregard for Safety of Self & Others
   □         Exhibits Excessive Carelessness
   □         Appears Unable to Concentrate Fully
   □         Excessive Mistakes
   □         Unexplained Decline in Productivity
   □         Dangerous Behavior/ Needless Risk Taking
   □         Unable to Order Tasks
   □         Excessive Focus on Minute Details
   □         Unexplained and Frequent Absences from Work
   □         Forgetfulness
   □         Other ______________________________________

   Long Term Symptoms:
   □         Complaints From Coworkers
   □         Excessive Work Absences
   □         Leaves Job Early for Variety of Reasons
   □         Arrives Late with a Variety of Excuses
   □         Generally Poor & Deteriorating Physical Condition
   □         Excessive Weight Loss
   □         Accident Prone
   □         Other _______________________________________

   General Comments or Notes:




   By: _____________________________________________
                        Signature

   Title: ___________________________________________

                              Attachment 2
                              Testing Levels
    						
   Drug Group                     Initial Test ng/ml   ion Test ng/ml
   Cannabinoids* (THC)                  50                  15
   Cocaine
   Benzoylecgonine*                    150                  100

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   Amphetanimes*                  500                250
   MDMA, MDA, MDEA                500                250
   Ecstasy

   Opiates*                      300**            300**
   Propoxyphene                   300              300
   6-Acetylmorphine                10               10
   Methadone                      300              300
   Phencyclidine*                  25                25
   PCP
   Benzodiazepine                 300                300

   Barbiturates                   300                300

   Alcohol                      >0.04%            >0.04%
                                BAC***            BAC***
   							
   * Cut off values shall meet or exceed those established by
   SAMHSA’s Mandatory Guidelines for Federal Workplace
   Drug Testing Programs.

   ** Includes extended Opiates-Oxycodone, Hydrocodone
   and Hydromorphone

   **As per DOT
                    				
                              Action

                  □ Counseled No Further Action

                  □ Referred to Drug Test

                  □ Referred to Assistance Program




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                             k.gr ern-tent



    United Brotherhood of Carpenters
         And Joiners of America




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     AGREEMENT between               ckv..ez) I
                                            F.Y6L) s Taal  Seeuk Le 5 f LL-C_ (herein referred to as the
"Employer"), and the United Brotherhood of Carpenters and Joiners of America (hereinafter referred to as
the "International Union").

                                            ARTICLE I
                                      RECOGNITION AND SCOPE
     The Employer agrees to recognize the jurisdictional claims of the International Union and to comply
with the contractual wages, fringe benefits, hours and other working conditions established between the
International Union affiliates and the employers or recognized employer agencies in the localities in which
the Employer does any work within the jurisdiction of the International Union.

                                       ARTICLE II
                         WAGES AND FRINGE BENEFIT CONTRIBUTIONS
     Payment of annuity, pension and/or health and welfare contributions for an employee's work in each
locality shall be made to such funds and in such amounts as are identified in the applicable collective
bargaining agreement for that locality, provided that the designated fund is signatory to an International
Union National Reciprocal Agreement. In the event such annuity, pension and/or health and welfare fund is
not signatory to the appropriate National Reciprocal Agreement, the equivalent contribution amounts shall
be paid to the relevant fund identified in the collective bargaining agreement of the International Union
affiliate in the employee's home area, or, in the event such home area fund refuses to accept that
contribution, to the Carpenters Labor-Management Pension Trust.
     Provided further, that the Employer may, at its discretion, submit the contributions to the employee's
home-area Local Union or RegionaUDistrict Council funds even if the work-area Local Union or
Regional/District Council funds and the employee's home-area Local Union or RegionaUDistrict Council
funds are signatory to an International Union National Reciprocal Agreement. If the Employer chooses this
option, it shall provide sufficient proof to the work area Local Union or Regional/District Council funds that
the appropriate contribution amount has been paid to the employee's home-area Local Union or
Regional/District Council funds. This option shall not be available if the employee's home-area Local Union
or Regional/District Council funds refuses to accept such payments. However, in no event shall the
Employer's "key" traveling employees be paid less in wages, and annuity, pension, and/or health and
welfare contributions, than what is required under their home-area Local Union or RegionaUDistrict Council
collective bargaining agreement. This provision, Article II, is strictly limited to the Employer's payment of
annuity, pension and/or health and welfare contributions. The Employer is obligated to pay dues check-off
and all other contributions required under the applicable work-area collective bargaining agreement to the
work-area Local Union or Regional/District Council.

                                         ARTICLE III
                                    UNIFORM AGREEMENT:
                              UBC INTERNATIONAL TRAINING FUND
     The Employer and International Union recognize the need for quality safety and health training and
related services to enable International Union members to remain healthy and productive, and to aid the
Employer in meeting its own safety and health goals as well as those established by government agencies
and construction owners. The Employer and the International Union further recognize the need for quality
training for apprentices and journey persons to meet the industry's needs for skilled craft labor. And,
finally, the Employer and the International Union recognize the importance of cooperating in jointly and
aggressively pursuing new work opportunities utilizing International Union members and in formulating
new initiatives designed to enhance the competitiveness of union contractors.




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     Therefore, in addition to any contributions otherwise called for herein, the parties agree that the
Employer shall make a contribution of ten cents ($.10) per hour worked for each employee covered by
this Agreement to the CARPENTERS INTERNATIONAL TRAINING FUND. The parties further agree
to any future increases made to the current contribution amount. Payments to the fund shall be made on or
before the 20th day of the month following the month of the work performed and shall be remitted in
accordance with the instructions of the trustees of the Fund. If the Employer contributes to the Fund for
the hours worked under this agreement via a local agreement, the Employer does not contribute again at
the national level.
     The Employer agrees to be bound by the Carpenters International Training Fund trust agreement.
Upon request, each Employer shall receive a copy of the Fund's annual report.

                                              ARTICLE IV
                                           SUBCONTRACTING
     The Employer shall not subcontract any work within the jurisdiction of the International Union which is
to be performed at the jobsite except to a contractor who holds an applicable agreement with the
International Union or its relevant affiliate, or who agrees in writing prior to or at the time of the execution
of the subcontract to be bound by the terms of this Agreement.

                                                ARTICLE V
                                                 HIRING
     The International Union agrees to refer personnel to jobs upon a nondiscriminatory basis, such referral
to be made upon the request of the Employer who retains the right to reject or accept the applicants for
employment. The International Union affiliates having jurisdiction in the respective areas of the
performance of work will maintain appropriate nondiscriminatory facilities for the registration and referral
of personnel possessing the skills required for the performance of work by the Employer. The Employer
agrees to use said facilities in filling job vacancies on all projects.
     In the event that no such facilities are maintained or that the facility maintained is unable to fill
requisitions for employees within a 48-hour period, excluding Saturdays, Sundays, and holidays, the
Employer may employ applicants directly at the jobsite on a nondiscriminatory basis. In such event, the
Employer will notify the International Union affiliate of the names and classifications and the dates of such
hirings.
     On any work covered under this Agreement, the Employer shall be permitted to bring in two (2) "key"
traveling employees from its home area to perform required work in any jurisdiction or geographical area of
the International Union without the necessity of securing work permits. However, the Employer must,
before starting work, advise the Local Union and/or Regional/District Council in the area where the work is
to be performed of their presence and the intended duration of the project.
     Should the Employer require more employees than the two (2) "key" traveling employees for any
project, any additional employees shall be requested from the Local Union or Regional/District Council
where the work is to be performed. Provided further, that if the Employer shall require more than the two (2)
key traveling employees, up to the next two employees thereafter hired shall be requested from the Local
Union or Regional/District Council where the work is to be performed. And, thereafter, the Employer is
obligated to secure a minimum of fifty (50) percent of the requisite additional employees from the Local
Union or Regional/District Council where the work is to be performed on a one-for-one basis. Upon
completion of the work, the company shall advise of their departure.
     The Employer will post in places where notices to employees and applicants for employment are
customarily posted all of the provisions relating to the above hiring arrangements.




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                                               ARTICLE VI
                                          STRIKES AND LOCKOUTS
     There shall be no strike or lockout pending any dispute being investigated and all peaceable means
 taken to bring about a settlement. Any dispute relating to this Agreement may be prosecuted in accordance
 with the grievance/arbitration procedure of the member's home area Local Union Master Labor Agreement,
 or the work area Local Union Master Labor Agreement, and the Employer agrees to be bound by those
 procedures.

                                              ARTICLE VII
                                          SPECIAL AGREEMENTS
      Addenda to this Agreement which are required to place the Employer in a more competitive position or
 address the owners' requirements may be established. Provided that, where it is demonstrated by the
 Employer that the application of provisions under this Agreement or the applicable International Union
 affiliate agreements covering the geographical area where the work is to be performed may, or will, result in
 the loss of union construction or preventable financial injury to the Employer and/or its employees, the
 International Union shall meet with the Employer, at the Employer's request, to discuss a modification of
 area and/or job site conditions as would relate to the application of this Agreement. Such meetings shall
 initially be between the Employer and the appropriate International Union affiliate, and, failing resolution,
 then with the appropriate International Union General Executive Board Member joining such discussions.
 Such meetings shall be expedited to accommodate the circumstances. Any addenda shall be reduced to
 writing and shall be made part of this Agreement for a specific project or area, with a signed copy forwarded
 to the International Union and the Employer.

                                                ARTICLE VIII
                                                 DURATION
     This Agreement shall be effective as of the below execution date and shall remain in effect for three (3)
 years from that date, and it shall automatically renew itself for subsequent three-year periods unless written
 notice to terminate is given by either party to the other by registered or certified mail not more than ninety
 (90), and not less than sixty (60), days prior to its expiration date or the expiration date of any subsequent
 renewal period. With respect to any jobs in progress as of the expiration date, termination shall not be
 effective until the completion of such jobs.

                                                            UNITED BROTHERHOOD OF CARPENTERS
                                                            AND JOINERS OF AMERICA
 (Employer Name)



 (Signature) v        v                                     (General President)

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 (Typed Name and Ti )
                                     &NI 4:   Tc,e,r—       (Typed Name)

    WOO          • 6 -myS-02tcr,      Su/ le-WC-            101 Constitution Avenue N.W.
                                                            Washington, D.C. 20001
 (Address)                                                  (Address)

 Tele h•                                                    Telephone:

 Fax:                                                       Fax:


                                                            Effective Date:

                                                        3
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                       EXHIBIT C




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                                  D2 Industrial Services is an Equal Opportunity Employer


                                               APPLICATION FOR CRAFT EMPLOYMENT
                                              AA
     O Ielndustrial
         Services
          ASRC INDUSTRIAL COMPANY
                                    Name:         elk e-ir\o---
                                               Last,            First

                                     Date of Application: is - /0
                                                                      Middle

                                                                         W     Social Security II:

                                     Note: Application remains current for 60 days, after which time you must reapply

           Generally, D2 Industrial Services (D2) follows the five-step hiring process:
           1. Complete Application. We check your qualifications, past employers, references & our job availability.
           2. You submit to a drug and alcohol test. All tests are at our expense. The following steps are not completed until
              we receive negative drug test results.
           3. For jobs that require a respirator, your Medical Evaluation Questionnaire is reviewed by a medical provider to
              determine whether you need a pulmonary test; if yes, you submit to a pulmonary test and a respirator fit test.
           4.   You then go through the D2 New Hire Basic Safety Training & Complete the remainder of the New Hire
                Paperwork.
           5.   You then go to work and agree to abide by all laws and company policies.



    11    Home Telephone:                                       Cell Phone:
    E-4
    Z     Mailing Address:
    0
          Emergency Contact:                                                       Telephone #:


          1.    Do you have a valid driver's license? Tic-es DNo
                   Drivers License It:                              State: C   A.       Expiration Date:

          2.    Position you are applying for:      S Cc".1420,4
          3.    When are you available for work?                    ,1:41_4A-1 5
          4. Are you currently a member of the union? 0Yes                  DNo
    rn            Union:                                   Local:    .5 6                 Status:    6-7

    -et
          5.    Can you travel out of town to work?         RYes          No
          6.    Are you currently employed?         ['Yes      ViNo
          7.    Are you at least 18 years of age:     )( Yes           No
          8.    Are you lawfully prevented from working in this country because of visa or immigration status? Proof of
                citizenship and/or status required) jYes DNo
          9.    Is there any reason that will make it difficult for you to work a shift other than day shift, overtime or weekends?
                DYes       ]No
                    If yes, please explain:


          PLEASE LIST SKILLS AND EXPERIENCE:
                                 0        5 c-               (135




    D2 Industrial Services
    Application for Employment                                                                                          Page 1 of 2
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                                          D2 Industrial Services is an Equal Opportunity Employer


                                               6.e.p.e..4".. ccAacit
     EDUCATION
                   High School: Lo        3-                             for #   48"rjaile Completed: ['None 010 011 $12
                   College:                                                       Years Completed: ONone 01 02 03 04
                   Trade School or Special Training:



                   PLEASE LIST LAST TWO EMPLOYERS:
                   Employer:             r-twee                                                                From: 7-Ci f ? to: Za
      EMPLOYMENT




                   Reason for Leaving:         C6i.,0-1._                 -D-
                   Contact:                                                                     Phone #:
                   Employer:                                                                                    From:         to:
                   Contact:                                                               Phone #:
                   Reason for Leaving:


                   PLEASE PROVIDE NAM                            ONE      BERS OF TWO PERSONAL REFERENCES:
      U            1.   Reference No 1:                                                  Phone #.
      z
                              Address:
                   2.   Reference No 2:                                                  Phone #:
                              Address:

                   PLEASE NOTE THE FOLLOWING:
                   1.   At any time, with or without notice, you may be terminated with or without cause. There is not a promise that
                        you will be employed for a set period of time. We are an employment-at-will employer.
      U            2.   Your assignment to a job site prior to receiving drug & alcohol test results does not mean you are hired. We
                        reserve the right to deviate from this general procedure.
      O
      z            3.   We are an equal opportunity employer. Qualified applicants are considered for all positions without regard to
                        race, color, religion, gender, sex, national origin, age, sexual preference, marital or veteran status, or the
                        presence of a medical condition or handicap or any other protected class.



           AA      e  (initial) I authorize the companies, organizations, employers, schools, persons, or entities listed on this employment
     application to give any information regarding my employment, character, qualifications, certifications and licenses and verify all dates
     and facts. I hereby release said companies, organizations, employers, schools, persons or entities from all liability for any damage for
     issuing this information.

    I authorize investigation of all statements contained in this application to include (but not limited to) verification of present and
    previous employment and personal references. I understand that misrepresentation or omission of facts can lead to refusal to hire or
    dischame at any point. Further; I understand and agree that my employment isfor no definite period and may, regardless of the dale of
    payment of wages, be terminated at any time without any previous notice. Upon acceptance of employment with this company, I
    understand and agree that I will be required to take a Physical Examination and a Pre-Employment Drug Test.

     Applicant Signature:6                                         4e-                        Date: g" /0 -             6

                   SUPERVISOR COMPLETE THE FOLLOWING: Hiring Supervisor:
                                                                                 ei •
                                                                                        ev0.4-1..A4ntf_assi
                   Date of Hire:   W‘3. 242.0               Starting Wage:                   Job No:
                   Union Referred:       5,0 *-2, --                         Union Classification: 49 .- 4 -
                   Will this employee be driving a D2 owned vehicles: [11Yes            ON° IF YES: CONTACT CORPORATE

    D2 Industrial Services
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                       EXHIBIT D




                    EXHIBIT D
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           Southwest Regional Council of Carpenters

                                                           Date Printed: 08/04/2020


    Work Referral

    Member Information:

           Rafael Melena                                   MemberlD:    -   -5344
                                                           Phone:


    Pertinent Certification:
      Anti-Harassment Training                 Scaf Erctr:Wld Frm/Mbl Tw 03/31/2023
      Apprentice Indentured Prior to July 1    Scaf Erector Tube & Clamp 03/31/2023
      Confined Space Entry (J)                 Scaffold User Qualificati 03/31/2023
      OSHA 10 Con Train Smrt Mrk (J)
    Indenture Date: 04/17/2017
    Member Local: 562
    Dispatched by: RLawson

    Contractor:

    D2 SQUARED INDUSTRIAL SERVICES LLC                     License:    CA / 1035992
    2300 CLAYTON RD.                                       Phone:      (707) 644-7455
    STE. 1050                                              Fax:
    CONCORD, CA 94520

    Job Site:

    Air Products Chemicals                                 Phone:    (310) 415-9323
    23300 Alameda St                                       Fax:
    Carson , CA 90810                           Steward:   Fuauli Maoti
    Contact: Gus Astoria

    Job Information:

    Agreement...:   Carpenters International Agreement
    Rate Class..:   SCS (Industrial): So Cal Scaffold (Industrial)
    Dispatch As.:   SC-7 -- Scaffold Apprentice(Level 7)
    Start on    •   08/05/2020

    Employment Detail:

    Hourly Wage:                              $24.33

    Total Hourly Wage:                        $24.33
    Benefits:
        Health & Welfare                        7.75




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                       EXHIBIT E




                    EXHIBIT E
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Dan Langford                                                                                     Stephen Araiza
Executive Secretary-Treasurer/CEO                                                        Contract Administrator


                                     533 South Fremont Avenue, 10th Floor
                                      Los Angeles, California 90071-1706
                                           Telephone: 213-385-1457
                                          contracts@swcarpenters.org

                                                  June 8, 2020

     To All Contractors Signed To The Southern California Scaffold Agreement

            Re:     2020 Scaffold Allocation

     Dear Sir or Madam:

           I am writing to advise you that the July 1, 2020 increase of $2.00 for the 12 Southern California
     Counties under the Southern California Scaffold Agreement will be allocated as follows:

            Wages                                          $0.43
            Health & Welfare                               $0.25
            Pension                                        $0.25
            Annuity                                        $1.00 (beginning at 4th Period)
            Supplemental Dues                              $0.07 ($1.07 below 4th Period)

            Attached please find the updated wage sheets. Please do not hesitate to contact me should you
     have any questions. Thank you.
                                                Sincerely,

                                                SOUTHWEST REGIONAL COUNCIL
                                                OF CARPENTERS


                                                STEPHEN A. ARAIZA
                                                Director of Contract Administration


    cc: Carpenters Trust




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                                     SCAFFOLD COMMERCIAL WAGE JOURNEYMAN & APPRENTICE RATES (EFFECTIVE JULY 1, 2020)
                                                 Ten Southern California Counties Outside San Diego and Imperial Counties
                                                                                                                                                                                                                                                                                  3
Associated With:                       SOUTHERN CALIFORNIA SCAFFOLD AGREEMENT                                                                                                                                FOR OFFICE USE
Rates Effective:                       July 01, 2019 - June 30, 2021                                                                                                                   Rate Class:
                                                                                                                 Trust Fund Contact:
                         Full Package:                                                                 Employer Services, (213) 386-8590 ext. 116
  Taxable as          Vacation                                       3.85                                EmployerServices@carpenterssw.org
     Income           Supp Dues                                      2.09                                                                                                              Preferences:
                            Taxable Subtotal                         5.94                                           Union Contact:
                                                                                                       Contract Administration, (213) 385-1457
                      Pension                                       4.75                                     Contracts@swcarpenters.org
                      Health & Welfare                              8.00                                         Contribution Notes:
       Other          Apprenticeship                                0.62                       There is a 45-hour cap on Pension, Health & Welfare,
      Benefits        Cooperation Committee                         0.05                       Cooperation Committee, Apprenticeship, and Scaffold                                                                                     Negotiated Increases:
                      Annuity                                       1.00                       Industry Fund benefit hours. There is no cap on Vacation
                      Scaffold Industry Fund                        0.15                       or Supplemental Dues contributions.                                                                                                                       $2.00
                                                                                                                                                                                                                                        7/1/2021
                               Other Subtotal                      14.57                                                                                                                                                                                 to be allocated by the
                                                                                                                                                                                                                                                         Union
                         Total Paid to Trust                       20.51

          Wage        Journeyman Wage:                             34.52
                              Total Package                        55.03                                                                                                               CUPP                                25


Classification:                                                                                   TOTAL                       Pension                         Health & Welfare                                                            TOTAL               TOTAL
COMMERCIAL                                                                                       TAXABLE            indentured      indentured            indentured    indentured      Apprentice-                       Scaffold      PACKAGE             PACKAGE
SCAFFOLD               Hours    %           Wages             Vacation         Supp Dues          WAGES            before 7/1/18    after 7/1/18         before 7/1/18  after 7/1/18       ship       CCCC   Annuity   Industry Fund   (before 7/1/18)     (after 7/1/18)
Pre-Apprentice          500    35%          12.08               3.85              3.09             $19.02                          -                        8.00            4.00           0.62       0.05      -          0.15           $27.84      $23.84
1st Period             1000    40%          13.81               3.85              3.09             $20.75                          -                        8.00            4.00           0.62       0.05      -          0.15           $29.57      $25.57
2nd Period              600    50%          17.26               3.85              3.09             $24.20                          -                        8.00            4.00           0.62       0.05      -          0.15           $33.02      $29.02
3rd Period              600    60%          20.71               3.85              3.09             $27.65                          -                                8.00                   0.62       0.05      -          0.15                 $36.47
4th Period              600    65%          22.44               3.85              2.09             $28.38               4.75              1.50                      8.00                   0.62       0.05    1.00         0.15           $42.95      $39.70
5th Period              600    70%          24.16               3.85              2.09             $30.10               4.75              2.50                      8.00                   0.62       0.05    1.00         0.15           $44.67      $42.42
6th Period              600    75%          25.89               3.85              2.09             $31.83               4.75              2.50                      8.00                   0.62       0.05    1.00         0.15           $46.40      $44.15
7th Period              600    80%          27.62               3.85              2.09             $33.56               4.75              3.50                      8.00                   0.62       0.05    1.00         0.15           $48.13      $46.88
8th Period              600    90%          31.07               3.85              2.09             $37.01               4.75              3.50                      8.00                   0.62       0.05    1.00         0.15           $51.58      $50.33
Journeyman                                  34.52               3.85              2.09             $40.46                        4.75                               8.00                   0.62       0.05    1.00         0.15                 $55.03
Foreman                                     37.52               3.85              2.09             $43.46                        4.75                               8.00                   0.62       0.05    1.00         0.15                 $58.03
- Pre-Apprentices may not work on Prevailing Wage jobs.
- Health & Welfare contributions for Pre-Apprentices are based off of Hire Date rather than Indenture Date.
- This wage sheet is informational only, it is the employer's responsibility to maintain compliance with any Local, State, or Federal wage or tax laws, regulations, or ordinances.
    Including the MINIMUM WAGE.
- Taxable benefits should be taxed, withheld, and submitted to the Trust according to the rules established by State/Federal tax authorities.
- In the event of any discrepancy between a wage sheet, a dispatch, and/or a trust reporting form please contact the Contract Administration contact listed above immediately.
- Orange highlighted areas represent the decreased benefit rates established for certain classifications/apprentices inducted or hired after 7/1/2018.




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              SCAFFOLD INDUSTRIAL MAINTENANCE WAGE JOURNEYMAN & APPRENTICE RATES (EFFECTIVE JULY 1, 2020)
                                Ten Southern California Counties Outside San Diego and Imperial Counties
                                                                                                                                                                                                                                                                             5
Associated With:                       SOUTHERN CALIFORNIA SCAFFOLD AGREEMENT                                                                                                                                   FOR OFFICE USE
Rates Effective:                       July 01, 2020 - June 30, 2021                                                                                                                   Rate Class:
                                                                                                                 Trust Fund Contact:
                         Full Package:                                                                 Employer Services, (213) 386-8590 ext. 116
  Taxable as          Vacation                                       2.00                                EmployerServices@carpenterssw.org
     Income           Supp Dues                                      1.80                                                                                                              Preferences:
                            Taxable Subtotal                         3.80                                           Union Contact:
                                                                                                         Contract Administration, (213) 385-1457
                      Pension                                       4.55                                      Contracts@swcarpenters.org
                      Health & Welfare                              8.00                                          Contribution Notes:
        Other         Apprenticeship                                0.52
      Benefits        Cooperation Committee                            -                                                                                                                                                          Negotiated Increases:
                                                                                               There is a 40-hour cap on benefit hours.
                      Annuity                                       1.00
                      Scaffold Industry Fund                        0.15                                                                                                                                                                            $2.00
                                                                                                                                                                                                                                   7/1/2021
                              Other Subtotal                       14.22                                                                                                                                                                            to be allocated by the
                                                                                                                                                                                                                                                    Union
                          Total Paid to Trust                      18.02

          Wage        Journeyman Wage:                             30.41
                              Total Package                        48.43                                                                                                               CUPP                           13

Classification:
INDUSTRIAL                                                                                        TOTAL                       Pension                         Health & Welfare                                                       TOTAL               TOTAL
MAINTENANCE                                                                                      TAXABLE            indentured      indentured            indentured    indentured      Apprentice-                  Scaffold       PACKAGE            PACKAGE
SCAFFOLD              Hours     %           Wages             Vacation         Supp Dues          WAGES            before 7/1/18    after 7/1/18         before 7/1/18  after 7/1/18       ship       Annuity     Industry Fund   (before 7/1/18)     (after 7/1/18)
Pre-Apprentice          500    35%          12.00               2.00              2.80            $16.80                           -                        8.00             4.00          0.52          -            0.15           $25.47      $21.47
1st Period             1000    40%          12.16               2.00              2.80            $16.96                           -                        8.00             4.00          0.52          -            0.15           $25.63      $21.63
2nd Period              600    50%          15.21               2.00              2.80            $20.01                           -                        8.00             4.00          0.52          -            0.15           $28.68      $24.68
3rd Period              600    60%          18.25               2.00              2.80            $23.05                           -                                8.00                   0.52          -            0.15                 $31.72
4th Period              600    65%          19.77               2.00              1.80            $23.57                4.55              1.50                      8.00                   0.52        1.00           0.15           $37.79      $34.74
5th Period              600    70%          21.29               2.00              1.80            $25.09                4.55              2.50                      8.00                   0.52        1.00           0.15           $39.31      $37.26
6th Period              600    75%          22.81               2.00              1.80            $26.61                4.55              2.50                      8.00                   0.52        1.00           0.15           $40.83      $38.78
7th Period              600    80%          24.33               2.00              1.80            $28.13                4.55              3.50                      8.00                   0.52        1.00           0.15           $42.35      $41.30
8th Period              600    90%          27.37               2.00              1.80            $31.17                4.55              3.50                      8.00                   0.52        1.00           0.15           $45.39      $44.34
Journeyman                                  30.41               2.00              1.80            $34.21                         4.55                               8.00                   0.52        1.00           0.15                 $48.43
Foreman                                     33.41               2.00              1.80            $37.21                         4.55                               8.00                   0.52        1.00           0.15                 $51.43
- Pre-Apprentices may not work on Prevailing Wage jobs.
- Health & Welfare contributions for Pre-Apprentices are based off of Hire Date rather than Indenture Date.
- This wage sheet is informational only, it is the employer's responsibility to maintain compliance with any Local, State, or Federal wage or tax laws, regulations, or ordinances.
   Including the MINIMUM WAGE.
- Taxable benefits should be taxed, withheld, and submitted to the Trust according to the rules established by State/Federal tax authorities.
- In the event of any discrepancy between a wage sheet, a dispatch, and/or a trust reporting form please contact the Contract Administration contact listed above immediately.
- Orange highlighted areas represent the decreased benefit rates established for certain classifications/apprentices inducted or hired after 7/1/2018.




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  SCAFFOLD LIGHT COMMERCIAL & RESIDENTIAL WAGE JOURNEYMAN & APPRENTICE RATES (EFFECTIVE JULY 1, 2020)
                      Ten Southern California Counties Outside San Diego and Imperial Counties
                                                                                                                                                                                                                                                                             4
Associated With:                       SOUTHERN CALIFORNIA SCAFFOLD AGREEMENT                                                                                                                                   FOR OFFICE USE
Rates Effective:                       July 01, 2020 - June 30, 2021                                                                                                                   Rate Class:
                                                                                                                 Trust Fund Contact:
                         Full Package:                                                                 Employer Services, (213) 386-8590 ext. 116
  Taxable as          Vacation                                       4.00                                EmployerServices@carpenterssw.org
     Income           Supp Dues                                      2.09                                                                                                              Preferences:
                            Taxable Subtotal                         6.09                                           Union Contact:
                                                                                                       Contract Administration, (213) 385-1457
                      Pension                                       4.75                                     Contracts@swcarpenters.org
                      Health & Welfare                              8.00                                         Contribution Notes:
        Other         Apprenticeship                                0.62                       There is a 45-hour cap on Pension, Health & Welfare,
      Benefits        Cooperation Committee                         0.05                       Cooperation Committee, Apprenticeship, and Scaffold                                                                                Negotiated Increases:
                      Annuity                                       1.00                       Industry Fund benefit hours. There is no cap on Vacation
                      Scaffold Industry Fund                        0.15                       or Supplemental Dues contributions.                                                                                                                  $2.00
                                                                                                                                                                                                                                   7/1/2021
                              Other Subtotal                       14.57                                                                                                                                                                            to be allocated by the
                                                                                                                                                                                                                                                    Union
                          Total Paid to Trust                      20.66

          Wage        Journeyman Wage:                             31.21
                              Total Package                        51.87                                                                                                               CUPP                           25


                                                                                                  TOTAL                       Pension                         Health & Welfare                                                       TOTAL               TOTAL
                                                                                                 TAXABLE            indentured      indentured            indentured    indentured      Apprentice-                  Scaffold       PACKAGE            PACKAGE
#REF!                 Hours     %           Wages             Vacation         Supp Dues          WAGES            before 7/1/18    after 7/1/18         before 7/1/18  after 7/1/18       ship       Annuity     Industry Fund   (before 7/1/18)     (after 7/1/18)
Pre-Apprentice          500    35%          12.00               4.00              3.09            $19.09                           -                        8.00             4.00          0.62          -            0.15           $27.91      $23.91
1st Period             1000    40%          12.48               4.00              3.09            $19.57                           -                        8.00             4.00          0.62          -            0.15           $28.39      $24.39
2nd Period              600    50%          15.61               4.00              3.09            $22.70                           -                        8.00             4.00          0.62          -            0.15           $31.52      $27.52
3rd Period              600    60%          18.73               4.00              3.09            $25.82                           -                                8.00                   0.62          -            0.15                 $34.64
4th Period              600    65%          20.29               4.00              2.09            $26.38                4.75              1.50                      8.00                   0.62        1.00           0.15           $40.95      $37.70
5th Period              600    70%          21.85               4.00              2.09            $27.94                4.75              2.50                      8.00                   0.62        1.00           0.15           $42.51      $40.26
6th Period              600    75%          23.41               4.00              2.09            $29.50                4.75              2.50                      8.00                   0.62        1.00           0.15           $44.07      $41.82
7th Period              600    80%          24.97               4.00              2.09            $31.06                4.75              3.50                      8.00                   0.62        1.00           0.15           $45.63      $44.38
8th Period              600    90%          28.09               4.00              2.09            $34.18                4.75              3.50                      8.00                   0.62        1.00           0.15           $48.75      $47.50
Journeyman                                  31.21               4.00              2.09            $37.30                         4.75                               8.00                   0.62        1.00           0.15                 $51.87
Foreman                                     34.21               4.00              2.09            $40.30                         4.75                               8.00                   0.62        1.00           0.15                 $54.87
- Pre-Apprentices may not work on Prevailing Wage jobs.
- Health & Welfare contributions for Pre-Apprentices are based off of Hire Date rather than Indenture Date.
- This wage sheet is informational only, it is the employer's responsibility to maintain compliance with any Local, State, or Federal wage or tax laws, regulations, or ordinances.
   Including the MINIMUM WAGE.
- Taxable benefits should be taxed, withheld, and submitted to the Trust according to the rules established by State/Federal tax authorities.
- In the event of any discrepancy between a wage sheet, a dispatch, and/or a trust reporting form please contact the Contract Administration contact listed above immediately.
- Orange highlighted areas represent the decreased benefit rates established for certain classifications/apprentices inducted or hired after 7/1/2018.




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                                       SCAFFOLD PREVAILING WAGE JOURNEYMAN & APPRENTICE RATES (EFFECTIVE JULY 1, 2020)
                                                         Eleven Southern California Counties Outside San Diego
                                                                                                                                                                                                                                                                                 2
Associated With:                      SOUTHERN CALIFORNIA SCAFFOLD AGREEMENT                                                                                                                                FOR OFFICE USE
Rates Effective:                      July 01, 2020 - June 30, 2021                                                                                                                   Rate Class:
                                                                                                              Trust Fund Contact:
                 Full Package:                                                                       Employer Services, (213) 386-8590 ext. 116
   Taxable as Vacation                                              5.00                               EmployerServices@carpenterssw.org
      Income Supp Dues                                              2.09                                                                                                              Preferences:
                   Taxable Subtotal                                 7.09                                          Union Contact:
                                                                                                       Contract Administration, (213) 385-1457
                Pension                                            5.41                                     Contracts@swcarpenters.org
                Health & Welfare                                   8.00                                         Contribution Notes:
         Other Apprenticeship                                      0.62
       Benefits Cooperation Committee                              0.29                                                                                                                                                               Negotiated Increases:
                Annuity                                            1.00
                Scaffold Industry Fund                             0.15                                                                                                                                                                                 $2.00
                                                                                                                                                                                                                                       7/1/2021
                        Other Subtotal                            15.47                                                                                                                                                                                 to be allocated by the
                                                                                                                                                                                                                                                        Union
                   Total Paid to Trust                            22.56

             Wage Journeyman Wage:                                34.96
                          Total Package                           57.52                                                                                                               CUPP                                25

Classification:
PREVAILING                                                                                      TOTAL                        Pension                      Health & Welfare                                                               TOTAL               TOTAL
WAGE                                                                                           TAXABLE             indentured      indentured         indentured    indentured         Apprentice-                       Scaffold      PACKAGE             PACKAGE
SCAFFOLD              Hours     %          Wages             Vacation         Supp Dues         WAGES             before 7/1/18    after 7/1/18      before 7/1/18  after 7/1/18          ship       CCCC   Annuity   Industry Fund   (before 7/1/18)     (after 7/1/18)
1st Period             1000    40%         13.98               4.00              3.09            $21.07                          -                       8.00             4.00            0.62       0.29      -          0.15           $30.13      $26.13
2nd Period              600    50%         17.48               4.00              3.09            $24.57                          -                       8.00             4.00            0.62       0.29      -          0.15           $33.63      $29.63
3rd Period              600    60%         20.98               5.00              3.09            $29.07                          -                               8.00                     0.62       0.29      -          0.15                 $38.13
4th Period              600    65%         22.72               5.00              2.09            $29.81               5.41              1.50                     8.00                     0.62       0.29    1.00         0.15           $45.28      $41.37
5th Period              600    70%         24.47               5.00              2.09            $31.56               5.41              2.50                     8.00                     0.62       0.29    1.00         0.15           $47.03      $44.12
6th Period              600    75%         26.22               5.00              2.09            $33.31               5.41              2.50                     8.00                     0.62       0.29    1.00         0.15           $48.78      $45.87
7th Period              600    80%         27.97               5.00              2.09            $35.06               5.41              3.50                     8.00                     0.62       0.29    1.00         0.15           $50.53      $48.62
8th Period              600    90%         31.46               5.00              2.09            $38.55               5.41              3.50                     8.00                     0.62       0.29    1.00         0.15           $54.02      $52.11
Journeyman                                 34.96               5.00              2.09            $42.05                        5.41                              8.00                     0.62       0.29    1.00         0.15                 $57.52
Foreman                                    37.96               5.00              2.09            $45.05                        5.41                              8.00                     0.62       0.29    1.00         0.15                 $60.52
- Pre-Apprentices may not work on Prevailing Wage jobs.
- Health & Welfare contributions for Pre-Apprentices are based off of Hire Date rather than Indenture Date.
- This wage sheet is informational only, it is the employer's responsibility to maintain compliance with any Local, State, or Federal wage or tax laws, regulations, or ordinances.
   Including the MINIMUM WAGE.
- Taxable benefits should be taxed, withheld, and submitted to the Trust according to the rules established by State/Federal tax authorities.
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                SCAFFOLD REFINERY MAINTENANCE WAGE JOURNEYMAN & APPRENTICE RATES (EFFECTIVE JULY 1, 2020)
                                 Ten Southern California Counties Outside San Diego and Imperial Counties
                                                                                                                                                                                                                                                                             6
Associated With:                       SOUTHERN CALIFORNIA SCAFFOLD AGREEMENT                                                                                                                                   FOR OFFICE USE
Rates Effective:                       July 01, 2020 - June 30, 2021                                                                                                                   Rate Class:
                                                                                                                 Trust Fund Contact:
                         Full Package:                                                                 Employer Services, (213) 386-8590 ext. 116
  Taxable as          Vacation                                       2.00                                EmployerServices@carpenterssw.org
     Income           Supp Dues                                      1.35                                                                                                              Preferences:
                            Taxable Subtotal                         3.35                                           Union Contact:
                                                                                                         Contract Administration, (213) 385-1457
                      Pension                                       3.50                                      Contracts@swcarpenters.org
                      Health & Welfare                              8.00 *                                        Contribution Notes:
        Other         Apprenticeship                                0.10
      Benefits        Cooperation Committee                            -                                                                                                                                                          Negotiated Increases:
                                                                                               - There is a 40-hour cap on benefit hours.
                      Annuity                                       1.00
                      Scaffold Industry Fund                        0.15                                                                                                                                                                            $2.00
                                                                                                                                                                                                                                   7/1/2021
                              Other Subtotal                       12.75                       * Contractors may use Company Health & Welfare plan                                                                                                  to be allocated by the
                                                                                                                                                                                                                                                    Union
                          Total Paid to Trust                      16.10                       in lieu of Carpenters Health & Welfare, notice must to be
                                                                                               given to the Union.
          Wage        Journeyman Wage:                             31.53
                              Total Package                        47.63                                                                                                               CUPP                           13


                                                                                                  TOTAL                       Pension                         Health & Welfare                                                       TOTAL               TOTAL
                                                                                                 TAXABLE            indentured      indentured            indentured    indentured      Apprentice-                  Scaffold       PACKAGE            PACKAGE
#REF!                 Hours     %           Wages             Vacation         Supp Dues          WAGES            before 7/1/18    after 7/1/18         before 7/1/18  after 7/1/18       ship       Annuity     Industry Fund   (before 7/1/18)     (after 7/1/18)
1st Period             1000    40%          12.61               2.00              2.35            $16.96                           -                        8.00             4.00          0.10          -            0.15           $25.21      $21.21
2nd Period              600    50%          15.77               2.00              2.35            $20.12                           -                        8.00             4.00          0.10          -            0.15           $28.37      $24.37
3rd Period              600    60%          18.92               2.00              2.35            $23.27                           -                                8.00                   0.10          -            0.15                 $31.52
4th Period              600    65%          20.49               2.00              1.35            $23.84                3.50              1.50                      8.00                   0.10        1.00           0.15           $36.59      $34.59
5th Period              600    70%          22.07               2.00              1.35            $25.42                3.50              2.50                      8.00                   0.10        1.00           0.15           $38.17      $37.17
6th Period              600    75%          23.65               2.00              1.35            $27.00                3.50              2.50                      8.00                   0.10        1.00           0.15           $39.75      $38.75
7th Period              600    80%          25.22               2.00              1.35            $28.57                         3.50                               8.00                   0.10        1.00           0.15                 $41.32
8th Period              600    90%          28.38               2.00              1.35            $31.73                         3.50                               8.00                   0.10        1.00           0.15                 $44.48
Journeyman                                  31.53               2.00              1.35            $34.88                         3.50                               8.00                   0.10        1.00           0.15                 $47.63
Foreman                                     34.53               2.00              1.35            $34.88                         3.50                               8.00                   0.10        1.00           0.15                 $47.63
- Pre-Apprentices may not work on Prevailing Wage jobs.
- Health & Welfare contributions for Pre-Apprentices are based off of Hire Date rather than Indenture Date.
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                                              SCAFFOLD WAGE JOURNEYMAN & APPRENTICE RATES (EFFECTIVE JULY 1, 2020)
                                                                  San Diego and Imperial Counties
                                                                                                                                                                                                                                                                             7
Associated With:                       SOUTHERN CALIFORNIA SCAFFOLD AGREEMENT                                                                                                                                   FOR OFFICE USE
Rates Effective:                       July 01, 2020 - June 30, 2021                                                                                                                   Rate Class:
                                                                                                                 Trust Fund Contact:
                         Full Package:                                                                 Employer Services, (213) 386-8590 ext. 116
  Taxable as          Vacation                                       4.00                                EmployerServices@carpenterssw.org
     Income           Supp Dues                                      1.57                                                                                                              Preferences:
                            Taxable Subtotal                         5.57                                         Union Contact:                                                       Journeyman B
                                                                                                      Contract Administration, (213) 385-1457                                          Journeyman A
                      Pension                                       4.51                                    Contracts@swcarpenters.org
                      Health & Welfare                              8.00                                        Contribution Notes:
        Other         Apprenticeship                                0.52                      In San Diego the cap on benefits effective 7/1/18 is 45
      Benefits        Cooperation Committee                            -                      hours per week on Health & Welfare, Pension,                                                                                        Negotiated Increases:
                      Annuity                                       1.00                      Apprenticeship, and Scaffold Industry Fund and no
                      Scaffold Industry Fund                        0.15                      weekly cap on Vacation/Supplemental Dues.                                                                                                             $2.00
                                                                                                                                                                                                                                   7/1/2021
                              Other Subtotal                       14.18                                                                                                                                                                            to be allocated by the
                                                                                                                                                                                                                                                    Union
                          Total Paid to Trust                      19.75

          Wage        Journeyman C Wage:                           27.28
                              Total Package                        47.03                                                                                                               CUPP             


                                                                                                  TOTAL                       Pension                         Health & Welfare                                                       TOTAL               TOTAL
                                                                                                 TAXABLE            indentured      indentured            indentured    indentured      Apprentice-                  Scaffold       PACKAGE            PACKAGE
#REF!                 Hours     %          Wages              Vacation         Supp Dues          WAGES            before 7/1/18    after 7/1/18         before 7/1/18  after 7/1/18       ship       Annuity     Industry Fund   (before 7/1/18)     (after 7/1/18)
Pre-Apprentice          500    45%         12.28               4.00               2.57            $18.85                           -                                   -                   0.52          -            0.15                 $19.00
1st Period             1000    50%         13.64               4.00               2.57            $20.21                           -                        8.00             4.00          0.52          -            0.15           $28.88      $24.88
2nd Period              600    55%         15.00               4.00               2.57            $21.57                           -                        8.00             4.00          0.52          -            0.15           $30.24      $26.24
3rd Period              600    60%         16.37               4.00               2.57            $22.94                           -                                8.00                   0.52          -            0.15                 $31.61
4th Period              600    65%         17.73               4.00               1.57            $23.30               4.51              1.50                       8.00                   0.52        1.00           0.15           $37.48      $34.47
5th Period              600    70%         19.10               4.00               1.57            $24.67               4.51              2.50                       8.00                   0.52        1.00           0.15           $38.85      $36.84
6th Period              600    75%         20.46               4.00               1.57            $26.03               4.51              2.50                       8.00                   0.52        1.00           0.15           $40.21      $38.20
7th Period              600    80%         21.82               4.00               1.57            $27.39               4.51              3.50                       8.00                   0.52        1.00           0.15           $41.57      $40.56
8th Period              600    90%         24.55               4.00               1.57            $30.12               4.51              3.50                       8.00                   0.52        1.00           0.15           $44.30      $43.29
Journeyman C                               27.28               4.00               1.57            $32.85                        4.51                                8.00                   0.52        1.00           0.15                 $47.03
Journeyman B                               29.28               4.00               1.57            $34.85                        4.51                                8.00                   0.52        1.00           0.15                 $49.03
Journeyman A                               30.78               4.00               1.57            $36.35                        4.51                                8.00                   0.52        1.00           0.15                 $50.53
Foreman                                    33.78               4.00               1.57            $39.35                        4.51                                8.00                   0.52        1.00           0.15                 $53.53
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                                 MAINTENANCE AGREEMENT “RED LINE” LIST
                                             JULY 1, 2020

  Increases shown below effective July 1, 2020

  Allocation - Please refer to July 1, 2020 Scaffold Refinery Maintenance and Scaffold
  Industrial Maintenance wage sheets

  Maintenance Agreements at Refinery Rates:         Facilities Formerly at Refinery Rate, Now at
                                                    “Kern County” Rate Increase of $29.28
  $29.53 (Refinery rate minus                       (Refinery rate minus $2.25)
  $2.00)                                            Aera Energy - Huntington Bch - offshore Off
  Air Products/Procal Plants (various)              Shore Platforms
  Air Liquids (various)                             Thums Island - drilling
  Praxair                                           Tideland Oil (Oxy) Wilmington - drilling




  Industrial Wage ($30.41), Refinery                Kern County projects
  benefits:                                         $27.38 Refinery
  National Cement                Kern               benefits (Refinery rate minus $4.15)
  Leheigh                                           Aera Energy - Kern County
  Mitsubishi                                        Chevron, Lost Hills - Kern County
                                                    Kern Oil                      Kern
                                                    Occidental - Elk Hills - Kern County



  *All increases include portion to Supp.           Cement Plants ($27.38) Refinery
  Dues per By Laws                                  benefits
                                                    (Refinery rate minus $4.15)

                                                    Cal Portland Cement         Kern County
                                                    Cemex Cement                Riverside




  2019 Wages\Scaffold\Red Lined list JUL 2020
  Updated 6/8/20




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